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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                              )
In re:                                                        ) Chapter 11
                                                              )
                                                1
WELLPATH HOLDINGS, INC., et al.,                              ) Case No. 24-90533 (ARP)
                                                              )
                                      Debtor.                 )
                                                              )

         THE STATUTORY UNSECURED CLAIMHOLDERS’ COMMITTEE’S
    LIMITED OBJECTION TO DEBTORS’ SALE OF RECOVERY SOLUTIONS ASSETS
                PURSUANT TO STALKING HORSE AGREEMENT

         The Statutory Unsecured Claimholders’ Committee (the “Committee”) of Wellpath

Holdings, Inc., et al. (the “Debtors”), by and through its undersigned counsel, hereby objects to

the proposed sale of the Recovery Solutions Assets 2 to RS Purchaser LLC (the “Stalking Horse

Buyer”) (such proposed sale, the “RS Sale”), as set forth in the Notice of Cancellation of Auction

Relating to the Recovery Solutions Assets Sale [ECF No. 817] (the “Notice of Auction

Cancellation”). In support of this objection, the Committee states as follows. 3




1    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
     claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11
     cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
2    Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Amended
     Bid Procedures Order, including the Recovery Solutions Stalking Horse Agreement attached thereto (each term,
     as defined below), as applicable.
3    In further support of this objection, the Committee is submitting the Declaration of Daniel S. Desatnik in Support
     of the Statutory Unsecured Claimholders’ Committee’s Limited Objection to Debtors’ Sale of Recovery Solutions
     Assets Pursuant to Stalking Horse Agreement (the “Desatnik Declaration”) concurrently herewith.



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                                     PRELIMINARY STATEMENT 4

        1.       While the Committee is not opposed to the RS Sale in principle, it has grave

concerns that the terms of the Recovery Solutions Stalking Horse Agreement the Debtors seek to

approve will handicap the marketability of the Debtors’ Corrections Assets, siphon cash out of the

Corrections Business, and potentially disrupt the ability of the Debtors to continue to operate the

Corrections Business. The Committee raised its concerns with the Debtors and the Stalking Horse

Buyer, but was ultimately unable to reach an acceptable resolution or otherwise obtain information

from the Debtors necessary for the Committee to assess whether the terms of the proposed RS Sale

are in the best interest of the Debtors’ estates. In fact, the Committee’s requests for information

have been repeatedly ignored. Accordingly, the Committee objects to the terms of the RS Sale,

which should not be approved in its current form for the following reasons. 5

        2.       First, the Recovery Solutions Stalking Horse Agreement fails to properly delineate

the assets being sold and the assets remaining with the Corrections Business. A bidder for the

Corrections Business will be unable to determine what is left for them to bid on. Furthermore, this

lack of precision creates a risk of disruptions and unforeseen costs for the Corrections Business if

assets critical to its operations are inadvertently or intentionally transferred to the Stalking Horse

Buyer as part of the RS Sale. The Recovery Solutions Stalking Horse Agreement provides no

mechanism to ensure precise delineation of the assets being transferred or to ensure the return of

property to the Debtors’ estates that properly belongs to the Corrections Business or is otherwise



4   Capitalized terms used but not otherwise defined in this Preliminary Statement shall have the meanings given to
    them elsewhere in the objection.
5   Moments before the Committee filed this objection, the Debtors provided revised versions of various key
    documents to the Committee, including the Recovery Solutions Stalking Horse Agreement and the Transition
    Services Agreement. The Committee will review these updated documents and continue to attempt to resolve its
    outstanding issues consensually. The Committee nonetheless objects to the RS Sale based on the terms stated
    herein and reserves the right to supplement this objection upon completion of its review of the Debtors’ revisions.



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material to its operation. These issues, compounded by the accelerated (albeit comparatively less

so) marketing process for the Corrections Business create a self-fulfilling prophecy where the

Stalking Horse Buyer is positioned to acquire a Corrections Business whose value was impaired

by the RS Sale.

       3.      Second, the Recovery Solutions Stalking Horse Agreement is deficient and

incomplete as to the other essential economic terms of the transaction, in particular, the amount of

cash and cash equivalents that will be delivered as part of the RS Sale. While the Recovery

Solutions Stalking Horse Agreement refers to a “Cash Cap,” the term is fundamentally a

misnomer. In reality, the “Cash Cap” simply inserts a placeholder amount of $10 million in cash

to be potentially transferred with the RS Business, subject to a net working capital adjustment to

be agreed upon, supposedly by November 25, 2024.             Despite repeated requests from the

Committee for information regarding this adjustment mechanism and its application, the Debtors

have failed to provide the requested information in a timely manner. Only yesterday, and in a

deposition, did the Debtors disclose that they may ultimately deliver the RS Business with

        in cash, a       increase over the so-called “Cash Cap.” And only on the eve of the Sale

Hearing did the Debtors share any documentation purporting to explain the adjustment mechanism,

which the Committee is still reviewing. To make matters worse, this is in essence money the

Debtors are returning to the DIP Lenders (through the Stalking Horse Buyer) for no additional

consideration, just weeks after the Debtors told the Court that their $105 million DIP Facility was

indispensable, and the Debtors incurred significant fees and roll-ups on account of such financing.

       4.      Third, the Recovery Solutions Stalking Horse Agreement provides for the transfer

of potentially valuable avoidance actions even though the Debtors have not conducted any

investigation or valuation regarding the avoidance actions, depriving unsecured creditors of what




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should be unencumbered property for their benefit. These avoidance actions may be one of the

only sources of recovery to general unsecured creditors, but are being given away for no additional

consideration. Indeed, the Debtors have made clear through the Restructuring Support Agreement,

and now the Plan, that it is their position (and one that the Committee disputes) that the only value

remaining for general unsecured creditors will be unspecified litigation causes of action to be

pursued by a liquidating trust under the Plan, absent a third-party topping bid for the Corrections

Business.

        5.       Fourth, the Recovery Solutions Stalking Horse Agreement provides for the

Debtors to enter into an onerous Transition Services Agreement, pursuant to which the Debtors (in

reality, the Corrections Business) will support the Stalking Horse Buyer and the RS Business

during a post-closing transition period.             The Transition Services Agreement, as currently

structured, features below market pricing and undermines the marketability of the Corrections

Business for the following reasons, as well as others outlined below.



                      6   Not only is the Transition Services Agreement unprofitable and will require

the diversion of the equivalent of          Corrections Business full-time employees to service the RS

Business, but it may not even cover the costs associated the services at issue, requiring the

Corrections Business to effectively subsidize the RS Business. The Transition Services Agreement

also fails to account for the scenario in which a strategic buyer—and therefore a potential

competitor of the RS Business—may wish to bid for the Corrections Business. Such a buyer would

understandably not want to provide support services to a competitor (much less at unfavorable

rates) or risk exposing its confidential information to that competitor. The Transition Services


6   Desatnik Declaration, Ex. 2 ( “Dragelin Dep. Tr.”) at Tr. at 106:2–13.



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Agreement must account for this and allow the Corrections Business to terminate and/or

renegotiate the Transition Services Agreement under such circumstances.

       6.      Fifth, the Recovery Solutions Stalking Horse Agreement contemplates a sale of

both assets and equity in certain operating entities (defined as the “Acquired Companies” in the

Recovery Solutions Stalking Horse Agreement). Thus, the Stalking Horse Buyer will be indirectly

taking all liabilities of the Acquired Companies. However, the Recovery Solutions Stalking Horse

Agreement permits the Stalking Horse Buyer, in its sole discretion, to (a) add certain additional

entities as Acquired Companies without providing any additional consideration and/or (b) remove

an entity as an Acquired Company (thereby leaving certain liabilities with the Debtors’ estates).

This optionality permits the Stalking Horse Buyer to fundamentally alter the economics of the RS

Sale, without notice to parties in interest and outside the view of the Court.

       7.      Given the above deficiencies, the Debtors cannot meet even the permissive business

judgment standard to approve the RS Sale on the terms of the Recovery Solutions Stalking Horse

Agreement. The Debtors are, in essence, asking the Court to approve the sale of assets and

assumption of liabilities that even the Debtors cannot identify and that no party will know until

after the sale is approved (and even then, could be subject to further modifications without notice).

The Debtors cannot be deemed to have reasonably exercised business judgment where they cannot

even delineate the fundamentals of the sale. Moreover, the Debtors cannot demonstrate that the

transaction is in the best interests of the estates when it handicaps the sale of the Corrections

Business and provides an open-ended ability for the Stalking Horse Buyer to cannibalize assets of

the Corrections Business, while stripping potentially valuable unencumbered assets.           These

deficiencies in the Recovery Solutions Stalking Horse Agreement improperly position the Stalking




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Horse Buyer to acquire the Corrections Business by depressing its value and frustrating interest by

other bidders.

       8.        As filed, the Recovery Solutions Stalking Horse Agreement was riddled with

inconsistencies and ambiguities. The Committee has attempted to work closely with the Debtors

and the Stalking Horse Buyer to resolve as many of the issues as possible. However, it seems that

the warp speed at which the Debtors set the schedule for the RS Sale was too fast even for the

Debtors themselves. The Debtors were unable to provide the Committee with basic information

typically expected for any deal—let alone one of this complexity—such as the balance sheets for

certain of the entities to be potentially acquired, and the quantum of liabilities to be assumed

through the equity purchase, despite repeated requests for over a month. Absent transparency and

complete information, courts have refused to approve a Bankruptcy Code § 363 sale. See In re

Gulf Coast Oil Corp., 404 B.R. 407, 424 (Bankr. S.D. Tex. 2009) (“Proposals for quick sales,

understood only by a few parties who would benefit from the sale, are inherently suspect”). Thus,

the substantial lack of essential information and disclosure alone is sufficient to condition approval

of the RS Sale on incorporating the revisions requested by the Committee.

       9.        Despite these grave concerns, the Committee is willing to support the RS Sale if (a)

the Recovery Solutions Stalking Horse Agreement incorporates the revisions set forth in Exhibit

A attached hereto, (b) the Proposed Sale Order incorporates the revisions set forth in Exhibit B

attached hereto, and (c) the Transition Services Agreement incorporates the revisions set forth in

Exhibit 3 to the Desatnik Declaration. These revisions resolve the uncertainties that currently

plague the transaction documents and protect the Corrections Business’ interests more fully.




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       10.       In summary, the proposed revisions to the Recovery Solutions Stalking Horse

Agreement provide for the following:

             •   Corrections Assets versus Recovery Solutions Assets: Provisions for the transfer
                 of any assets primarily of the Corrections Business or otherwise material to the
                 Corrections Business at the Acquired Companies to be transferred to the
                 Corrections Business prior to closing of the RS Sale and ensuring no Seller transfers
                 any such assets to the Stalking Horse Buyer, and to the extent the Corrections
                 Business requires services or assets that, prior to the closing, were provided by the
                 RS Business or otherwise belonging to the RS Business but are not immaterial to
                 the conduct of the Corrections Business, the ability to enter into a “reverse”
                 transition services arrangement with the Stalking Horse Buyer to obtain such
                 services. The terms of any “reverse” transition services agreement should, as a
                 default and unless otherwise agreed by the parties, parallel those (both as to cost
                 and duration) of any corollary service being provided to the RS Business by the
                 Corrections Business under the Transition Services Agreement. If there is not a
                 correlative service, the duration should have a default minimum period of three
                 months and should be provided at cost to the RS Business.

             •   Wrong Pockets: A mechanism to enable any asset that is property of or material
                 to the Corrections Business that is transferred to the Stalking Horse Buyer (whether
                 directly by a Seller or indirectly by virtue of the transfer of ownership of the
                 Acquired Companies) be returned to the Debtors’ estates.

             •   Avoidance Actions: Clarifying language that any “Acquired Avoidance Actions”
                 must relate solely to the RS Business, and the transfer of any Acquired Avoidance
                 Actions shall not prejudice the Debtors’ ability to pursue any retained Avoidances
                 Actions (e.g. avoidance actions that may be shared between the Corrections
                 Business and the RS Business, and actions in which the Stalking Horse Buyer may
                 be an indispensable party.)

             •   Causes of Action: To the extent Causes of Action constitute counterclaims or
                 similar claims with respect to liabilities that the Debtors will retain, the Debtors
                 should retain such Causes of Action to allow them to offset against such retained
                 liabilities.

             •   Acquired Companies: The loophole whereby the Stalking Horse Buyer is
                 permitted to add or remove any entity from the list of Acquired Companies must
                 be closed. The Recovery Solutions Stalking Horse Agreement must provide for (i)
                 an express representation that the sole asset of each potential additional Acquired
                 Company is the equity interest of its direct subsidiary and that its sole liabilities are
                 those arising under the prepetition secured debt and the DIP Facility and, in the case
                 of Alpine CA Behavioral Health HoldCo, the liabilities under the Settlement
                 Agreement, and (ii) an increase to the purchase price to the extent there is



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                  incremental asset value attributable to any entity that is subsequently added as an
                  Acquired Company.

        11.       The proposed revisions to the Transition Services Agreement generally provide for

the following:

              •   Duration: The RS Business shall use commercially reasonable efforts to reduce or
                  eliminate its dependency on the services being received from the Corrections
                  Business to the extent and as soon as is reasonably practicable following the
                  effectiveness of the Transition Services Agreement.

              •   Sale to a Competitor: In the event that there is a sale of the Corrections Business
                  to a competitor of the RS Business, (i) provision must be made for the prompt
                  termination of the Transition Services Agreement and the RS Business to promptly
                  obtain replacement services at its own cost, (ii) the RS Business shall implement
                  appropriate policies and procedures to safeguard confidential information of the
                  Corrections Business and the competitor, and (iii) to the extent that the provision
                  by the Corrections Business of any additional services is required for the RS
                  Business on a temporary basis, the remaining service period will automatically be
                  reduced to a maximum of 75 days from the closing of such sale.

              •   Pre-Funding of Costs Not Embedded in Fees: For costs incurred by the
                  Corrections Business that are not embedded within a fee, the Transition Services
                  Agreement should require the RS Business to pre-fund the costs.

              •   Fees Disputes: An acquirer of the Corrections Business may dispute the fees being
                  paid for services that are set below fair market value.

              •   Termination and Changes in Services: Clarification that the Corrections Business
                  may decline to provide additional or expanded services requested by the RS
                  Business and that certain services may be terminated if the performance of such
                  services is rendered impracticable due to vendor unavailability, key employee
                  departures or adverse modifications to underlying shared contracts.

        12.       Finally, the Committee’s proposed revisions to the Proposed Sale Order generally

provide for the following: 7

              •   Cash Cap: The revised sale order would provide that no more than $10 million of
                  cash or cash equivalents shall be transferred from the Debtors to the Stalking Horse
                  Buyer, the Acquired Companies, or any account established by the Stalking Horse
                  Buyer or the Acquired Companies in connection with Section 2.1(c) of the

7   The Committee continues to review the Proposed Sale Order and reserves all rights to supplement this objection
    and provide addition proposed revisions.



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                Recovery Solutions Stalking Horse Agreement, and the Debtors shall not be
                required to convey to the Stalking Horse Buyer or the Acquired Companies any
                cash or cash equivalents of or resulting from revenues generated by the Corrections
                Business.

            •   Seller Cure Cap: The order should reaffirm the agreement between the Stalking
                Horse Buyer and the Sellers with respect to cure costs, pursuant to which the
                Stalking Horse Buyer shall be responsible for any cure costs for (i) Assumed
                Contracts and (ii) contracts of Acquired Companies, in excess of the “Seller Cure
                Cap” (a $10 million cap that is reduced by any amounts paid by the Sellers on or
                after November 11, 2024 in connection with any pre-petition trade payables).
                Furthermore, the order should acknowledge that the Debtors have satisfied the
                Seller Cure Cap based on payments made to date on account of claims paid to
                critical vendors.

            •   Return of Estate Assets: To the extent that an asset that primarily relates to the
                Corrections Business is discovered to be held by the RS Business post-closing, the
                RS Business will promptly remit such asset to Debtors’ estates for no consideration.
                Moreover, if it is determined at any time within the 12-month period following the
                closing that any asset of or service provided by the RS Business prior to the closing
                to the Corrections Business is reasonably necessary for the conduct of any portion
                of the Corrections Business following the closing, provision shall be made for the
                Corrections Business to have access to such assets or to receive such service at no
                cost and for a period of time that is reasonably sufficient for the Corrections
                Business to implement a replacement asset or service.

            •   Debtors’ and Stalking Horse Buyer’s Representations: The Debtors and the
                Stalking Horse Buyer must represent that:

                   o None of the Acquired Assets or assets held by any Acquired Company
                     primarily relate, or are otherwise utilized by (other than in any immaterial
                     respect), or are material to the Corrections Business.

                   o Since the commencement of these chapter 11 cases, (i) no assets of any
                     Seller or Affiliate of a Seller (other than an Acquired Company) have been
                     transferred, assigned or contributed to an Acquired Company that do not
                     solely relate to the RS Business, and (ii) no liabilities of any Acquired
                     Company have been assumed by any Seller or any Affiliate of any Acquired
                     Company (other than another Acquired Company).

      13.       If the proposed changes are not made, however, the RS Sale should not be

approved.




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                                              BACKGROUND

    A. The Bankruptcy Cases

        14.      The Debtors are privately owned by H.I.G. Capital, LLC and are one of the largest

providers of healthcare services to correctional and custodial behavioral health settings across the

United States.

        15.      On November 11, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief pursuant to chapter 11 of the Bankruptcy Code before the United States

Bankruptcy Court for the Southern District of Texas (the “Court”), thereby commencing the

above-captioned bankruptcy cases.              The Debtors filed these chapter 11 cases with the

Restructuring Support Agreement with their prepetition lenders in hand, contemplating an

expedited sale process for the Recovery Solutions Assets, with a later sale of the Corrections Assets

to a third-party or the Debtors’ prepetition lenders. No value was contemplated for general

unsecured creditors other than an unspecified share of an unknown subset of potential causes of

action in a liquidating trust.

        16.      On November 25, 2024, the United States Trustee for the Southern District of Texas

(the “U.S. Trustee”) appointed the Committee pursuant to section 1102 of the Bankruptcy Code

[ECF No. 169].

    B. The Sale Process

        17.      On November 19, 2024, before the Committee was appointed, the Court entered

the Bid Procedures Order on a final basis, 8 which approved procedures for the marketing and sale


8   See Order (I) Approving the Bidding Procedures for the Sale of the Debtors’ Assets, (II) Approving Entry into a
    Stalking Horse Purchase Agreement for the Recovery Solutions Assets, (III) Authorizing the Recovery Solutions
    Expense Reimbursement, (IV) Authorizing Potential Selection of Stalking Horse Bidders for the Corrections
    Assets and Approving Related Corrections Asset(s) Bid Protections, (V) Establishing Related Dates and
    Deadlines, (VI) Approving the Form and Manner of Notice Thereof, (VII) Approving the Assumption and
    Assignment Procedures, and (VIII) Granting Related Relief [ECF No. 111] (the “Bid Procedures Order”),



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of some or all of the Debtors’ assets, including the Recovery Solutions Assets and the Corrections

Assets. See id. The Bid Procedures Order authorized the terms of and the Debtors’ entry into that

certain Equity Interest and Asset Purchase Agreement, dated as of November 11, 2024 [Bid

Procedures Order, Ex. 2] (the “Recovery Solutions Stalking Horse Agreement”), pursuant to which

Debtors Wellpath Holdings, Inc., Correct Care Holdings, LL, and Alpine CA Behavioral Health

HoldCo (collectively, the “Sellers” and each, a “Seller”) agreed to effectuate the RS Sale by

transferring the business associated with the Recovery Solutions Assets (the “RS Business”) to the

Stalking Horse Buyer, subject to higher or otherwise better offers. Id. The Bid Procedures Order

also created two separate sales processes, placing the sale of the Recovery Solutions Assets on an

accelerated six-week timeline over the holiday season, while the Corrections Assets (the business

associated therewith, the “Corrections Business”) would be sold on a 12-week timeline. See Bid

Procedures Order.

       18.     Following formation of the Committee, on December 3, 2024, the Committee filed

The Statutory Unsecured Claimholders’ Committee’s Emergency Motion for Relief from or, in the

Alternative, for Alteration or Amendment of the Court’s Order Approving Bidding Procedures for

the Sale of the Debtors’ Assets [ECF No. 275] (the “Reconsideration Motion”) in connection with

the Bid Procedures Order. The Committee argued, among other things, that the sale of the

Recovery Solutions Assets was (i) too fast, (ii) not justified by the evidence, and (iii) not designed

to maximize value since key deadlines took place over the holiday season. It requested, among

other things, that the sale of the Recovery Solutions Assets be aligned with the 12-week sale

timeline of the Corrections Assets to allow appropriate diligence and encourage consolidated bids.

       19.     On December 11, 2024, the Court entered the Stipulated and Agreed Amended

Order (I) Approving the Bidding Procedures for the Sale of the Debtors’ Assets, (II) Approving




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Entry into a Stalking Horse Purchase Agreement for the Recovery Solutions Assets, (III)

Authorizing the Recovery Solutions Expense Reimbursement, (IV) Authorizing Potential Selection

of Stalking Horse Bidders for the Corrections Assets and Approving Related Corrections Asset(s)

Bid Protections, (V) Establishing Related Dates and Deadlines, (VI) Approving the Form and

Manner of Notice Thereof, (VII) Approving the Assumption and Assignment Procedures, and (VIII)

Granting Related Relief [ECF No. 384] (the “Amended Bid Procedures Order”), which

incorporates, inter alia, certain revisions to the bid procedures to address concerns raised by the

Committee in the Reconsideration Motion and retains the Committee’s rights to object to the

Recovery Solutions Stalking Horse Agreement. Id.

       20.       Notably, the Amended Bid Procedures Order extended key deadlines for the sale

of RS Business, including an 8-day extension of the bid deadline. Id. at 9. It also stated that the

deadlines would be further extended if an “Extension Event” occurred, which was defined to mean

that if the request for proposal (“RFP”) deadline for a specific governmental contract was extended

beyond January 21, 2025, then the bid deadlines would be correspondingly extended on a day-to-

day basis. Id.

       21.       On December 2, 2024, the Extension Event occurred and the deadline for the

governmental contract was extended by 28 days, from January 21, 2025 to February 18, 2025.

However, because shortly after this extension, a January 31, 2025 request for proposal deadline

for a different governmental contract was announced, and despite the provisions of the Amended

Bid Procedures Order, the Debtors did not agree to extend the Recovery Solutions Assets deadlines

by 28 days, which would have effectively aligned the deadlines of the RS Sale with those

associated with the sale of the Corrections Business.




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       22.     Instead, on December 20, 2024, the Debtors filed the Notice of Amended Timeline

for Recovery Solutions/Consolidated Sale Transaction [ECF No. 563], providing notice that

certain timelines related to the sale of the Recovery Solutions Assets had been extended by

approximately 16 days. See id.

       23.     Having received no other Qualified Bids by the Bid Deadline, the Debtors now seek

approval of the RS Sale pursuant to the terms of the Recovery Solutions Stalking Horse

Agreement. See Notice of Auction Cancellation. On January 6, 2025, the Debtors filed the Notice

of Filing of Proposed Sale Order Relating to the Recovery Solutions Assets Sale [ECF No. 818],

which contains the proposed order (the “Proposed Sale Order”) regarding approval of the RS Sale.

Id., Ex. A.

   C. Other Relevant Developments

       24.     On December 20, 2024 the Debtors filed the Joint Chapter 11 Plan of

Reorganization of Wellpath Holdings, Inc. and Certain of Its Debtor Affiliates [ECF No. 564] (the

“Plan”) and an accompanying Disclosure Statement for the Joint Chapter 11 Plan of

Reorganization of Wellpath Holdings, Inc. and Certain of Its Debtor Affiliates [ECF No. 566] (the

“Disclosure Statement”).

       25.     In the Plan, the only likely source of recovery proposed for unsecured creditors is

an unspecified share of a liquidating trust containing a subset of unidentified causes of action that

are not otherwise released by the Debtors, sold as part of the sales processes, or retained by the

reorganized Debtors. See Plan, Art. III.B.7. While effectively offering its nearly half a billion

dollars in unsecured claims, including thousands of innocent tort victims, nothing, the Plan also

contains broad releases and exculpation provisions that would insulate the Debtors’ sponsor,

management, prepetition lenders, and restructuring support parties, as well as their “Related




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Parties,” from any liability. Unless the sales of the Recovery Solutions Assets and the Corrections

Assets exceed the approximately $770 million of prepetition funded debt and loans under the DIP

Facility, unsecured claimholders will receive a de minimis recovery.

        26.    The Section 341 Meeting of Creditors held on December 18, 2024 could not

proceed in full because the Debtors had not yet filed their Schedules and Statements, and was

continued to January 7, 2025. The Debtors subsequently filed their Schedules and Statements on

December 27, 2024.

                                           OBJECTION

  I.    Legal Standard

        27.    The RS Sale is subject to approval pursuant to Bankruptcy Code § 363(b)(1) (“[t]he

trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course of

business, property of the estate”). Implicit in the statute are requirements that the RS Sale must

represent a reasonable exercise of the Debtors’ business judgment and be in the best interests of

their estates. See In re Cont’l Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986) (“for the debtor-

in-possession … to satisfy its fiduciary duty to the debtor, creditors and equity holders, there must

be some articulated business justification for using, selling, or leasing the property outside the

ordinary course of business”); In re St. Petersburg Hotel Assoc. Ltd., 37 Bankr. 341, 343 (Bankr.

M.D. Fla. 1983) (Section 363 “also impliedly requires the Court to find that it is good business

judgment for the Debtor to enter into” the transaction); In re GSC, Inc., 453 B.R. 132, 174 (Bankr.

S.D.N.Y. 2011) (citation omitted) (“The business judgment rule ‘is a presumption that in making

a business decision the directors of a corporation acted on an informed basis, in good faith and in

the honest belief that the action taken was in the best interests of the company’”).




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              28.       More specifically, the Bankruptcy Court for the Southern District of Texas has

previously identified several factors to evaluate when determining whether to approve a sale under

Bankruptcy Code § 363(b). Where the debtor has secured a prospective buyer or stalking horse

bidder, the purchase agreement governing the proposed transaction should be “sufficiently

straightforward to facilitate competitive bids.” In re Gulf Coast Oil Corp., 404 B.R. at 424.

              29.       For the reasons below, the RS Sale as currently proposed fails these basic tests. The

Recovery Solutions Stalking Horse Agreement is the opposite of “straightforward,” and, while

additional bids for the Recovery Solutions Assets could not be made at this point, this deficiency

improperly discourages bids for the Debtors’ remaining assets and cannibalizes the remaining

operations. The RS Sale should not be approved unless the concerns raised by the Committee are

adequately addressed.

    II.       The Scope of the Assets Sold is Ambiguous.

              30.       The business judgment standard presumes the Debtors are acting on an informed

basis. In re GSC, Inc., 453 B.R. at 174. But, no one can be properly informed of the consequences

of a sale when the very structure of the proposed transaction creates material ambiguity. See also

In re Gulf Coast Oil Corp., 404 B.R. at 424 (suggesting a proposed purchase agreement should be

“sufficiently straightforward” to be approved under Bankruptcy Code § 363(b)).

              31.       In particular, the Recovery Solutions Stalking Horse Agreement fails to properly

delineate the assets and liabilities being sold and those being left behind. Currently, the Acquired

Assets being transferred in connection with the RS Sale are defined to include those assets

“primarily” related to the RS Business. Recovery Solutions Stalking Horse Agreement § 2.1. 9


9         More specifically, the Acquired Assets include “all of Sellers’ direct or indirect right, title and interest in, to or
          under the RS Business, including all of Sellers’ properties, rights, Claims and assets (other than the Excluded
          Assets) of every kind and description (wherever situated or located, real, personal or mixed, tangible or intangible,
          whether identifiable or contingent, owned, leased or licensed) primarily used, held for use in, or useful in, or


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This creates uncertainty due to the significant overlap between the RS Business and the

Corrections Business. Certain assets deemed Acquired Assets under the “primarily related to”

threshold may be important, or even critical, to the continued operation of the Corrections

Business. Yet, under the Recovery Solutions Stalking Horse Agreement, such assets would be

transferred to the Stalking Horse Buyer, and the Corrections Business would have no right to any

further benefit from or use of them.

       32.      As an example of the intertwined nature of the RS Business and Corrections

Business, the Recovery Solutions Stalking Horse Agreement acknowledges the existence of

contracts that are shared between the RS Business and the Corrections Business (the “Shared

Contracts”). See Recovery Solutions Stalking Horse Agreement § 7.10. Despite the Committee’s

repeated requests for more information regarding whether there are any assets shared between the

Corrections Business and the RS Business, the Debtors have been unable to confirm the precise

extent to which assets are shared. More clarity on the scope of the RS Sale is critical. If the

Debtors themselves are unable to identify what assets will remain at the Corrections Business

following the RS Sale, then no potential bidder for the Corrections Business will know what is

available to be purchased.




   intended to be primarily used in, the RS Business, whether or not reflected on the books and records of Sellers,
   as the same shall exist on the Closing Date.” Id. (emphasis added). See also id. § 2.1(c) (defining Acquired
   Assets to include “all cash and cash equivalents in an amount not to exceed the Cash Cap, including checks,
   commercial paper, treasury bills, certificates of deposit, bank accounts and other bank deposits, instruments and
   investments of Sellers primarily involving or primarily related to the RS Business, excluding prepaid deposits
   related to professional fee retainers; provided, however, the Parties acknowledge and agree that the Sellers shall
   use reasonable best efforts to have an amount of cash and cash equivalents in an amount equal to the Cash Cap
   as of the Closing”) (emphasis added). The “causes of action” category of Acquired Assets is defined by reference
   to an “associated with” threshold (which is even lower than “primarily related”). Id. § 2.1(m) (defining Acquired
   Assets to include “all goodwill and customer referral relationships, other intangible property and all privileges,
   set-offs, indemnification rights, Causes of Action, actions, Claims and demands and rights of any kind as against
   others (whether by contract or otherwise) exclusively involving or exclusively relating to, arising from or
   associated with any of the Acquired Assets, the Assumed Liabilities and/or the RS Business”) (emphasis added).



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         33.      Notwithstanding the ambiguity in the Recovery Solutions Stalking Horse

Agreement relating to the scope of the assets being transferred, more concerning to the Committee

is that it contains no mechanism guaranteeing that the Corrections Business can use or access

assets that “primarily” relate to the RS Business but are nonetheless critical to the Corrections

Business after the RS Sale. The RS Sale should not be approved unless, among other things, the

Debtors have the right to obtain a “reverse” transition services arrangement from the Stalking

Horse Buyer to support the Corrections Business to the extent necessary in connection with the

use of overlapping assets post-closing of the RS Sale.

         34.      Moreover, to the extent any Corrections Assets that do not qualify as Acquired

Assets are inadvertently transferred to the Stalking Horse Buyer as part of the RS Sale, a

contractual mechanism should exist to ensure their prompt return to the Debtors’ estates. The

Recovery Solutions Stalking Horse Agreement only provides a “wrong pockets” mechanism with

respect to “payments,” “funds,” and “communications” received by the Stalking Horse Buyer that

belong to the Sellers. Id. § 8.3.10 Yet, many other assets that may be shared between the two

businesses, including accounts receivable, cash and cash equivalents, and contracts, are currently

part of the RS Sale. 11 The absence of such a mechanism risks improperly depleting the Corrections




10   Id. (“Wrong Pockets. Following the Closing, without effect on the Purchase Price, (i) Sellers shall promptly
     transfer to Buyer (A) any payment or funds which, per the terms of this Agreement, belongs to Buyer and is
     received by Sellers (directly or indirectly) after the Closing and (B) copies of any substantive communications
     received by Sellers after the Closing, including from a Governmental Authority or customer, supplier, distributor,
     landlord, licensee, service provider or other business partner, to the extent related to the RS Business, and (ii)
     Buyer shall promptly transfer to Sellers (A) any payment or funds which, per the terms of this Agreement, belongs
     to Sellers and is received by Buyer (directly or indirectly) after the Closing and (B) copies of any substantive
     communications received by Buyer after the Closing, including from a Governmental Authority or customer,
     supplier, distributor, landlord, licensee, service provider or other business partner, to the extent related to the
     Corrections Business”).
11   See id. §§ 2.1(a) (defining Acquired Assets to include “all Accounts Receivable”), 2.1(c) (defining Acquired
     Assets to include “all cash and cash equivalents in an amount not to exceed the Cash Cap, including checks,
     commercial paper, treasury bills, certificates of deposit, bank accounts and other bank deposits, instruments and
     investments of Sellers primarily involving or primarily related to the RS Business, excluding prepaid deposits


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Business under the pretense of the RS Sale. See In re Gulf Coast Oil Corp., 404 B.R. at 428

(denying approval of Bankruptcy Code § 363(b) sale because it involved not only the debtors’

“crown jewels,” but also “all of the other jewelry and assets”).

       35.      These vague and overreaching sale provisions that benefit the Stalking Horse Buyer

at the expense of the sale of the Corrections Business demonstrate the Debtors have failed to

properly exercise their business judgment or fulfill their fiduciary duties to the estates. The

Debtors have established a “win-win” situation for the Stalking Horse Buyer: if the RS Sale chills

interest in the Corrections Business, the Plan provides that the Restructuring Support Agreement

parties comprising the Stalking Horse Buyer will acquire the equity in the Corrections Business

by default for an “amount to be determined between $20,000,000 and $55,000,000.” Plan at 9. In

other words, the Stalking Horse Buyer stands to gain a windfall. If a sale of the Corrections

Business instead succeeds—even at a depressed price—the Stalking Horse Buyer will still unduly

benefit by grabbing assets beyond the RS Business and securing itself a one-sided Transition

Services Agreement (as further detailed below).

       36.      These scenarios also benefit the Debtors’ existing management, who are expected

to be retained by the Corrections Business (to be controlled by the same parties comprising the

Stalking Horse Buyer) with a forthcoming management incentive plan. See Plan, Art. IV.B.4. If

the RS Business or the Corrections Business were to be sold to a third-party strategic buyer, there

would be no guarantee—indeed, it would be unlikely—that all or some of the Debtors’ existing

management would remain on board. Through this structure, the incumbent management and

lenders have set up a process to benefit themselves at the expense of the estates’ unsecured




   related to professional fee retainers”), 1.1 (defining Shared Contracts as “those Contracts that relate to both the
   RS Business and the Corrections Business”).



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claimholders.




                                                                   12   The guardrails that the Committee is

proposing are necessary to mitigate this procedural imbalance.

III.       The RS Sale Should Not Be Exploited to Divert Cash from the Debtors’ Estates

           37.       The Recovery Solutions Stalking Horse Agreement provides that the Sellers shall

maintain or otherwise transfer cash and cash equivalents in amount equal to the “Cash Cap” to the

RS Business as of the closing. Despite its misleading name, the “Cash Cap” simply inserts a

placeholder amount of $10 million in cash to be transferred with the RS Business, subject to a net

working capital adjustment to be agreed upon, supposedly by November 25, 2024. Id. § 1.1

(definition of Cash Cap). 13 The Debtors and the Stalking Horse Buyer missed this key deadline

by over seven weeks, and only yesterday (after the Bid Deadline had elapsed) did the Debtors

disclose that they may ultimately deliver the RS Business with                            in cash, though neither

they nor anyone else can say for certain. Dragelin Dep. Tr. at 44:2–16




12     Desatnik Declaration, Ex. 1 (“Schoenholtz Dep. Tr.”).
13     Specifically, the definition provides:
           “Cash Cap” means an amount equal to $10,000,000.00, which amount is subject to adjustment by a
           mechanism to be mutually agreed to by the Parties in good faith no later than ten (10) Business Days
           following the Execution Date, which mechanism shall take into account anticipated levels of Cure Costs,
           accounts payable and Accounts Receivable as of the Closing. For the avoidance of doubt, only the mechanism
           will be agreed upon within ten (10) Business Days following the Execution Date [November 11, 2024], the
           actual targets and calculations will be agreed upon prior to the Sale Hearing.



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        14


          38.      Moreover, despite repeated requests from the Committee regarding the workings

of the Cash Cap adjustment mechanism, the Debtors did not share any responsive supporting

documentation until the eve of the Sale Hearing, which the Committee is reviewing. A meaningful

opportunity to review and raise concerns is critical, particularly given the significant amounts at

issue. Anyone would be skeptical of a situation where cash leaving the Debtors’ estates exceeds

a contractually agreed “cap” by                and without any additional consideration in return. See In

re Gulf Coast Oil Corp., 404 B.R. at 424 (criticizing quick sales that are “understood only by a

few parties who would benefit from the sale”).

          39.      To be clear, the Committee does not take issue with the Sellers delivering $10

million of working capital to fund immediate-term operations, subject to the Debtors carrying their

burden of demonstrating such amount is necessary for working capital. Moreover, the amount of

cash delivered with the RS Business should be right-sized for its needs and in any event not exceed

$10 million. The balance of any available cash should be the property of the Corrections Business

and support asset value in its sale or restructuring.

IV.       The Recovery Solutions Stalking Horse Agreement Cannot be Used to Acquire
          Avoidance Actions That May Be the Only Source of Recovery for General Unsecured
          Claims

          40.      The Debtors have also failed to discharge their legal burden with respect to the

transfer of certain avoidance actions embedded in the RS Sale. The Sellers are attempting to



14    See also Dragelin Dep. Tr. at 58:10–21




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transfer avoidance actions relating to assumed contracts and leases (the “Acquired Avoidance

Actions”) to the Stalking Horse Buyer before the Debtors or the Committee have conducted any

investigation into their value, and without ascribing any value to the Acquired Avoidance Actions

in the Recovery Solutions Stalking Horse Agreement or elsewhere. Recovery Solutions Stalking

Horse Agreement §§ 2.1(n), 1.1. 15 Moreover, the Debtors’ special committee has not even

completed its limited investigation, indicating even the Debtors do not attribute much relevance to

this investigation. The Stalking Horse Buyer’s credit bid does not assign any dollar amount to the

Acquired Avoidance Actions,

                                                                       Dragelin Dep. Tr. at 73:24–76:19




         41.      Under the Plan proposed by the Debtors, the only likely source of compensation for

general unsecured creditors will be an unspecified share of a liquidating trust (the “Liquidating

Trust”), heavily diluted by deficiency claims of first and second lien lenders, that gives a trustee




15   Id. § 2.1(n) (defining Acquired Assets to include “all Acquired Avoidance Actions”). Id. § 1.1 (defining
     Acquired Avoidance Actions as “all Avoidance Actions, including any proceeds thereof, that may be asserted
     against parties to, or otherwise are related to the Assumed Contracts”). Id. (defining Avoidance Actions as “any
     and all actual or potential avoidance, recovery, subordination, or other claims, actions, or remedies that may be
     brought by or on behalf of the Seller, its Estates, or other authorized parties in interest to avoid a transfer of
     property or an obligation incurred by the Seller pursuant to any applicable section of the Bankruptcy Code,
     including sections 502, 510, 542, 544, 545, 547 through and including 553, and 724(a) of the Bankruptcy Code,
     or under similar or related state, federal, and non-U.S. statutes and common law, including fraudulent transfer
     laws or fraudulent conveyance”).



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power to pursue unspecified causes of action that are not otherwise released or retained by the

reorganized Debtors, and then distribute proceeds to general unsecured creditors. See Plan, Art.

III.B.7. In these circumstances, it is imperative that the Acquired Avoidance Actions are preserved

for the benefit of general unsecured creditors.

       42.     The Court should not allow the Acquired Avoidance Actions to be sold because the

Debtors have failed to specify what Acquired Avoidance Actions are being acquired, provide a

valuation for them, demonstrate that consideration is being provided for them commensurate to

that value, and that the proceeds of that sale will go to fund general unsecured claimholder

recoveries. Moreover, the Recovery Solutions Stalking Horse Agreement must provide that none

of the Acquired Avoidance Actions being transferred are associated with the Corrections Business

and/or the Corrections Assets.

       43.     The RS Sale also fails for the legal reason that the Stalking Horse Buyer’s credit

bid cannot be used to acquire the Avoidance Actions. Section 363(k) only permits a secured

creditor to credit bid its claim against “property that is subject to a lien that secures [its] claim.”

Bankruptcy Code § 363(k). Pursuant to the Final DIP Order (as defined in the Plan), the Stalking

Horse Buyer’s lien on avoidance actions is limited to the proceeds of avoidance actions, and does

not include the avoidance actions themselves. Final DIP Order at 27; see also ECF No. 58 (“The

Interim DIP Order provides that, subject to entry of the Final DIP Order, the DIP Secured Parties

will be granted liens on proceeds of Avoidance Actions.”). The Recovery Solutions Stalking

Horse Agreement purports to sell the Acquired Avoidance Actions, not just their proceeds, through

a credit bid. If the Stalking Horse Buyer seeks to acquire assets not included in its collateral,

separate consideration must be provided, and that consideration should be held for the benefit of




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unsecured claimholders because the Acquired Avoidance Actions are unencumbered property. As

it currently stands, the Acquired Avoidance Actions are being sold for no consideration. 16

         44.      The United States Court of Appeals for the Fifth Circuit has long recognized that

avoidance actions are unencumbered and should be reserved for the benefit of unsecured creditors.

See e.g. McFarland v. Leyh (In re Tex. Gen. Petroleum Corp.), 52 F.3d 1330, 1335-36 (5th Cir.

1995) (“[T]he proceeds recovered in an avoidance action satisfy the claims of priority and general

unsecured creditors before the debtor benefits . . . The proceeds recovered in avoidance actions

should not benefit the reorganized debtor; rather, the proceeds should benefit the unsecured

creditors.”); ASARCO LLC v. Am. Mining Corp., 404 B.R. 150, 161 (S.D. Tex. 2009) (“[T]he

ultimate purpose of most fraudulent-transfer laws, and in particular [section] 550 [of the

Bankruptcy Code], is to protect unsecured creditors and, as far as possible, to make them whole.”).

The intent behind avoidance powers and a debtor’s power to bring causes of action is to allow the

debtor in possession to gain recoveries for the benefit of, and provide for the equitable treatment

of, all unsecured creditors. See e.g. Buncher Co. v. Official Comm. of Unsecured Creditors of

GenFarm Ltd. P’ship IV, 229 F.3d 245, 250 (3d Cir. 2000) (“When recovery is sought under

section 544(b) of the Bankruptcy Code, any recovery is for the benefit of all unsecured creditors”).

         45.      Even under the business judgment standard, the Acquired Avoidance Actions

cannot be transferred for no consideration. The standard requires the proponent of a sale under

section 363(b) of the Bankruptcy Code to demonstrate that the sale is “supported by an articulated

business justification, good business judgment, or sound business reasons.” Cadle Co. v. Mims (In

re Moore), 608 F.3d 253, 263 (5th Cir. 2010); see also Gluckstadt Holdings, L.L.C. v. VCR I, L.L.C.



16   Even if the Stalking Horse Buyer could obtain the proceeds of the Acquired Avoidance Actions through a credit
     bid, the action itself has separate value, as the owner of the action controls whether and when to investigate and
     pursue such action, among other benefits.



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(In re VCR I, L.L.C.), 922 F.3d 323, 326–27 (5th Cir. 2019); In re Gulf Coast Oil Corp., 404 B.R.

at 422–28. When making this assessment, courts consider a variety of factors, “including: (i)

whether a sound business reason exists for the proposed transaction; (ii) whether fair and

reasonable consideration is provided; (iii) whether a transaction has been proposed and negotiated

in good faith; (iv) the proportionate value of the asset to the estate as a whole; (v) the proceeds to

be obtained from the disposition vis-a-vis any appraisals of the property; and (vi) whether the asset

is increasing or decreasing in value.” In re Rosbottom, Case No. 09-11674, 2010 Bankr. LEXIS

4305, at *12 (Bankr. W.D. La. Dec. 1, 2010) (citing In re Cont’l Air Lines, Inc., 780 F.2d at 1226;

Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir.

1983)).

          46.   In particular, a proposed sale of claims arising under chapter 5 of the Bankruptcy

Code and not otherwise subject to a secured lender’s prepetition lien must “undergo careful judicial

scrutiny pursuant to existing § 363(b) requirements” before such a proposed sale can be approved.

In re Moore, 608 F.3d at 262. Plainly, letting the Acquired Avoidance Actions go for no specified

consideration fails this test.

          47.   Moreover, to the extent the Acquired Avoidance Actions are transferred pursuant

to the RS Sale, the transfer should not prejudice the Debtors’ rights to pursue any avoidance actions

they retain, particularly with respect to avoidance actions that may be shared between the

Corrections Business and the RS Business (e.g. where the underlying factual bases for the

avoidance actions are the same, or where the Stalking Horse Buyer is a necessary party).




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 V.       The Debtors Have Failed to Demonstrate That the Economic Terms of the Transition
          Services Agreement are Fair and the Transition Services Agreement Must Be
          Modified to Avoid Chilling Bidding for the Corrections Assets

          48.      Unrelated to the “reverse” transition services arrangement proposed by the

Committee in § II supra, the Sellers and the Stalking Horse Buyer negotiated a forward Transition

Services Agreement (the “TSA”) in connection with the Recovery Solutions Stalking Horse

Agreement, requiring the Corrections Business to service the RS Business during a temporary

transition period following consummation of the RS Sale. 17 Based on drafts of the TSA provided

to the Committee, the Committee is concerned that the TSA, as currently structured, would impair

the Corrections Business and therefore chill a fulsome bidding process for it.

          49.



                                              18


                                       , 19                              .

          50.      Second, the TSA’s economic terms are unduly burdensome for the Corrections

Business. The fees that the Corrections Business would receive for providing services do not

represent fair market value, as the Debtors have represented that no                   or             was built

into the fees. 20 But, it is unclear whether the fees would even cover costs on a net basis. While

the Debtors have characterized the compensation structure at issue as                                   ,” 21 that



17   Recovery Solutions Stalking Horse Agreement § 1.1 (defining Transition Services Agreement as “that certain
     transition services agreement to be entered into between the Sellers and the Buyer, in substantially the form
     attached hereto as Exhibit F”) (emphasis in original).
18    Dragelin Dep. Tr. at 25:12–16.
19    Dragelin Dep. Tr. at 106:2–13.
20    Dragelin Dep. Tr. at 99:19–100:3.
21    Dragelin Dep. Tr. at 97:5–19.



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claim remains uncertain, and several factors heighten the risk that services will be provided at a

loss to the Corrections Business. Specifically, the TSA lacks provisions to account for cost

increases incurred by the Corrections Business in delivering the services and provides no

mechanism for the RS Business to prepay necessary expenses. Effectively, the TSA will subsidize

the RS Business rather than contribute positively to the Corrections Business on a go-forward

basis.

          51.   The Debtors have been unable to answer basic questions from the Committee to get

further clarity on these issues, including: (1) which contracts are necessary to provide the services

under the TSA; (2) what the usage rates for contracts not structured on a per-user basis would be;

(3) what the defined costs associated with the services are; and (4) how the involvement of

Corrections Business personnel in the TSA would impact a go-forward Corrections Business.

Without answers to these basic questions, neither the Committee nor the Court can understand

whether the terms of the TSA are in the best interest of the Debtors’ estates. The Debtors cannot

satisfy the business judgment standard if they themselves are not properly informed of the

consequences of entering into the TSA.

          52.   Third, assuming any strategic bidder for the Corrections Business could potentially

be a competitor of the RS Business, the TSA must be modified to provide flexibility for such a

bidder to terminate and/or renegotiate the TSA and allow for an accelerated timeline for the RS

Business to find replacement services at its own expense. A strategic buyer would understandably

be reluctant to provide services to a competitor, let alone at burdensome rates that were pre-

negotiated by the Sellers and the Stalking Horse Buyer. Furthermore, a strategic buyer would

understandably need assurances that its confidential information would be adequately protected

from its competitor and in no way compromised through the TSA. The TSA’s failure to address




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these issues, as well as others detailed in Exhibit 3 to the Desatnik Declaration, discourages bidding

on the Corrections Business and therefore jeopardizes the Debtors’ ability to maximize value in

these chapter 11 cases.

VI.       The Stalking Horse Buyer Should Not Have the Unilateral Right to Add or Remove
          Acquired Entities

          53.       The Recovery Solutions Stalking Horse Agreement grants the Stalking Horse

Buyer the unilateral right to redefine which entities are Acquired Companies (entities that the

Stalking Horse Buyer will acquire through an equity sale, in turn indirectly acquiring all their

assets and inheriting all their liabilities). In particular, the Stalking Horse Buyer has the ability to

remove some or all entities from this category up to two days before closing (i.e. after the Court’s

approval of the transaction, and without notice to any parties in interest or with an opportunity for

them to object). Recovery Solutions Stalking Horse Agreement § 2.1(f). 22 Should the Stalking

Horse Buyer exercise this right and ultimately decide not to purchase any equity interests in the

Acquired Companies while still acquiring the RS Business, the RS Sale could effectively be

transformed into a “free and clear” asset deal, potentially saddling the Debtors’ estates with

unanticipated liabilities without receiving any incremental consideration in return. In these

circumstances, the Committee and its constituents could be denied the opportunity to be heard on

or even evaluate the potential harm to the estates resulting from a material modification in the

transaction structure.




22    More specifically, Acquired Assets are defined to include “all record and beneficial ownership in Equity Interests
      owned by the Sellers (and all rights related thereto of the Sellers) in each Acquired Company; provided, however,
      that Buyer may, in its sole and absolute discretion, amend or revise Schedule 2.1(f)(i) at any time and from time
      to time prior to the date that is two (2) Business Days prior to the Closing Date, in order to add any one or more
      of the direct or indirect Subsidiaries of the Sellers set forth on Schedule 2.1(f)(ii) (and such added Subsidiary shall
      be automatically included as an Acquired Company for purposes of this Agreement), or remove any direct or
      indirect Subsidiary of the Sellers from such Schedule 2.1(f)(i) (and such removed Subsidiary shall be
      automatically deemed an Excluded Company for purposes of this Agreement).” Id.



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         54.       While the Committee has requested, repeatedly, from the time of its appointment

that the Debtors provide a quantification of the liabilities to be assumed under the RS Sale, they

have not provided such information.

                                         Schoenholtz Dep. Tr. at 81:3–82:9




                                                                               The Debtors cannot exercise their

business judgment in determining whether the consideration for the transaction is appropriate if,

among other things, (1) the benefit to the estates through the assumption of liabilities is not

quantified, and (2) the Stalking Horse Buyer can remove its assumption of those liabilities after

the RS Sale has been approved and without any corresponding change in the consideration

provided.

         55.       Since the Stalking Horse Buyer has now had sufficient time to conduct diligence in

connection with the RS Sale, the Court should condition approval of the transaction on the Stalking

Horse Buyer’s commitment to acquire the equity interests in all entities currently designated as

Acquired Companies.

         56.       On the flip side, the Stalking Horse Buyer also has the right to designate certain

Debtor entities, which are not currently Acquired Companies, as such (collectively, the

“Additional Acquired Companies”), allowing the Stalking Horse Buyer to purchase the equity

interests in these entities as well. Recovery Solutions Stalking Horse Agreement § 2.1(f).23



23   More specifically, Acquired Assets are defined to include “all record and beneficial ownership in Equity Interests
     owned by the Sellers (and all rights related thereto of the Sellers) in each Acquired Company; provided, however,
     that Buyer may, in its sole and absolute discretion, amend or revise Schedule 2.1(f)(i) at any time and from time
     to time prior to the date that is two (2) Business Days prior to the Closing Date, in order to add any one or more
     of the direct or indirect Subsidiaries of the Sellers set forth on Schedule 2.1(f)(ii) (and such added Subsidiary shall
     be automatically included as an Acquired Company for purposes of this Agreement), or remove any direct or


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Although this component of the RS Sale is structured as a stock deal, in turn minimizing concerns

about burdening the estates with unanticipated liabilities, it raises other issues. First, the Stalking

Horse Buyer will not provide any additional consideration in exchange for the Additional Acquired

Companies. See In re GSC, Inc., 453 B.R. at 145 & n.16 (noting buyer increased initial purchase

price to account for assets not subject to auction that were later added to sale). Absent robust

disclosure regarding the Additional Acquired Companies, which the Committee has not received,

there is no way to evaluate whether the consideration provided by Stalking Horse Buyer fairly

accounts for the value of these incremental entities. The Committee submits that it should receive,

at a minimum, a balance sheet detailing the assets and liabilities of any of the Additional Acquired

Companies before they can be added to the RS Sale, and sufficient notice and opportunity to object

to their inclusion, especially if no additional consideration is being provided.

       57.     Moreover, it is unclear why it would be necessary to add new entities to the RS

Sale, when the transaction was designed to encompass the entirety of the RS Business from the

beginning. The Debtors have represented that Additional Acquired Companies will only be added

to the RS Sale if failure to do so would create regulatory and licensing issues for the go-forward

RS Business. To the extent that is accurate, it is unclear whether adding the Additional Acquired

Companies to the RS Sale would not create similar problems for the go-forward Corrections

Business, which would not be in the best interests of the estates.

       58.     The uncertainty surrounding which entities may be excluded from or added to the

RS Sale is a product of a rushed sales process forced on the estates by the Debtors. The Debtors

must not make unsecured claimholders bear the costs of their failure to specify the assets and




   indirect Subsidiary of the Sellers from such Schedule 2.1(f)(i) (and such removed Subsidiary shall be
   automatically deemed an Excluded Company for purposes of this Agreement).” Id.



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liabilities being acquired and assumed, while the incumbent lenders stand to benefit directly from

the RS Sale and the Corrections Restructuring (as defined in the Plan). The RS Sale, as currently

constituted, is therefore not in the best interests of the estates.

VII.       Additional Revisions Are Needed to the Recovery Solutions Stalking Horse
           Agreement to Ensure Creditors of the Remaining Estates Are Sufficiently Protected

                 a. Cure Costs Cap

           59.      The Recovery Solutions Stalking Horse Agreement provides that the Sellers shall

be responsible for all cure costs with respect to assumed executory contracts and unexpired leases

(collectively, the “Assumed Contracts”), subject to a $10 million cap that is reduced by any

amounts paid by the Sellers on or after November 11, 2024 in connection with any pre-petition

trade payables (the “Seller Cure Cap”).                Recovery Solutions Stalking Horse Agreement §

2.5(a)(i). 24 Based on information provided by the Debtors, the Committee understands that the

Seller Cure Cap has been satisfied pursuant to various critical vendor payments, which the Debtors

should confirm on the record and in the Proposed Sale Order.

                 b. Reimbursements

           60.      The Stalking Horse Buyer must increase its credit bid in connection with certain

reimbursements the Debtors have received since entry of the Final DIP Financing Order.

           61.      Prior to entry of that order, the Committee had expressed several concerns

regarding the DIP Facility. To address some of those concerns, the Stalking Horse Buyer agreed

to increase its credit bid for the RS Business in an amount equal to reimbursements the Debtors

were expecting to receive for vendor payments that the Stalking Horse Buyer (through the DIP




24     For the avoidance of doubt, the Seller Cure Cap includes amounts necessary to satisfy cure costs of executory
       contracts and unexpired leases held by the Acquired Companies and any Additional Acquired Companies.



                                                         30
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Lenders) was initially funding pursuant to the DIP Facility and the Critical Vendors Order. 25

Counsel for the Stalking Horse Buyer acknowledged this agreement to the Court. Hr’g Tr. 31:11–

22, In re Wellpath Holdings, Inc., et al., No. 24-90533, (Bankr. S.D. Tex. Dec. 11, 2024) (“what

we have agreed … with respect to … reimbursements on the RS side of the business, [is] if those

reimbursements … come in, it will result in … an increase in the credit bid amount that … will

result in a corresponding kind of reduction at the end of the day of … our first lien indebtedness

… as part of the sale”).

         62.      The Committee understands that the Debtors have now received the

reimbursements at issue. A corresponding increase in the credit bid amount is in order, but has

not been made yet. Approval of the RS Sale should be conditioned on the Stalking Horse Buyer

holding its end of the bargain with respect to these reimbursements.

               c. Non-Mutual Releases

         63.      The Recovery Solutions Stalking Horse Agreement contains non-mutual releases

that disproportionately favor the Stalking Horse Buyer (collectively with certain entities and

individuals listed therein, the “Buyer Group”). See Recovery Solutions Stalking Horse Agreement

§ 12.17. While the Buyer Group is granted a full release, the Sellers are not. Id. 26 The Sellers are

primarily released from claims relating to the operation of the RS Business, whereas the Buyer

Group is released from virtually all actual and potential claims and causes of action, going well

beyond their capacity as purchasers of the Recovery Solutions Assets. Id. Notably, the Buyer

Group is released from claims arising out of or in any way related to loans, security, or forbearance


25   See Final Order (I) Authorizing the Debtors to Pay Certain Prepetition Claims of (A) Lien Claimants, (B)
     503(b)(9) Claimants, (C) PACA/PASA Claimants, and (D) Critical Vendors, (II) Confirming Administrative
     Expense Priority for Outstanding Claims, and (III) Granting Related Relief entered by the Bankruptcy Court [ECF
     No. 392] (the “Critical Vendors Order”).
26   Paragraph 43 of the Proposed Sale Order similarly contains overly broad releases in favor of the Buyer Group,
     which, for the avoidance of doubt, the Committee also objects to.



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agreements to which the Stalking Horse Buyer or the Sellers were parties. Id. This is particularly

inappropriate as the Buyer Group includes the Debtors’ prepetition lenders and DIP Lenders,

which should certainly not be released in those capacities through a sale process (to the extent they

should be released at all). Id. 27

         64.       The Debtors have not made any showing as to whether they have investigated any

actions against the prepetition lenders and, if so, what those actions may be worth and whether the

consideration being received is appropriate for such releases. Moreover, the limited nature of the

release granted to the Sellers exposes them to administrative expense liability for a potential post-

petition breach of the Recovery Solutions Stalking Horse Agreement. No justification has been

provided for this disparity, which fails to withstand scrutiny.

                                        RESERVATION OF RIGHTS

         The Committee hereby reserves the right to supplement this objection prior to or at the

hearing on the RS Sale, and to introduce evidence, and offer testimony concerning the RS Sale.

                                                  CONCLUSION

         Given the material deficiencies highlighted above, the Debtors cannot satisfy the business

judgment standard for approval of the RS Sale and closing of the Recovery Solutions Stalking

Horse Agreement. Rather, the plain terms of the Recovery Solutions Stalking Horse Agreement

suggest that it was designed to strip the Debtors of most of their assets and saddle the remaining

Debtors with liabilities that should have been picked up by the Stalking Horse Buyer based on the

form of the RS Sale. Further, the Recovery Solutions Stalking Horse Agreement and the TSA

make it impossible for a bidder on the remaining Corrections Business to know what assets they



27   The Buyer Group includes the Stalking Horse Buyer and “its directors, officers, control persons (as defined in
     Section 15 of the Securities Act, or Section 20 of the Exchange Act), members, employees, agents, attorneys,
     financial advisors, consultants, legal representatives, shareholders, partners, estates, successors and assigns.” Id.



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can bid on and force them to be term takers in a TSA that they had no hand in negotiating. The

Court should condition approval of the RS Sale on the revisions proposed by the Committee to (a)

the Recovery Solutions Stalking Horse Agreement (see Exhibit A attached hereto), (b) the

Proposed Sale Order (see Exhibit B attached hereto), and (c) the TSA (see Exhibit 3 attached to

the Desatnik Declaration), and grant such other relief as may be just and proper. Alternatively,

the Court should deny approval of the RS Sale.



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                              Proposed Counsel to the Statutory Unsecured
                              Claimholders' Committee to Wellpath Holdings,
                              Inc., et al.




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 7, 2025 the foregoing document was

electronically filed with the court using the CM/ECF system, which sent notification to all parties

of interest participating in the CM/ECF System.


                                             /s/ Nicholas Zluticky
                                             Nicholas Zluticky
                                             Counsel for the Committee




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                              Exhibit A

          Recovery Solutions Stalking Horse Agreement Redline




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                                                Execution VersionCommittee Comments




                             AMENDED AND RESTATED




                 EQUITY INTEREST AND ASSET PURCHASE AGREEMENT

                 DATED AS OF NOVEMBER 11, 2024JANUARY [●], 2025

                                 BY AND AMONG

                              RS PURCHASER LLC,

                            WELLPATH HOLDINGS, INC.

                                      AND

                            THE ADDITIONAL SELLERS




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            AMENDED AND RESTATED EQUITY INTEREST AND ASSET PURCHASE AGREEMENT
                  THIS AMENDED AND RESTATED EQUITY INTEREST ANDAND ASSET PURCHASE
AGREEMENT (this “Agreement”), dated as of November 11, 2024January [___], 2025 (the
“ExecutionEffective Date”), is made and entered into by and among RS Purchaser LLC, a Delaware
limited liability company (“Buyer”), Wellpath Holdings, Inc., a Delaware corporation (the “Company”),
and the Additional Sellers (collectively with the Company, the “Sellers” and, each entity individually, a
“Seller”), as debtors and debtors-in-possession. Capitalized terms used but not otherwise defined herein
shall have the meanings set forth in Article 1.
                                                RECITALS

                 WHEREAS, on theNovember 11, 2024 (the “Original Execution Date”), the Sellers and
certain of their affiliates shall filefiled voluntary petitions (the “Bankruptcy Cases”) for relief under
Chapterchapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”);

                 WHEREAS, on the Original Execution Date, Buyer and the Sellers entered into that
certain Equity Interest and Asset Purchase Agreement (the “Original Purchase Agreement”);

               WHEREAS, Buyer and the Sellers now desire, and have agreed, to amend and restate the
Original Purchase Agreement in its entirety as set forth in this Agreement;

                 WHEREAS, in accordance with the Bidding Procedures attached to the Bidding
Procedures Order entered by the Bankruptcy Court, and subject to the terms and conditions set forth in
this Agreement and the entry of the Sale Order, the Sellers desire to sell to Buyer the Acquired Assets,
Buyer desires to purchase from the Sellers the Acquired Assets and assume the Assumed Liabilities, and
the Parties intend to effectuate the transactions contemplated by this Agreement;

                WHEREAS, pursuant to thethat certain direction letter, dated on or around the date
hereofOriginal Execution Date (the “Instruction Letter”), a true and correct copy of which has been
provided to the Sellers, the Required Lenders (as defined in the DIP Facility) and UBS AG Stamford
Branch, as agent (the “DIP Agent”) have authorized and directed that Buyer credit bid the obligations
under the DIP Facility, pursuant to the terms and subject to the conditions set forth in this Agreement;

               WHEREAS, upon the Closing, the Acquired Assets and the Assumed Liabilities shall be
purchased and assumed by Buyer pursuant to the Sale Order, free and clear of all Liens (other than
Permitted Liens), pursuant to Sectionssections 105, 363 and 365 of the Bankruptcy Code, and Rules
6004 and 6006 of the Federal Rules of Bankruptcy Procedure;

                 WHEREAS, the Sellers’ ability to consummate the transactions set forth in this Agreement
is subject to, among other things, the entry of the Sale Order by the Bankruptcy Court; and

                 WHEREAS, the board of directors, board of managers, managing member, or similar
governing body of each Seller has determined that it is advisable and in the best interests of such Seller
and its constituencies to, including its creditors, to amend and restate the Original Purchase Agreement
and enter into this Agreement and to consummate the transactions provided for herein, subject to entry of
the Sale Order, and each has approved the same.

                NOW, THEREFORE, in consideration of the premises and the mutual promises herein
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made, and in consideration of the foregoing and of the representations, warranties, covenants, agreements
and conditions herein contained, the receipt and sufficiency of which are hereby acknowledged, the
Parties, intending to be legally bound hereby, agree as follows:

                                                ARTICLE 1

                                                DEFINITIONS

                 1.1     Definitions.

               For purposes of this Agreement, the following terms have the meanings specified or
referenced below.

                “Accounts Receivable” means, with respect to each Seller, all accounts receivable, notes
receivable, purchase orders, negotiable instruments, chattel paper, notes and other rights to payment,
primarily related to the RS Business, including those consisting of all accounts receivable in respect of
services rendered or products sold to customers of the RS Business by such Seller, any other
miscellaneous accounts receivable of such Seller primarily related to the RS Business, and any claim,
remedy or other right of such Seller primarily related to any of the foregoing, together with all unpaid
financing charges accrued thereon and any payments with respect thereto.

                 “Acquired Assets” has the meaning set forth in Section 2.1.

                “Acquired Avoidance Actions” means all Avoidance Actions, including any proceeds
thereof, that may be asserted against parties to, or otherwise are relatedwith respect to the Assumed
Contracts. and solely to the extent such Avoidance Actions relate to RS Business; provided, however,
that all Avoidance Actions that may be asserted against any insiders of the Sellers, as that term is defined
under section 101(31) of the Bankruptcy Code (excluding, for the avoidance of doubt, any Buyer
Employees), or against any affiliates, as that term is defined under section 101(2) of the Bankruptcy
Code, are specifically excluded from the Acquired Avoidance Actions, shall not be transferred or
assigned to Buyer and shall remain property of the Sellers’ chapter 11 estates ; provided, further, that
nothing in this Agreement shall prejudice Seller’s ability to pursue any Avoidance Actions that are not
Acquired Avoidance Actions and Buyer shall take all reasonable steps to cooperate with Sellers in
connection with any Avoidance Actions that are not Acquired Avoidance Actions.

                 “Acquired Companies” means the Subsidiaries of the Sellers set forth on Schedule
2.12.7(f)(ia), as it may be amended from time to time pursuant to the terms hereof.

                 “Acquired Company Plan” means any Plan which is maintained, sponsored or entered
into solely by an Acquired Company.

                 “Acquired Interests” has the meaning set forth in Section 2.1.

                 “Acquired Seller Assets” has the meaning set forth in Section 2.1.

                  “Action” means any legal action, suit, petition, plea, charge, claim, demand, hearing,
inquiry, arbitration, complaint, grievance, summons, litigation, mediation, proceeding (including any
civil, criminal, administrative, investigative or appellate proceeding), prosecution, contest, inquest, audit,
examination, investigation or similar matter commenced, brought, conducted or heard by or before, or
otherwise involving, any Governmental Authority.



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                “Additional Acquired Company” has the meaning set forth in Section 2.8.

                “Additional Acquired Company Disclosure” has the meaning set forth in Section 7.6.

                “Additional Sellers” means: (a) Correct Care Holdings, LLC, a Florida limited liability
company, and (“Correct Care”), (b) Alpine CA Behavioral Health HoldCo, LLC, a Delaware limited
liability company. (“Alpine”), and (c) subject to and solely upon satisfaction of the conditions set forth in
Section 2.7, Wellpath Group Holdings, LLC (f/k/a Correct Care Solutions Group Holdings, LLC), a
Delaware limited liability company (“Wellpath Group Holdings”), and Wellpath Hospital Holding
Company, LLC, a Delaware limited liability company (“Wellpath Hospital”).

              “Ad Hoc Group” means that certain ad hoc group of unaffiliated Consenting First Lien
Lenders and Consenting Second Lien Lenders represented by Akin Gump Strauss Hauer & Feld LLP,
Houlihan Lokey Capital, Inc. and Ankura Consulting Group, LLC.

              “Affiliate” has the meaning set forth in Rule 12b-2 of the regulations promulgated under
the Exchange Act.

                “Agreement” has the meaning set forth in the introductory paragraph.

                “Allocation Statement” has the meaning set forth in Section 3.2.

                 “Alpine Purchase Agreement” means that certain Equity Purchase Agreement, dated as
of April 21, 2022, by and between CCS-CMGC Parent Holdings, LP, Alpine CA Behavioral Health
HoldCo, LLC, Wellpath Holdings, Inc., as guarantor, the sellers party thereto, and the seller
representative, dated as of April 21, 2022.

                “Alternate Bidder” has the meaning set forth in the Bidding Procedures.

                “Alternate Bid Expiration Date” has the meaning set forth in Section 7.8.

                 “Alternative Transaction” means any sale, disposition, new-money investment,
restructuring, reorganization, merger, amalgamation, acquisition, consolidation, dissolution, debt
investment, equity investment, liquidation, asset sale, share issuance, consent solicitation, exchange
offer, tender offer, recapitalization, plan of reorganization or liquidation, share exchange, business
combination, joint venture, debt incurrence, or similar transaction involving the Company and/or any of
its Subsidiaries (including, for the avoidance of doubt, a transaction premised on a sale of assets under
Sectionsection 363 of the Bankruptcy Code), or the debt, equity, or other interests in the Company
and/or any of its Subsidiaries that transfers to or vests ownership of the RS Business or substantially all
of itsthe RS Business assets in any party other than Buyer.

                “Annual Financial Statements” has the meaning set forth in Section 5.6.

               “Anti-Corruption Laws” means the U.S. Foreign Corrupt Practices Act of 1977, the UK
Bribery Act 2010, and any applicable Legal Requirements related to bribery or corruption.

               “Anti-Money Laundering Laws” means the Money Laundering Control Act of 1986 (18
U.S.C. §§ 1956-1957), the USA PATRIOT ACT ((Pub. L. No. 107-56), the Bank Secrecy Act (31 U.S.C.
§§5311-5332)), the UK Proceeds of Crime Act 2002, the UK Terrorism Act 2000 and any applicable
Legal Requirements related to terrorist financing or money laundering, including know-your-customer



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(KYC) and financial recordkeeping and reporting requirements.

                 “Antitrust Law” means, collectively, the HSR Act, title 15 of the United States Code §§
1-7, as amended (the Sherman Act), Title 15 of the United States Code §§ 12-27 and Title 29 of the
United States Code §§ 52-53, as amended (the Clayton Act), the Federal Trade Commission Act (15
U.S.C.§ 41 et seq.), as amended, and the rules and regulations promulgated thereunder, and all other
national, state, local or foreign Legal Requirements in effect from time to time that are designed or
intended to (a) prohibit, restrict or regulate actions or transactions having the purpose or effect of
monopolization or restraint of trade or lessening of competition through merger or acquisition; or (b)
regulate transactions involving foreign investments, including any Legal Requirements that provide for
review of national security matters in any jurisdiction.

                “Apportioned Taxes” has the meaning set forth in Section 8.1(b).

                “Approved Budget” has the meaning set forth in the applicable DIP Financing Orders.

                “Assumed Contracts” has the meaning set forth in Section 2.5(a)(i).

                “Assumed Liabilities” has the meaning set forth in Section 2.3.

                 “Assumption Agreement” means the Assignment and Assumption Agreement, in
substantially the form attached hereto as Exhibit A.

                 “Auction” means the auction for the sale of the RS Business conducted by the Sellers if,
and only if, any Qualified Bid (other than this Agreement) is received pursuant to the terms and
conditions of the Bidding Procedures Order.

                 “Avoidance Action” means any and all actual or potential avoidance, recovery,
subordination, or other claims, actions, or remedies that may be brought by or on behalf of the Seller,
itsSellers, their Estates, or other authorized parties in interest to avoid a transfer of property or an
obligation or disallow a clam incurred by the Seller pursuant to any applicable section of the Bankruptcy
Code, including sections 502, 510, 542, 544, 545, 547 through and including 553, and 724(a) of the
Bankruptcy Code, or under similar or related state, federal, and non-U.S. statutes and common law,
including fraudulent transfer laws or fraudulent conveyance.

                “Bankruptcy and Equity Exceptions” has the meaning set forth in Section 5.3.

                “Bankruptcy Cases” has the meaning set forth in the recitalsRecitals.

                “Bankruptcy Code” means Title 11 of the United States Code, Sections 101 et seq.

                “Bankruptcy Court” has the meaning set forth in the recitalsRecitals.

              “Bidding Procedures” means bid procedures, substantially in the form attached
hereto as Exhibit B (with changes approved by Buyer and Sellers in accordance with this
Agreement), to be approved by the Bankruptcy Court pursuant to the Bidding Procedures Order.

                “Bid Deadline” has the meaning set forth in Section 7.4(a).

            “Bidding Procedures Motion” means the motion filed by Sellers with the
Bankruptcy Court seeking entry of the Bidding Procedures Order approving, among other

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things,approved by the Bidding Procedures Order.

                “Bidding Procedures Order” means an Order of thethe Stipulated and Agreed Amended
Order (I) Approving the Bidding Procedures for the Sale of the Debtors' Assets, (II) Approving Entry into
a Stalking Horse Purchase Agreement for the Recovery Solutions assets, (III) Authorizing the Recovery
Solutions Expense Reimbursement, (IV) Authorizing Potential Selection of Stalking Horse Bidders for the
Corrections Assets an Approving Related Corrections Asset(s) Bid Protections, (V) Establishing Related
Dates and Deadlines, (VI) Approving the Form and manner of Notice Thereof, (VII) Approving the
Assumption and Assignment Procedures, and (VIII) Granting Related Relief entered by the Bankruptcy
Court, substantially in the form attached hereto as Exhibit C (with changes approved by Buyer
and Sellers in accordance with this Agreement) [Docket No. 384].

                “Bill of Sale” means a Bill of Sale, in substantially the form attached hereto as Exhibit
DB.

             “Business Day” means any day of the year on which national banking institutions in
New York, New York are open to the public for conducting business and are not required or authorized
to close.

               “Buyer” has the meaning set forth in the introductory paragraph and shall also include
any Buyer Designee.

                “Buyer 401(k) Plan” has the meaning set forth in Section 8.5(e).

                “Buyer Designee” has the meaning set forth in Section 2.1.

                “Buyer Employees” has the meaning set forth in Section 8.5(b).

               “Cash Cap” means an amount equal to $10,000,000.00, which amount is subject to
adjustment by a mechanism to be mutually agreed to by the Parties in good faith no later than ten
(10) Business Days following the Execution Date, which mechanism shall take into account
anticipated levels of Cure Costs, accounts payable and Accounts Receivable as of the Closing.
For the avoidance of doubt, only the mechanism will be agreed upon within ten (10) Business
Days following the Execution Date, the actual targets and calculations will be agreed upon prior
to the Sale Hearing..

                 “Causes of Action” means any claim, interest, damage, remedy, cause of action,
proceeding, demand, right, action, suit, obligation, liability, account, defense, offset, power, privilege,
license, Lien, indemnity, guaranty, franchise, debt, judgment, or controversy of any kind or character
whatsoever, whether known or unknown, choate or inchoate, foreseen or unforeseen, existing or
hereinafter arising, contingent or noncontingent, disputed or undisputed, liquidated or unliquidated,
secured or unsecured, matured or unmatured, suspected or unsuspected, assertable directly or
derivatively, reduced to judgment or otherwise, whether arising before, on, or after the commencement of
the Bankruptcy Cases, in contract, tort, law, equity, or otherwise pursuant to any theory of law. For the
avoidance of doubt, Causes of Action include the following: (a) any right of setoff, counterclaim, or
recoupment and any claim under contracts or for breaches of duties imposed by law or in equity; (b) any
claim based on or relating to, or in any manner arising from, in whole or in part, breach of fiduciary duty,
violation of local, state, federal, or foreign law, or breach of any duty imposed by law or in equity,
including securities laws, negligence, and gross negligence; (c) any claims or causes of action for aiding
and abetting (including of breaches of fiduciary duties), knowing participation (including knowing


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participation in breach of fiduciary duty), and conspiracy (including conspiracy to breach fiduciary duty);
(d) any claims or causes of action for illegal dividends; (e) any claims or causes of action for fraud,
misrepresentations, or omissions; (f) the right to object to, subordinate, disallow, or otherwise contest
Liens and Claims; (g) any claim or defense, including fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (h) any Avoidance Action.

                “Claim” means a “claim” as defined in Sectionsection 101(5) of the Bankruptcy Code.

                “Closing” has the meaning set forth in Section 4.1.

                “Closing Date” means the date and time as of which the Closing occurs as set forth in
Section 4.1.

                “Code” means the Internal Revenue Code of 1986, as amended.

                “Company” has the meaning set forth in the introductory paragraph.

                “Committee” has the meaning set forth in Section 12.4.

                “Consenting First Lien Lenders” has the meaning set forth in the Restructuring Support
Agreement.

              “Consenting Second Lien Lenders” has the meaning set forth in the Restructuring
Support Agreement.

                “Consenting Stakeholders” has the meaning set forth in the Restructuring Support
Agreement.

                “Contract” means any agreement, contract, obligation, promise, undertaking, lease
(including any Leases), sublease, purchase order, arrangement, license, commitment, insurance policy or
other binding arrangement or understanding (in each case whether written or oral), and any amendments,
modifications or supplements thereto.

                “Corrections Acquiror” has the meaning set forth in Section 2.7(c).

                “Corrections Business” means the Company’s businesses and operations other than the
RS Business.

                “Corrections Transition Service” has the meaning set forth in Section 2.7(c).

                “Corrections TSA” has the meaning set forth in Section 2.7(c).

                “Critical Vendors Order” means that certain Final Order (I) Authorizing the Debtors to
Pay Certain Prepetition Claims of (A) Lien Claimants, (B) 503(b)(9) Claimants, (C) PACA/PASA
Claimants, and (D) Critical Vendors, (II) Confirming Administrative Expense Priority for Outstanding
Claims, and (III) Granting Related Relief entered by the Bankruptcy Court [Docket No. 392].

                 “Cure Costs” means all monetary liabilities, including pre-petition monetary liabilities,
of the Sellers that must be paid or otherwise satisfied to cure all of the Sellers’ monetary defaults under
the Assumed Contracts pursuant to Sectionsection 365 of the Bankruptcy Code at the time of the



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assumption thereof and assignment to Buyer as provided hereunder as such amounts are determined by
the Bankruptcy Court.

               “Deferred One Year Cash Payment” means a portion of the purchase price under the
Alpine Purchase Agreement in an original amount equal to $17,500,000.

                 “Determination Date” has the meaning set forth in Section 2.5(a).

                 “DIP Agent” has the meaning set forth in the recitalsRecitals.

                 “DIP Facility” has the meaning set forth in the Restructuring Support Agreement.

               “DIP Financing Orders” means, collectively, the Interim DIP Financing Order and the
Final DIP Financing Order.

                 “DIP Obligations” has the meaning set forth in the DIP Financing Orders.

                 “DIP Release Amount” has the meaning set forth in Section 3.1(a).

                “Disclosure Schedules” means the Disclosure Schedules attached hereto, dated as of
the Execution Date, delivered by the Sellers to Buyer in connection with the execution of this
Agreementas of November 27, 2024, as the same may be modified, supplemented and amended pursuant
to Section 7.6.

                 “Disputed Contract” has the meaning set forth in Section 2.5(a)(i).

                 “Disputed Contract Determination” has the meaning set forth in Section 2.5(a)(v).

                “Documents” means all of the documents that are used or useful in, held for use in, or
intended to be used in, or that arise in any way out of, the RS Business.

                 “Effective Date” has the meaning set forth in the introductory paragraph.

                 “Employees” means all employees of the Acquired Companies as of the Closing.

                 “Environmental Laws” means any and all Legal Requirements enacted and in effect on
or prior to the date of this Agreement concerning pollution, natural resources, or protection of the
environment, including all those relating to the presence, use, production, generation, handling,
transportation, treatment, storage, disposal, distribution, labeling, testing, processing, discharge, release,
control, or cleanup of any hazardous materials, substances, or wastes.

                 “Equipment” means all furniture, fixtures, equipment, computers, machinery, vehicles,
apparatus, attachments, appliances, fittings, lighting fixtures, doors, cabinets, partitions, mantels, motors,
pumps, screens, plumbing, heating, air conditioning, waste disposal and storing, wiring, telephones,
televisions, monitors, security systems, carpets, floor coverings, wall coverings, office equipment,
laboratory equipment, computers, registers, safes, trash containers, meters and scales, combinations,
codes and keys, implements, telephone systems, signage, supplies, communications equipment,
information technology assets, and any attached and associated hardware, routers, devices, panels,
cables, manuals, cords, connectors, cards, and vendor documents, and including all warranties of the
vendor applicable thereto, and all other tangible personal property of every kind and description, and
Improvements, in each case, primarily used, or primarily held for use, in connection with the operation of


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the RS Business, wherever located.

                “Equity Interests” means any shares of any class of capital stock, membership interests,
partnership interests or other equity or equity-based interests (including securities convertible or
exchangeable into equity interests) in any Person, which are issued and outstanding (including all rights
to receive all beneficial interest in any such items), and any outstanding warrants, options, voting
agreements or other Contracts or obligations pursuant to which such Person is or may become obligated
to issue, sell, purchase, return, redeem, vote or abstain from voting any shares of capital stock,
membership interests, partnership interests or other equity interests.

                 “ERISA” means the Employee Retirement Income Security Act of 1974, as amended,
and the regulations promulgated thereunder.

                 “ERISA Affiliate” means, with respect to any Person, trade, business or entity, any other
Person, trade, business or entity that is, or was at the relevant time, a member of a group described in
Section 414(b), (c), (m) or (o) of the Code or Section 4001 of ERISA that includes or included the first
Person, trade, business, or entity that is, or was at the relevant time, a member of the same “controlled
group” as the first Person, trade, business, or entity pursuant to Section 4001(a)(14) of ERISA.

                “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                “Excluded Assets” has the meaning set forth in Section 2.2.

             “Excluded Company” means any direct or indirect Subsidiary of a Seller that is not an
Acquired Company.

                “Excluded Contracts” has the meaning set forth in Section 2.5(a)(i).

                “Excluded Liabilities” has the meaning set forth in Section 2.4.

               “Execution DateExisting First Lien Credit Agreement” has the meaning set forth in
the introductory paragraphRestructuring Support Agreement.

              “Existing Second Lien Credit Agreement” has the meaning set forth in the Restructuring
Support Agreement.

                “Exit Term Loan Facility Documents” means the credit agreement and related loan
documents (including the “Credit Documents” or similar term defined in such credit agreement)
governing Buyer’s takeback exit term loan facility, to be entered into on or substantially concurrently
with the Closing.

                “Expense Reimbursement” means an amount, not to exceed Two Million Dollars
($2,000,000), for which the Sellers shall be liable upon the occurrence of a Protection Event, equal to the
reasonable and documented out-of-pocket costs, fees and expenses of Buyer and the Ad Hoc Group
(including reasonable expenses of legal, financial advisory, accounting and other similar costs, fees and
expenses and all filing fees under the HSR Act and any other Antitrust Laws, including the fees and
expenses of Akin Gump Strauss Hauer & Feld LLP, any local counsel, Houlihan Lokey Capital, Inc. and
Ankura Consulting Group, LLC) related to the formation and operation of the Buyer and the transactions
contemplated by this Agreement and to the extent such out-of-pocket costs, fees and expenses are
not otherwise paid or reimbursed by the Sellers under the DIP Facility promptly upon the terms
and conditions set forth in Section 11.2(b), which amount, upon entry ofin accordance with the

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Bidding Procedures Order, shall constitute a super priority administrative expense of Sellers under
section 364(c)(1) of the Bankruptcy Code with priority over any and all administrative expenses
of any kind, including those specified in sections 503(b) or 507(b) of the Bankruptcy Code and
be paid as provided in Section 11.2.

                “Facility” has the meaning set forth in Section 5.9.

               “Final DIP Financing Order” means athe Final Order of(I) Authorizing the Debtors to
(A) Obtain Postpetition Financing, and (B) Use Cash Collateral; (II) Granting Liens and Providing
Superpriority Administrative Expense Claims; (III) Granting Adequate Protection to the Prepetition
Secured Parties; (IV) Modifying the Automatic Stay; and (V) Granting Related Relief entered by the
Bankruptcy Court approving, among other things, the DIP Facility and the Sellers’ entry into the
definitive agreements related thereto[Docket No. 388].

                 “Final Order” means a judgment or Order of the Bankruptcy Court (or any other court
of competent jurisdiction) entered on the docket in the Bankruptcy Case (or the docket of such other
court), which has not been modified, amended, reversed, vacated or stayed and as to which (a) the time to
appeal, petition for certiorari, or move for a new trial, stay, reargument or rehearing has expired and as to
which no appeal, petition for certiorari or motion for new trial, stay, reargument or rehearing shall then
be pending or (b) if an appeal, writ of certiorari, new trial, stay, reargument or rehearing thereof has been
sought, such Order or judgment of the Bankruptcy Court (or other court of competent jurisdiction) shall
have been affirmed by the highest court to which such order was appealed, or certiorari shall have been
denied, or a new trial, stay, reargument or rehearing shall have expired, as a result of which such Action
or Order shall have become final in accordance with Rule 8002 of the Federal Rules of Bankruptcy
Procedure; provided, however, that the possibility that a motion under Rule 60 of the Federal Rules of
Civil Procedures, or any analogous rule under the Federal Rules of Bankruptcy Procedure, may be filed
relating to such Order, shall not cause an Order not to be a Final Order.

                “Financial Statements” has the meaning set forth in Section 5.6.

               “GAAP” means United States generally accepted accounting principles as in effect at the
Interim Balance Sheet Date.

                 “Governmental Authority” means any United States or non-United States federal, state,
provincial, or local governmental, or regulatory commission, board, bureau, agency, court, or other
tribunal of any of the foregoing.

                “Governmental Authorization” means any approval, consent, license, Permit, waiver or
other authorization issued, granted or otherwise made available by or under the authority of any
Governmental Authority.

                “Hazardous Substance” means (a) petroleum or petroleum products, flammable
materials, explosives, radioactive materials, radon gas, lead-based paint, asbestos, and polychlorinated
biphenyls (PCBs), and (b) any chemicals or other materials or substances which are defined as or
included in the definition of “hazardous substances,” “hazardous wastes,” “hazardous materials,” “toxic
substances,” “toxic pollutants,” “contaminants,” “pollutants,” or words of similar import under any
applicable Environmental Law.

               “HIPAA” means the Health Insurance Portability and Accountability Act of 1996, (42
U.S.C. §1320d et seq.), as amended by the Health Information Technology for Economic and Clinical
Health Act of 2009, and any implementing regulations promulgated thereunder (including the Standards

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for Privacy of Individually Identifiable Health Information, the Security Standards for the Protection of
Electronic Protected Health Information and the Standards for Electronic Transactions and Code Sets
promulgated thereunder) and applicable Legal Requirements regarding patient privacy and the security,
storage, disposal, transmission, use or disclosure of health care records or information protected as
“personal data,” “personal information,” “personal identifiable information,” or “personal health
information” among others.

                “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
amended, and the rules and regulations promulgated thereunder and any successor to such statute, rules,
or regulations.

                 “Improvements” means the buildings, structures, fixtures, systems, facilities, easements,
rights-of-way, privileges, improvements, parking areas, landscaped areas, PP&E, licenses, appurtenances
and all other rights and benefits appurtenant or in any way related to and/or demised under any lease of,
or other contract or agreement for the use of, the Real Property Leases, as applicable.

                  “Indebtedness” means, at any time and with respect to any Person: (a) all indebtedness
of such Person for borrowed money or indebtedness issued or incurred in substitution or exchange for
indebtedness for borrowed money; (b) all indebtedness of such Person for the deferred price of property
or services, including reimbursement and other obligations for surety bonds; (c) all obligations of such
Person evidenced by notes, bonds, debentures or other similar instruments; (d) non-contingent
obligations of such Person to reimburse any bank or other Person in respect of amounts paid under a
letter of credit, banker’s acceptance or similar instrument (in each case, only to the extent drawn); (e)
“earnouts”, purchase price adjustments, profit sharing arrangements, deferred purchase money amounts
and similar payment obligations or continuing obligations of any nature of such Person arising out of
purchase and sale contracts; (f) all obligations of such Person under leases which have been or should be,
in accordance with GAAP, recorded as capital leases, but only to the extent recorded as a capital lease in
the Financial Statements; (g) unfunded or underfunded single employer defined pension plan or
withdrawal liabilities currently payable to any multiemployer plan liabilities; (h) all Indebtedness of
others referred to in clauses (a) through (g) above guaranteed directly by such Person; (i) all Indebtedness
referred to in clauses (a) through (h) above secured by (or for which the holder of such Indebtedness has
an existing right, contingent or otherwise, to be secured by) any Lien upon or in property (including
accounts and contract rights) owned by such Person (other than Permitted Liens), even though such
Person has not assumed or become liable for the payment of such Indebtedness; and (i) for clause (a)
through (i) above, all accrued interest thereon, if any, and any termination fees, prepayment penalties,
“breakage” cost or similar payments associated with the repayments of such Indebtedness.

                “Instruction Letter” has the meaning set forth in the recitalsRecitals.

                 “Intellectual Property” means all copyrights, patents, trademarks, trade names, trade
styles, logos, product designations and service marks and all applications (pending or in process) and
registrations therefor and licenses thereof primarily used or held for use in the RS Business.

              “Intellectual Property Assignment Agreement” means the Intellectual Property
Assignment Agreement, in substantially the form attached hereto as Exhibit EC.

                “Interim Balance Sheet” has the meaning set forth in Section 5.6.

                “Interim Balance Sheet Date” has the meaning set forth in Section 5.6.

                “Interim DIP Financing Order” means an interim Order ofthe Interim Order (I)


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Authorizing the Debtors to (A) Obtain Postpetition Financing, and (B) Use Cash Collateral; (II)
Granting Liens and Providing Superpriority Administrative Expense Claims; (III) Granting Adequate
Protection to the Prepetition Secured Parties; (IV) Modifying the Automatic Stay; (V) Scheduling Final
Hearing; and (VI) Granting Related Relief entered by the Bankruptcy Court approving, among other
things, the DIP Facility on an interim basis and the Sellers’ entry into the definitive agreements
related thereto[Docket No. 81].

                “Interim Financial Statements” has the meaning set forth in Section 5.6.

                “Inventory” has the meaning set forth in Section 2.1(gf).

                “IRS” means the Internal Revenue Service.

                “Key Person” means individuals listed on Schedule 1.1(a).

                “Knowledge” means, with respect to any matter in question, in the case of the Sellers, the
actual knowledge of any of the individuals listed on Schedule 1.1(b) is deemed to have after due
investigation and inquiry.

               “Lease” and “Leases” means all leases, subleases, licenses, sublicenses, occupancy
agreements, access agreements, memoranda, amendments, restatements, modifications, supplements, and
assignments.

                “Leased Real Property” has the meaning set forth in Section 5.12(a).

                “Legal Requirement” means any federal, state, provincial, county, local, municipal,
foreign, international, or multinational law (statutory, common or otherwise), constitution, treaty,
convention, ordinance, equitable principle, code, rule, regulation or Order enacted, adopted, promulgated
or applied by any Governmental Authority.

                 “Liability” means a Claim or Lien of any kind or nature whatsoever (whether known or
unknown, asserted or unasserted, absolute or contingent, accrued or unaccrued, liquidated or
unliquidated, or due or to become due).

                  “Lien” means any “interest” as that term is used in Sectionsection 363(f) of the
Bankruptcy Code, mortgage, deed of trust, pledge, assignment, successor liability, security interest,
encumbrance, easement, condition, covenant, reservation, lien, mechanics lien, claim, charge,
hypothecation, warrant, deemed trust, action, or claim of any kind or nature whatsoever in respect of any
property, other than any license of Intellectual Property, including any of the foregoing created by,
arising under, or evidenced by any conditional sale or other title retention agreement, the interest of a
lessor under a capital lease, any financing lease having substantially the same economic effect as any of
the foregoing, or the filing of a financing statement naming the owner of the property as to which such
lien relates as the debtor under the Uniform Commercial Code or any comparable Legal Requirement in
any other jurisdiction.

                “Managed Entity” means California Health and Recovery Solutions, P.C., a California
professional corporation.

                “Material Adverse Effect” means any fact, state of facts, change, circumstance,
occurrence, effect, event, result or development that individually or in the aggregate (taking into account
all other such facts, states of fact, changes, circumstances, occurrences, effects, events, results or

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developments) has had, or would be reasonably expected to have, a material adverse change in or
material adverse effect on (a) the RS Business, the Acquired Assets or the assets, properties, prospects,
condition (financial or otherwise), liabilities or results of operations of the RS Business (excluding the
Excluded Assets and the Excluded Liabilities), taken as a whole or (b) the ability of the Sellers to
consummate the transactions contemplated by this Agreement or to perform any of their obligations
under this Agreement, but, with respect to clause (a) only, excluding any fact, state of facts, change,
circumstance, occurrence, effect, event, result or development to the extent that it results from or arises
out of (i) the filing, commencement or pendency of the Bankruptcy Cases; (ii) the execution and delivery
of this Agreement or the announcement thereof, including any termination of, reduction in or similar
negative impact on relationships, contractual or otherwise, with any customers, suppliers, distributors,
partners or employees of the Sellers or the RS Business; (iii) any adoption, implementation, modification,
repeal or other changes in Legal Requirement or accounting regulations or principles, or in
interpretations of any of the foregoing; (iv) any specific action required to be taken pursuant to the terms
of this Agreement or any action taken or failed to be taken, by the Seller at the written request of, or with
the written consent of, Buyer; (v) any change or effect of economic, business or political conditions
(including outbreak, continuation or escalation of any military conflict, declared or undeclared war,
armed hostilities, civil unrest, public demonstrations or acts of foreign or domestic terrorism or sabotage
(including hacking, ransomware or any other electronic attack), or any escalation or worsening of any
such conditions) or the securities, debt, banking, capital, credit or financial markets, or in interest or
exchange rates, in each case, in any country or region; (vi) any epidemic, pandemic or outbreak of
disease, or any escalation or worsening of such conditions, (vii) any natural or manmade disasters or
calamities, weather conditions including hurricanes, floods, tornados, tsunamis, earthquakes and wild
fires, cyber outages, or other force majeure events, or any escalation or worsening of such conditions;
(viii) any other regional, national or international calamity, crisis or emergency; or (ix) any failure by the
Sellers or the Acquired Companies to meet any projections, estimates, or budgets of or relating to the RS
Business for any period prior to, on, or after the date of this Agreement (it being understood that the
underlying causes of such failure may be taken into account in determining whether a Material Adverse
Effect has occurred); provided that, in the cases of immediately preceding clauses (iii), (v), (vi), (vii) and
(viii), such fact, state of facts, change, circumstance, occurrence, effect, event, result or development
shall be taken into account to the extent that the Sellers are disproportionately affected, taken as a whole,
as compared to other companies in the same industry as the Sellers and solely to the extent of such
disproportionate effect.

                “Material Contract” has the meaning set forth in Section 5.19(a).

                “Material Customers” has the meaning set forth in Section 5.21(a).

                “Material Suppliers” has the meaning set forth in Section 5.21(b).

                “Non-Acquired Company Plan” means every Plan that is not an Acquired Company
Plan.

                “Order” means any order, writ, injunction, judgment, verdict, ruling, decision, subpoena,
mandate, precept, command, directive, consent, approval, award, decree or similar determination or
finding entered, issued, made or rendered by any Governmental Authority or an arbitrator, mediator or
other quasi-judicial or judicially sanctioned Person.

                 “Ordinary Course of Business” means, with respect to any Person, the ordinary and
usual course of normal day to day operations of such Person and its business, consistent with its past
practice (including with respect to quality, quantity and frequency); provided, however, that, except as
otherwise expressly specified herein, all references to the “Ordinary Course of Business” shall refer to


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the Ordinary Course of Business of the RS Business.

                “Organizational Documents” means (a) any certificate or articles of incorporation,
bylaws, certificate or articles of formation, operating agreement or partnership agreement, (b) any
documents comparable to those described in clause (a) as may be applicable pursuant to any Legal
Requirements, and (c) any amendment or modification to any of the foregoing.

                “Original Execution Date” has the meaning set forth in the Recitals.

                “Original Purchase Agreement” has the meaning set forth in the Recitals.

                 “Other Rights and Interests” means (i) easements, rights of way, privileges, licenses,
hereditaments, appurtenances and all other rights and benefits appurtenant or in any way related to, or
demised under any lease of or other context or agreement for the use of, the Leased Real Property and (ii)
all strips and gores and any land lying in the bed of a public road, highway or other access way, open or
proposed adjourning such Leased Real Property, in each case, to the extent any Seller has a legally
recognized interest therein.

                “Outside Date” has the meaning set forth in Section 11.1(b)(i).

                “Parallel Cause of Action” has the meaning set forth in Section 2.2.

                “Party” or “Parties” means, individually or collectively, Buyer and the Sellers.

                “Permits” has the meaning set forth in Section 5.22(d)(i).

                  “Permitted Liens” means (a) statutory Liens for current Taxes or other governmental
charges not yet due and payable or the amount or validity of which is being contested in good faith by
appropriate Actions by any Acquired Company or any Seller; (b) mechanics’, carriers’, workers’,
repairers’, and similar statutory Liens arising or incurred in the ordinary course of business; (c) Liens
arising under worker’s compensation, unemployment insurance, social security, retirement, or similar
legislation; (d) Liens on goods in transit incurred pursuant to documentary letters of credit; (e) purchase
money Liens and Liens securing rental payments under capital lease arrangements; (f) Liens arising
under the Leases; (g) Liens that do not, individually or in the aggregate, result in a Material Adverse
Effect; (h) the Liens set forth on Schedule 1.1(c), (i) Liens incurred in the ordinary course of business in
connection with securing the performance of bids, tenders, public utilities or private utilities, leases and
contracts in the ordinary course of business, statutory obligations, surety or appeal bonds, performance
bonds and other obligations of a like nature, and obligations in respect of letters of credit or bank
guaranties that have been posted to support payment of the liens described in this clause (i), (j) Liens on
cash collateral (y) deposited with issuers of performance or surety bonds or performance and completion
guarantees or similar instruments or issuers of letters of credit issued to an issuer of performance or
surety bonds or performance and completion guarantees or similar instruments, in each case issued or
created in the ordinary course of business or (z) arising in connection with letters of credit issued in the
ordinary course of business, and (k) other Liens arising in the ordinary course of business and not
incurred in connection with the borrowing of money.

                “Person” means any individual, corporation (including any non-profit corporation),
partnership, limited liability company, joint venture, unincorporated organization, estate, trust,
association, organization or other legal entity or group (as defined in section 13(d)(3) of the Exchange
Act) or Governmental Authority.



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                “Petition Date” means November 11, 2024.

                 “Plan” and “Plans” means employee benefit, welfare, supplemental unemployment
benefit, employment, offer letter, individual consulting, change in control, retention, severance pay,
bonus, pension, profit sharing, retirement, deferred compensation, incentive compensation, stock
compensation, stock option, stock appreciation, phantom stock option, other equity or equity-based
compensation, vacation, sick leave, death benefit, health or other medical, dental, life, disability, or other
insurance, Code section 125 “cafeteria” or “flexible” benefit, employee loan, educational assistance,
fringe benefit, or other similar plan, program, agreement, or arrangement, whether written or oral,
including any (i) “employee benefit plan” within section 3(3) of ERISA or (ii) other employee benefit
plans, programs, agreements or arrangements, whether or not subject to ERISA, sponsored, maintained,
contributed to or required to be contributed to, or entered into, by the Sellers or the Acquired Companies,
or pursuant to which the Sellers or the Acquired Companies have any Liability, in each case, for the
benefit of their current or former officers, directors, employees, individual consultants their dependents
or beneficiaries, other than plans established pursuant to statute

                “Post-Closing Tax Period” has the meaning set forth in Section 8.1(b).

                “Pre-Closing Tax Period” has the meaning set forth in Section 8.1(b).

                “Pre-Paid Expenses” means all deposits (including customer deposits and security
deposits (whether maintained in escrow or otherwise) for rent, electricity, telephone or otherwise),
advances, pre-paid or deferred charges and expenses, prepayments, rights under warranties or guarantees,
vendor rebates and other refunds of every kind and nature (whether or not known or unknown or
contingent or non-contingent) that relate primarily to the RS Business, except professional fee retainers.

                “Previously Omitted Contract” has the meaning set forth in Section 2.5(b)(i).

                 “Previously Omitted Contract Designation” has the meaning set forth in
Section 2.5(b)(i).

                “Previously Omitted Contract Notice” has the meaning set forth in Section 2.5(b)(ii).

                “Protection Event” has the meaning set forth in Section 11.2(b).

                “Purchase Price” has the meaning set forth in Section 3.1.

                “Qualified Bid” has the meaning set forth in the Bidding Procedures.

                “Real Property Leases” has the meaning set forth in Section 5.12(b).

                “Release” means (a) any releasing, spilling, discharging, dumping, disposing, leaking,
pumping, injecting, pouring, depositing, dispersing, emitting, emptying, escaping, leaching or migrating
into the indoor or outdoor environment, including ambient air, soil, surface water, groundwater and
surface or subsurface strata, and (b) the abandonment or discarding of barrels, tanks, containers or
receptacles, whether or not sealed or closed, containing, or which formerly contained, Hazardous
Substances.

               “Representative” means, with respect to a particular Person, any director, manager,
officer, employee, agent, consultant, advisor or other representative of such Person, including legal
counsel, accountants and financial advisors.


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               “Restructuring Support Agreement” means that certain Restructuring Support
Agreement, dated as of the Original Execution Date, by and among the Company and the other parties
thereto.

                 “RS Business” means, collectively, the business of (i) providing inpatient behavioral
health services outside of correctional facilities, including inpatient and residential treatment, partial
hospitalization and outpatient programs, and community-based services on behalf of Governmental
Authorities, and (ii) providing behavioral health and/or substance use disorder services inside
correctional facilities to the extent such services are paid by or on behalf of local or state mental health
departments and result solely from an involuntary treatment order related to a behavioral health and/or
substance use disorder diagnosis.

               “Sale Hearing” means the hearing to consider the motion or motions of the Sellers filed
with the Bankruptcy Court seeking approval and entry of the Sale Order and the relief requested therein.

                “Sale Order” means an Order of the Bankruptcy Court, substantially in the form agreed
to by the Sellers and Buyer, or otherwise reasonably acceptable to Buyer, pursuant to, inter alia,
Sectionssections 105, 363 and 365 of the Bankruptcy Code authorizing and approving, inter alia, the
sale of the Acquired Assets to Buyer and/or the Buyer Designees, as applicable, on the terms and
conditions set forth herein, free and clear of all Liens (other than Permitted Liens), and the assumption
and assignment of the Assumed Contracts to Buyer and/or the Buyer Designees, as applicable, and
containing findings of fact and conclusions of law that Buyer and/or the Buyer Designees, as applicable,
has acted in “good faith” within the meaning of Sectionsection 363(m) of the Bankruptcy Code.

                “Sales Taxes” has the meaning set forth in Section 8.1(a).

                “Sanctioned Country” means any country or region (i) that is the subject or target of
comprehensive Sanctions (including Cuba, Iran, North Korea, Syria, Crimea, the so-called Donetsk
People’s Republic and so-called Luhansk People’s Republic, Kherson, Zaporizhzhia and other regions of
Ukraine that are the subject or target of comprehensive Sanctions); (ii) the government of which is the
subject or target of Sanctions (including Venezuela) or (iii) that is otherwise the subject or target of
broad Sanctions (including Russia, Belarus and Afghanistan).

                  “Sanctioned Person” means any Person that is (a) the target of Sanctions, including any
Person(s) listed on any Sanctions list, including OFAC’s Specially Designated Nationals and Blocked
Persons List and Sectoral Sanctions Identifications List, the EU Consolidated List and HM Treasury’s
Consolidated List of Persons Subject to Financial Sanctions; (b) located, organized, resident or operating
in or incorporated under the laws of any Sanctioned Country; or (c) owned or controlled by or acting on
behalf or at the direction of (as such terms are defined and interpreted by the relevant Sanctions) any
Person(s) that are described in clause(s) (a) and/or (b) such that such Person is subject to the same
restrictions or prohibitions as the Person(s) described in clause(s) (a), and/or (b).

               “Sanctions” means any economic, financial or trade sanctions or trade embargoes
administered or enforced from time to time by (a) the United States Government (including those
administered by OFAC, the U.S. Department of State and the U.S. Department of Commerce), (b) the
United Nations Security Council, (c) the European Union and each member state thereof (including those
administered by the EU Council or EU Commission, when acting in furtherance of the EU’s Common
and Foreign Security Policy), and (d) the United Kingdom (including those administered by His
Majesty’s Treasury and the Department of Business, Innovation and Skills).




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                    “Securities Act” means the Securities Act of 1933, as amended.

               “Seller Cure Cap” means an aggregate amount equal to (a) $[10,000,000]1 less (b)
anythe sum of all amounts paid by, or on behalf of, the Sellers on or after the Original Execution Date in
connection with the payment of any pre-petition trade payables;, including any payments made in
connection with the Critical Vendor Order.

                    “Seller 401(k) Plan” has the meaning set forth in Section 8.5(e).

                    “Sellers” has the meaning set forth in the introductory paragraph.

                “Settlement Agreement” means that certain Settlement Agreement dated as of July 1,
2024 by and among Alpine CA Behavioral Health HoldCo, LLC, Wellpath Holdings, Inc., Mdoyle
Holdings, Inc. (f/k/a Alpine Special Treatment Center, Inc.), Mike Doyle, Victoria Klein and Kristen
Allred, dated as of July 1, 2024.

               “Shared Contracts” means those Contracts that relate to both the RS Business and the
Corrections Business set forth on Schedule 7.10.

                    “Sharing Period” has the meaning set forth in Section 7.10(b).

                    “Straddle Period” has the meaning set forth in Section 8.1(b).

                “Subsidiary” means any entity with respect to which a specified Person (or a Subsidiary
thereof) has the power, through the ownership of securities or otherwise, to elect a majority of the
managers, directors or similar managing body.

                    “Successful Bidder” has the meaning set forth in the Bidding Procedures.

                 “Tax” or “Taxes” (and with correlative meaning, “Taxable” and “Taxing”) means (i)
any U.S. federal, state, provincial, local, non-U.S. or other income, alternative, minimum, add-on
minimum, accumulated earnings, personal holding company, franchise, capital stock, net worth, capital,
profits, intangibles, windfall profits, gross receipts, value added, sales, use, goods and services, excise,
customs duties, transfer, conveyance, mortgage, registration, stamp, documentary, recording, premium,
severance, natural resources, real property, personal property, ad valorem, intangibles, rent, occupancy,
license, occupational, employment, unemployment insurance, social security, disability, workers’
compensation, payroll, health care, withholding, estimated or other similar tax, duty, levy or other
governmental charge or assessment or deficiency thereof (including all interest and penalties thereon and
additions thereto, whether disputed or not) and (ii) any liability for any items described in clause (i)
payable by reason of contract, transferee liability or operation of law (including Treasury Regulations
Section 1.1502-6) or otherwise.

                 “Tax Return” means any return, declaration, report, claim for refund, information return
or other document (including any related or supporting estimates, elections, schedules, statements, or
information) filed or required to be filed in connection with the determination, assessment or collection
of any Tax or the administration of any laws, regulations or administrative requirements relating to any



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    Seller Cure Cost Cap subject to reduction pending confirmation of anticipated Cure Costs with respect to
       transferred contracts.


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Tax.

                “Taxing Authority” means the Internal Revenue Service and any other Governmental
Authority that has the right to impose Taxes on the Sellers and the Acquired Companies.

                “Transaction Documents” means this Agreement, the Assumption Agreement, the Bills
of Sale, the Intellectual Property Assignment Agreement, the Restructuring Support Agreement, the
Transition Services Agreement and any other agreements, instruments or documents entered into at the
Closing pursuant to this Agreement.

                “Transfer Taxes” has the meaning set forth in Section 8.1(a).

                “Transferred Permits” has the meaning set forth in Section 2.1(on).

                “Transition Services Agreement” means that certain transition services agreement to be
entered into between the Sellers and the Buyer, in substantially the form attached hereto as Exhibit FD.

              “Unified Program Facility Permit” means that certain Unified Program Facility Permit,
issued to Alpine Special Treatment Center Inc. by the County of San Diego Department of
Environmental Health and Quality.

                “WARN Act” has the meaning set forth in Section 5.14(g).

                1.2     Other Definitions and Interpretive Matters.

                         (a)      Unless otherwise expressly provided, for purposes of this Agreement,
the following rules of interpretation shall apply:

                Calculation of Time Period. When calculating the period of time before which, within
which or following which any act is to be done or step taken pursuant to this Agreement, the date that is
the reference date in calculating such period shall be excluded. If the last day of such period is a day
other than a Business Day, the period in question shall end on the next succeeding Business Day.

                Day. Any reference in this Agreement to days (but not Business Days) means calendar
days.

                Dollars. Any reference in this Agreement to $ means United States dollars.

                  Exhibits/Schedules. All Exhibits and Schedules attached or annexed hereto or referred to
herein are hereby incorporated in and made a part of this Agreement as if set forth in full herein. Any
capitalized terms used in any Schedule or Exhibit but not otherwise defined therein shall be defined as
set forth in this Agreement.

              Gender and Number. Any reference in this Agreement to gender includes all genders,
and words imparting the singular number only include the plural and vice versa.

                 Headings. The provision of a table of contents, the division of this Agreement into
Articles, Sections and other subdivisions and the insertion of headings are for convenience of reference
only and shall not affect or be utilized in the construction or interpretation of this Agreement. All
references in this Agreement to any “Section” or “Article” are to the corresponding Section or Article of
this Agreement unless otherwise specified.


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               Herein. Words such as “herein”, “hereof” and “hereunder” refer to this Agreement as a
whole and not merely to a subdivision in which such words appear, unless the context otherwise requires.

                 Including. The word “including” or any variation thereof means “including, without
limitation,” and shall not be construed to limit any general statement that it follows to the specific or
similar items or matters immediately following it.

                Or. The word “or” shall be disjunctive but not exclusive.

                         (b)     No Strict Construction. Buyer, on the one hand, and the Sellers, on the
other hand, participated jointly in the negotiation and drafting of this Agreement, and, in the event an
ambiguity or question of intent or interpretation arises, this Agreement shall be construed as jointly
drafted by Buyer, on the one hand, and the Sellers, on the other hand, and no presumption or burden of
proof shall arise favoring or disfavoring any Party by virtue of the authorship of any provision of this
Agreement. Without limiting the foregoing, no rule of strict construction construing ambiguities against
the draftsperson shall be applied against any Person with respect to this Agreement.

                                               ARTICLE 2

                                           PURCHASE AND SALE

                  2.1     Purchase and Sale. Subject to the entry of the Sale Order and upon the terms and
subject to the conditions of this Agreement, on the Closing Date, the Sellers shall unconditionally sell,
transfer, assign, convey and deliver to Buyer and/or one or more other Persons designated by Buyer
(each, a “Buyer Designee”), and Buyer shall purchase, acquire and accept from the Sellers, free and clear
of any and all Liens (other than Permitted Liens), all of the Sellers’ direct or indirect right, title and
interest in, to or under the RS Business, including all of (i) all record and beneficial ownership of the
Equity Interests owned by the Sellers (and all rights related thereto of the Sellers) in each Acquired
Company (collectively, the “Acquired Interests”) and (ii) all of the Sellers’ properties, rights, Claims and
assets (other than the Excluded Assets) of every kind and description (wherever situated or located, real,
personal or mixed, tangible or intangible, whether identifiable or contingent, owned, leased or licensed)
primarily used, held for use in, or useful in, or intended to be primarily used in, the RS Business, whether
or not reflected on the books and records of the Sellers, as the same shall exist on the Closing Date
(collectively, the “Acquired Assets”). Without limiting the generality of the prior sentence,Seller
Assets” and, together with the Acquired Interests, the “Acquired Assets”) and which are set forth with
reasonable specificity on Schedule 2.1 in a schedule in the applicable asset category identified in clauses
(a) through (o); provided that the Acquired Assets shall include (except where so noted in the
following list or in any definition used in the following list) all of Sellers’ direct or indirect right,
title and interest in, to and under the following (solely to the extent that such properties, rights,
Claims and assetsassets having a value, individually or in the aggregate, of less than $[300,000], which
primarily relate to the RS Business): and are not otherwise material or reasonably expected to be
material following the Closing to the Corrections Business notwithstanding any failure to expressly
identify such assets on Schedule 2.1; provided, further, that (I) no express disclosure shall be required for
the Acquired Assets contemplated pursuant to clauses (g), (l) and (q) and (II) all assets of the nature
contemplated therein shall be Acquired Assets:

                         (a)     all Accounts Receivable;

                         (b)     all Pre-Paid Expenses;


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                          (c)      all cash and cash equivalents in an amount not to exceed the Cash Cap,
including checks, commercial paper, treasury bills, certificates of deposit, bank accounts and other bank
deposits, instruments and investments of the Sellers primarily involving or primarily related to the RS
Business, excluding prepaid deposits related to professional fee retainers; provided, however, the Parties
acknowledge and agree that the Sellers shall use reasonable best efforts to have an amount of cash and
cash equivalents in an amount equal to the Cash Cap as of the Closing; provided, further, that the use of
“reasonable best efforts” as required pursuant to this Section 2.1(c) shall not require any Seller or any
Affiliate thereof to contribute, deposit, transfer or otherwise convey to the Buyer any cash or cash
equivalents of or resulting from revenues generated by the Corrections Business; provided, further, that
this Section 2.1(c) is subject in all respects to Section 2.8;

                        (d)     all Intellectual Property owned by the Sellers set forth on Schedule
2.1(d);

                         (e)      all Equipment, whether owned or leased (and, to the extent leased, any
Contract or rights related thereto if such Contract is an Assumed Contract);

                       (f) all record and beneficial ownership in Equity Interests owned by the
Sellers (and all rights related thereto of the Sellers) in each Acquired Company; provided,
however, that Buyer may, in its sole and absolute discretion, amend or revise Schedule 2.1(f)(i)
at any time and from time to time prior to the date that is two (2) Business Days prior to the
Closing Date, in order to add any one or more of the direct or indirect Subsidiaries of the Sellers
set forth on Schedule 2.1(f)(ii) (and such added Subsidiary shall be automatically included as an
Acquired Company for purposes of this Agreement), or remove any direct or indirect Subsidiary
of the Sellers from such Schedule 2.1(f)(i) (and such removed Subsidiary shall be automatically
deemed an Excluded Company for purposes of this Agreement);

                          (f)    (g) all inventory and products of any kind or nature, primarily involving
or primarily related to the RS Business and maintained, held or stored by or for the Sellers on the Closing
Date, whether or not prepaid, and wherever located, held or owned, and any prepaid deposits for any of
the same (“Inventory”);

                          (g)     (h) to the extent permitted by Legal Requirements, all Documents and
other books and records (including financial and accounting files (but excluding the general corporate
files and records of the Sellers, or their Affiliates (other than the Acquired Companies), insofar as they
primarily involve or primarily relate to the RS Business)), and correspondence, and all customer sales,
marketing, advertising, packaging and promotional materials, files, data, business software (whether
written, recorded or stored on disk, film, tape or other media, and including all computerized data),
drawings, other technical information and data, vendor lists, supplier lists, and all other business and
other records solely to the extent primarily related to the RS Business;

                         (h)      (i) all Assumed Contracts, and, with respect to any Plan that is an
Assumed Contract and not an Acquired Company Plan, any and all assets, trust agreements, insurance
policies, administrative services agreements, and other contracts, files, and records in respect thereof;

                         (i)    (j) all rights with respect to any Leased Real Property under any Lease
that is an Assumed Contract (and any agreement and rights related thereto or under the applicable Lease
to the extent that such agreement or Lease is an Assumed Contract) together with all interests in and to
all Improvements located thereon or attached thereto, and other appurtenances thereto, and rights in

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respect thereof including all Other Rights and Interests in respect thereof;

                         (j)      (k) all security deposits with respect to any Lease that is an Assumed
Contract;

                          (k)      (l) all rights subject to compliance with Section 2.8, all rights of
recovery in respect of eligible claims arising from or relating to the period prior to the Closing that are
solely related to the RS Business (or if partially related to the RS Business and partially related to the
Corrections Business, in respect of such partial portion of the RS Business) under or arising out of all
third-party insurance policies related to the RS Business (other than director and officer insurance
policies), including third-party property and casualty insurance proceeds and other insurance proceeds
(solely for the sake of clarity, this subsection (n) shall not include any self-insured policies of the Sellers
or any of their Affiliates);

                        (l)     (m) all goodwill and customer referral relationships, other intangible
property and all privileges, set-offs, indemnification rights, causesCauses of actionAction, actions,
Claims and demands and rights of any kind as against others (whether by contract or otherwise)
exclusively involving or exclusively relating to, arising from or associated with any of the Acquired
Assets, the Assumed Liabilities and/or the RS Business;

                         (m)      (n) all Acquired Avoidance Actions;

                        (n)     (o) all Permits that primarily involve or primarily relate to the RS
Business, to the extent transferable by their terms and in accordance with applicable Law, including
those designated as “Transferred Permits” on Schedule 2.1(on) (the “Transferred Permits”);

                         (o)       (p) all Causes of Actions of the Sellers of any kind primarily relating to
the RS Business against any Buyer Employee (excluding the proceeds of any insurance policies held by
the Sellers or any of their Affiliates related to any such Causes of Action) arising at any time prior to the
Closing, which such Causes of Actions shall be, and effective immediately upon Closing hereby are,
waived and released in full by Buyer or Buyer Designee immediately upon Closing; provided, however,
that all Causes of Action that may be asserted against any insiders of the Sellers, as that term is defined
under section 101(31) of the Bankruptcy Code (excluding, for the avoidance of doubt, any Buyer
Employees), or against any affiliates, as that term is defined under section 101(2) of the Bankruptcy
Code, are specifically excluded from the Acquired Assets, shall not be transferred or assigned to Buyer,
and shall remain property of the Sellers’ bankruptcy estates; provided further, that all Causes of Action
constituting counterclaims or similar claims in respect of any Liability that is an Excluded Liability
arising from or relating to any Assumed Contract shall not constitute an Acquired Asset and shall for all
purposes be an Excluded Asset pursuant to Section 2.2(e);

                         (p)     (q) all claims, interests, rights, rebates, refunds, abatements, remedies,
recoveries and benefits of the Sellers, and all claims and causesCauses of actionAction (other than with
respect to Taxes), arising under or primarily relating to any of the Acquired Assets, the Assumed
Liabilities or the RS Business, including those arising out of Assumed Contracts, express or implied
warranties, representations, licenses and guarantees from suppliers, manufacturers, contractors or others
solely to the extent relating to the operation of the RS Business or affecting the Equipment,
Improvements, Inventory or other tangible Acquired Assets or ordered by the Sellers prior to the Closing
Date (and in any case, any component thereof);

                         (q)      (r) all rights, but not obligations, under non-disclosure or confidentiality,

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non-compete, or non-solicitation agreements with former employees and agents of the Sellers or with
third parties primarily with respect to the RS Business (including any non-disclosure or confidentiality,
non-compete, or non-solicitation agreements entered into in connection with or in contemplation of the
Auction);

                          (r)    (s) all telephone, telex and telephone facsimile numbers and other
directory listings; and

                        (s)     (t) all assets, if any, listed on Schedule 2.1(ts) (regardless of whether
such assets are covered by any of the foregoing).

Notwithstanding anything herein to the contrary, the Parties covenant and agree that: (a) between the
Original Execution Date and the Closing, (i) neither the Company nor any of its Affiliates (other than any
Acquired Company, but excluding for such purposes, an Additional Acquired Company) shall transfer,
assign, convey or contribute (nor have transferred, assigned, conveyed or contributed) any asset to any
Acquired Company that does not solely relate to the RS Business and (ii) no Acquired Company
(including any potential Additional Acquired Company) shall transfer or assign, nor shall the Company
or any of its Affiliates assume, a Liability of any Acquired Company (or any potential Additional
Acquired Company), and (b) no asset that is material (or reasonably expected to be material following
the Closing) to the Corrections Business shall be transferred pursuant to this Agreement or constitute an
Acquired Asset.

                  2.2    Excluded Assets. Notwithstanding anything to the contrary in this Agreement
(including Section 2.1), nothing herein shall be deemed to sell, transfer, assign, convey or deliver any of
the Excluded Assets to Buyer or any of the Buyer Designees, and the Sellers shall retain all right, title
and interest to, in and under, and all Liabilities with respect to, the Excluded Assets. For all purposes of
and under this Agreement, the term “Excluded Assets” shall consist of only (i) all of the Sellers’
properties, rights, Claims and assets of every kind and description (wherever situated or located, real,
personal or mixed, tangible or intangible, whether identifiable or contingent, owned, leased or licensed)
that are not primarily used, held for use in, or useful in, or intended to be primarily used in, the RS
Business, and (ii) without limitation of clause (i), the following items, assets and properties:

                          (a)     subject to Section 2.1(hg), the limited liability company, partnership and
corporate books and records of internal limited liability company, partnership and corporate proceedings,
minute books, organizational or governing documents, stock ledgers, Tax records, work papers and other
records of the Sellers as they pertain to ownership, organization, qualification to do business or existence
of the Sellers; provided, however, that, to the extent related to the RS Business, copies of the foregoing
items (including copies of Tax records and work papers of the Sellers) shall be made available by the
Sellers to Buyer at Buyer’s reasonable request, provided, however, that with respect to Tax Returns of
the Seller, at the reasonable request of Buyer, the Seller shall make available to Buyer all information
contained in its Tax Returns relating to the Tax attributes or otherwise to the Tax matters of the RS
Business or the Acquired Assets for periods (or portions thereof) commencing after the Closing Date or
of the Acquired Companies;

                          (b)    any Contract that is not an Assumed Contract;

                          (c)    any Excluded Company (including all record and beneficial ownership
of the Equity Interests of any Excluded Company and all assets of any Excluded Company);




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                        (d) all assets not primarily used, held for use in, or useful in, or not
intended to be primarily used in the RS Business, including those primarily used, held for use in,
or useful in, or intended to be used in, the Corrections Business;

                           (d)    (e) all current and prior director and officer insurance policies of the
Sellers and all rights of any nature with respect thereto, including all insurance recoveries thereunder and
rights to assert claims with respect to any such insurance recoveries;

                       (e)     (f) all Causes of Action, including any proceeds thereof, other than any
suchthe Causes of Action that relate to, or constitute a part of, the Acquired Assets (including the
Acquired Assets described in Section 2.1(no)) and the Acquired Avoidance Actions;

                        (f)      (g) all rights under or arising out of all (i) self-insurance policies of the
Sellers or any of their Affiliates primarily related to the RS Business or otherwise and (ii) third-party
insurance policies related to the Corrections Business, including third party property and casualty
insurance proceeds and other insurance proceeds;

                         (g)   (h) any employment-related or compensation-related Contracts
(including the Non-Acquired Company Plans not otherwise assumed pursuant to Section 2.1(ih)),
collective bargaining agreements, and books and records, in each case relating to employees who are not
directly employed by an Acquired Company as of the Closing and any Contracts listed on Schedule
2.2(hg) (including any personnel and employment records for such employees and former employees of
the Sellers or the Acquired Companies);

                          (h)     (i) the general corporate files and records of the Sellers, insofar as they
relate to the organization, existence or capitalization of the applicable Seller, as well as any other records
or materials relating to the Sellers generally and not primarily involving or primarily related to the
Acquired Assets or the operations of the RS Business; provided, that copies of such files and records
shall be made available to Buyer upon reasonable request to the extent permitted by applicable law and
for purposes primarily related to the RS Business;

                         (i)      (j) all insurance policies of the Sellers;

                           (j)     (k) documents (x) that the Sellers are required by Legal Requirements to
retain, (y) that if transferred would violate any applicable Legal Requirements (including with respect to
privacy) or (z) that are subject to any attorney-client, work product or similar privilege with respect to
work performed in anticipation of or in connection with the preparation or administration of the
Bankruptcy Cases, this Agreement or the transactions contemplated by this Agreement;

                     (l) all Causes of Action, including any proceeds thereof, other than any
such Causes of Action that relate to, or constitute a part of, the Acquired Assets (including the
Acquired Avoidance Actions described in Section 2.1(n));

                         (k)    (m) all credits, deposits, prepaid amounts and other rights to refunds of
(i) Taxes of the RS Business paid by or with respect to the Sellers which refunds are attributable to
Pre-Closing Tax Periods, (ii) Taxes that are attributable to the Corrections Business and (iii) Taxes that
are Excluded Liabilities;

                         (l)      (n) all cash and cash equivalents in excess of the Cash Cap, including

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checks, commercial paper, treasury bills, certificates of deposit, bank accounts and other bank deposits,
instruments and investments of the Sellers (whether primarily involving or primarily related to the RS
Business or otherwise), excluding prepaid deposits related to professional fee retainers; and

                      (o) any rights, claims or causes of action of Sellers under this Agreement
or any other Transaction Document.

                          (m)     any (i) rights, claims or Causes of Action of the Sellers under this
Agreement or any other Transaction Document and (ii) Causes of Action of a Seller or any Affiliate of a
Seller arising from or relating to any Excluded Liability in respect of any Assumed Contract.

Notwithstanding the acquisition of any Acquired Avoidance Action or Cause of Action pursuant to
Section 2.1 or anything else in this Agreement to the contrary, if an Acquired Avoidance Action or Cause
of Action acquired pursuant to Section 2.1 arises from the same facts or circumstances giving rise to a
Cause of Action by the Company or any of its Affiliates other than the Acquired Companies (a “Parallel
Cause of Action”), including on the basis that prior to the Closing the Acquired Companies and the
Company and its other Subsidiaries constituted as single enterprise, nothing in this Agreement shall be
construed to limit or restrict the right of the Company or such of its Affiliates to pursue any Parallel
Cause of Action and Buyer shall not (and shall cause its Affiliates, including the Acquired Companies
following the Closing to not) take or omit to take any action that would interfere or preclude such pursuit
of a Parallel Cause of Action. If any Cause of Action relates partially to the RS Business (even if
primarily related to the RS Business) and partially to the Corrections Business, the portion of such Cause
of Action allocable to the Corrections Business shall constitute an Excluded Asset.

                 2.3      Assumed Liabilities. Subject to entry of the Sale Order, upon the terms and
subject to the conditions of this Agreement, on the Closing Date, Buyer or Buyer Designee shall,
effective at the time of the Closing, assume and agree to discharge and perform when due, only the
following Liabilities of the Sellers (the “Assumed Liabilities”), and no other Liabilities:

                          (a)    all Liabilities under the Assumed Contracts that are required to be
performed from and after the Closing Date (including sponsorship of any Plan that is an Assumed
Contract and all Liabilities under or related thereto), solely to the extent they arise or relate to periods of
time from and after the Closing Date; provided, however, that Buyer shall assume the obligations to pay
all (i) outstanding trade payables in accordance with Section 2.3(ba) and (ii) Cure Costs in excess of the
Seller Cure Cap.;

                       (b)      trade payables related to the Acquired Assets incurred in the ordinary
course of the RS Business, as agreed in good faith by the Sellers and Buyer prior to the Closing;

                        (c)     Liabilities arising out of operation of the Acquired Assets for periods on
or following the Closing Date; and

                        (d)      all Liabilities with respect to Taxes imposed on the RS Business or the
Acquired Assets that are attributable to any Post-Closing Tax Period.;

                        (e)     subject to Section 7.10 hereof, the Buyer Portion of all Liabilities under
any Shared Contract (including the Buyer Portion of any Cure Costs with respect to a Shared Contract,
none of which portion shall be borne by the Sellers); and

                       (f)     all Liabilities of the Sellers pursuant to the Settlement Agreement,
including accrued and outstanding payments thereunder (and, for the avoidance of doubt, all Liabilities

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for any remaining deferred purchase price, earnout or any other payment obligation under the Alpine
Purchase Agreement, if any).

The assumption by Buyer or any of its applicable Buyer Designees of the Assumed Liabilities shall not,
in any way, enlarge the rights of any third parties relating thereto. For the avoidance of doubt, Assumed
Liabilities shall not include any Liability relating to or arising out of any violation of law by, or any
Action against, any Seller or any breach, default or violation by any Seller of or under any Assumed
Contracts, all of which shall constitute Excluded Liabilities.

                  2.4      Excluded Liabilities. Notwithstanding any provision in this Agreement to the
contrary, neither Buyer nor any Buyer Designee shall assume, nor shall Buyer or any of its applicable
Buyer Designees be obligated to assume or be obliged to pay, perform or otherwise discharge, any
Liability of, or Liability against, the Sellers, the Sellers’ Subsidiaries (other than the Acquired
Companies), the RS Business or the Acquired Assets, of any kind or nature, whether absolute, accrued,
contingent or otherwise, whether due or to become due and whether or not assets, and whether or not
known or unknown or currently existing or hereafter arising or matured or unmatured, direct or indirect,
and however arising, other than the Assumed Liabilities, and the Sellers shall be solely and exclusively
liable with respect to all Liabilities of the Sellers, other than the Assumed Liabilities (such Liabilities
other than Assumed Liabilities, collectively, the “Excluded Liabilities”). Without limiting the generality
of the foregoing, the Excluded Liabilities shall include each of the following Liabilities of the Sellers and
the Sellers’ Subsidiaries: (other than the Liabilities of the Acquired Companies, which, solely for the
sake of clarity, (i) shall remain Liabilities of the Acquired Companies following the Closing, (ii) are not
amended, modified, waived, released, or excluded in any way under this Agreement and (iii) shall not be
included in the definition of “Excluded Liabilities”):

                          (a) all Liabilities with respect to the Deferred One Year Cash Payment and
any related Liabilities arising under either the Alpine Purchase Agreement or Settlement Agreement;

                          (b)     all Liabilities with respect to Employees, former employees, or current
or former directors, officers, consultants or contractors (and, in each case, their respective representatives
or beneficiaries) of the Sellers or Acquired Companies for any action or inaction of any of the Sellers
or Acquired Companies occurring prior to or on the Closing Date, including payroll, vacation, sick
leave, unemployment benefits, notice pay, retirement benefits, pension benefits, collective bargaining
agreements, disputes, grievances, arbitrations, claims, employment agreements or arrangements,
severance, WARN Act, retention or termination agreements or arrangements, employee stock option,
equity compensation, equity-based compensation, employee stock purchase, employee benefits, Plans,
compensation arrangements, profit sharing plans, health care and other welfare plans or benefits, or any
other employee plans, agreements, policies, or arrangements or benefits or other compensation of any
kind;

                       (c)     all Liabilities, whether arising before, on or after the Closing Date, with
respect to any employee or former employee of any Seller or Acquired Company who does not become
a Buyer Employee; and

                    (d)     all Liabilities arising out of, relating to or with respect to any
Non-Acquired Company Plan that is not an Assumed Contract.

                2.5      Assignment and Assumption of Contracts.

                         (a)     Assumed and Excluded Contracts.


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                                 (i) Schedule 2.5(a) sets forth a list of all executory Contracts (including
all Leases primarily involving or primarily related to the RS Business) to which one or more of the
Sellers are party and which are to be included in the Acquired Seller Assets (the “Assumed Contracts”)
(subject to the terms of this Section 2.5) and sets forth the Seller entity party to such Assumed Contract
and the Sellers’ good faith estimate of the Cure Costs associated with each Assumed Contract as of the
Original Execution Date. From and after the Original Execution Date but in any event not later than three
(3) Business Days prior to the Closing Date, the Sellers shall make such additions or deletions to
Schedule 2.5(a) as Buyer shall request in writing in Buyer’s reasonable discretion. Automatically upon
the addition of any Contract to Schedule 2.5(a), on or prior to the Determination Date, such Contract
shall be an Assumed Contract for all purposes of this Agreement. SellerThe Sellers shall be responsible
for all Cure Costs with respect to Assumed Contracts; provided, however that the Sellers’ liability for
such Cure Costs shall not exceed the Seller Cure Cap. To the extent that Buyer seeks to assume any
Contract for which the payment of its Cure Costs would (when taken together with all other Cure Costs
for contracts Buyer seeks to assume) exceed the Seller Cure Cap, Buyer and the Seller shall negotiate in
good faith the Cure Costs related to such Contract and determine whether to assume such Contract;
provided, however, that Buyer acknowledges and agrees it shall be responsible for any Cure Costs in
excess of the Seller Cure Cap. Any deleted Contract shall be deemed to no longer be an Assumed
Contract, and for the avoidance of doubt, neither Party shall be responsible for any Cure Costs related
thereto. The Parties acknowledge and agree that there will be no reduction in, or increase to, the Purchase
Price as a result of (x) any change in Cure Costs or (y) any addition or elimination of any Contract as an
Assumed Contract. All Contracts of the Sellers that are not listed on Schedule 2.5(a) shall not be
considered an Assumed Contract or an Acquired Asset and shall be deemed “Excluded Contracts”;
provided, that Buyer has the right at any time before the date that is three (3) Business Days prior to the
Closing Date (such date, the “Determination Date”) to (A) amend Schedule 2.5(a) to designate any other
Contract (including all Leases) which has not been rejected by the Sellers to be an Assumed Contract,
and (B) to remove from Schedule 2.5(a) an Assumed Contract that is subject to a cure dispute with the
counterparty thereto or other dispute with the counterparty thereto as to the assumption or assignment of
such Assumed Contract that has not been resolved to the satisfaction of Buyer (in its sole discretion)
prior to the Determination Date (any such Contract, a “Disputed Contract”).

                                (ii) The Sellers shall take all actions reasonably required to assume and
assign the Assumed Contracts to Buyer or any of its applicable Buyer Designees and Buyer shall take all
actions reasonably required to assume (or to cause its applicable Buyer Designees to assume) the
Assumed Contracts, including taking all actions reasonably required to obtain an Order containing a
finding that the proposed assumption and assignment of the Assumed Contracts to Buyer satisfies all
applicable requirements of Sectionsection 365 of the Bankruptcy Code.

                                 (iii) If prior to the Closing Date there are Contracts or Leases that have
not been designated as an Assumed Contract or an Excluded Contract which are primarily related to the
RS Business, the Sellers shall not assume or reject any such Contract or Lease pursuant to
Sectionsection 365 of the Bankruptcy Code and any order of the Bankruptcy Court, until the earlier of
the date Buyer so directs the Sellers and the Closing Date.

                               (iv) At Closing, (x) the Sellers shall, pursuant to the Sale Order and the
Assumption Agreement, assume and assign to Buyer or the applicable Buyer Designee (the consideration
for which is included in the Purchase Price) each of the Assumed Contracts that is capable of being
assumed and assigned in connection with such assumption and assignment (as agreed to among Buyer
and the Sellers or as determined by the Bankruptcy Court) and (y) Buyer or the applicable Buyer
Designee shall assume each of the Assumed Contracts and perform and discharge the Assumed
Liabilities (if any) under the Assumed Contracts, pursuant to the Assumption Agreement.

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Notwithstanding anything to the herein to the contrary, upon the assignment to and assumption by Buyer
or the applicable Buyer Designee of any Assumed Contract, the Sellers and each other debtor in the
Bankruptcy Cases shall cease to have any liability obligation in respect of such Assumed Contract in
accordance with section 365(k) of the Bankruptcy Code.

                                 (v) No later than threeseven (37) Business Days prior to the Closing
Date, the Sellers shall provide Buyer with a list of all Disputed Contracts and the amount of Cure Costs
that has been proposed by each such non-Seller counterparty for such Disputed Contracts; provided that
the Sellers shall agree to any Cure Costs for any Contract irrevocably designated by Buyer in writing as
an Assumed Contract if instructed to do so by Buyer. If the Sellers, with the consent of Buyer, and the
non-Seller counterparty with respect to any Disputed Contract, are unable to agree on Cure Costs and/or
the assumption and assignment of such Disputed Contract by the date that is within fivethree (53)
Business Days followingprior to the Closing Date, solely upon Buyer’s reasonable written request, the
Sellers shall seek to have the amount of Cure Costs related to such Disputed Contract or the proposed
assumption and assignment of such Disputed Contract determined by the Bankruptcy Court (a “Disputed
Contract Determination”). Upon a Disputed Contract Determination that prohibits assumption and
assignment to Buyer, such Disputed Contract will automatically be an Excluded Contract. If assumption
and assignment to Buyer is not prohibited, then Buyer may elect to re-designate such Assumed Contract
as an Excluded Contract. If such Assumed Contract is not so re-designated, (x) the applicable Sellers
shall promptly take such steps as are reasonably necessary, including, if applicable and reasonably
practicable, promptly on delivery of no less than five (5) Business Days’ notice to the non-Seller
counterparty to such Contract, to cause such Contract to be assumed by the applicable Seller and
assigned to Buyer, including by executing and delivering to Buyer an Assignment and Assumption
Agreement with respect to such Assumed Contract, and (y) (1) for Cure Costs until the Seller Cure Cap
has been met, the Seller shall pay the Cure Costs with respect to such Assumed Contract and (2) for Cure
Costs in excess of the Seller Cure Cap, Buyer shall pay the Cure Costs with respect to such Assumed
Contract, in each case, either (i) concurrently with the Sellers’ assumption and assignment thereof to
Buyer or (ii) as agreed in writing by Buyer and the applicable counterparty to such Assumed Contract,
and execute and deliver to the applicable Sellers an Assignment and Assumption Agreement with respect
to such Assumed Contract.

                                  (vi) For the avoidance of doubt, the Parties acknowledge and agree that
all Contracts to which an Acquired Company is a party shall remain Contracts of such Acquired
Company and shall not be subject to this Section 2.5(a). Such Acquired Company (together with,
following the Closing, the Buyer and its Affiliates) shall be solely responsible for any Cure Costs or
other monetary liabilities associated with such Contracts (including to cure any breaches or deferences
thereunder) and the Sellers and their Affiliates have no liability or obligation in respect of such Cure
Costs or other monetary liabilities following the Closing.

                        (b)     Previously Omitted Contracts.

                                 (i) If prior to or following Closing until the date of confirmation of a
plan of liquidation or any other plan is confirmed in the Bankruptcy Cases, it is discovered that a
Contract should have been listed on Schedule 2.5(a) but was not listed on Schedule 2.5(a) and has not
been rejected by the Sellers (any such Contract, a “Previously Omitted Contract”), the Sellers shall,
immediately following the discovery thereof (but in no event later than three (3) Business Days following
the discovery thereof), notify Buyer in writing of such Previously Omitted Contract and all Cure Costs (if
any) for such Previously Omitted Contract. Buyer shall thereafter deliver written notice to the Sellers, no
later than ten (10) Business Days following notification of such Previously Omitted Contract from the
Sellers, but in any event prior to confirmation of any plan confirmed in the Bankruptcy Cases,
designating such Previously Omitted Contract as “Assumed” or “Rejected” (a “Previously Omitted

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Contract Designation”). A Previously Omitted Contract designated in accordance with this Section
2.5(b)(i) as “Excluded,” or with respect to which Buyer fails to deliver a Previously Omitted Contract
Designation, shall be an Excluded Contract.

                                  (ii) If Buyer designates a Previously Omitted Contract as “Assumed” in
accordance with Section 2.5(b)(i), the Sellers shall serve a notice (the “Previously Omitted Contract
Notice”) on the counterparties to such Previously Omitted Contract notifying such counterparties of the
Cure Costs with respect to such Previously Omitted Contract and the Sellers’ intention to assume and
assign such Previously Omitted Contract in accordance with this Section 2.5. The Previously Omitted
Contract Notice shall provide the counterparties to such Previously Omitted Contract with ten (10)
Business Days to object, in writing to the Sellers and Buyer, to the Cure Costs or the assumption of its
Contract. If the counterparties, the Sellers and Buyer are unable to reach a consensual resolution with
respect to the objection, the Sellers will seek an expedited hearing before Bankruptcy Court to determine
the Cure Costs and approve the assumption. If no objection is served on the Sellers and Buyer, the Sellers
shall obtain an order of the Bankruptcy Court, which may be the Sale Order, fixing the Cure Costs and
approving the assumption of the Previously Omitted Contract.

                          (c)     Non-Assignment of Contracts and Permits. Notwithstanding anything
contained in this Agreement to the contrary, this Agreement shall not constitute an agreement to assign or
transfer any Contract or any Permit, if, notwithstanding the provisions of Sectionssections 363 and 365
of the Bankruptcy Code, an attempt at assignment or transfer thereof, without the consent or approval
required or necessary for such assignment or transfer, would constitute a breach thereof or in any way
adversely affect any of the rights of Buyer, as the assignee or transferee of such Contract or Permit (as
the case may be) thereunder. If, notwithstanding the provisions of Sectionssections 363 and 365 of the
Bankruptcy Code and the reasonable best efforts of the Sellers, such consent or approval is required but
not obtained with respect to an Assumed Contract or a Permit, neither the Sellers nor Buyer shall be in
breach of this Agreement nor shall the Purchase Price be adjusted nor (but subject to the satisfaction of
the conditions set forth in Section 9.4 (unless waived by Buyer in its sole and absolute discretion)) shall
the Closing be delayed in respect of the Assumed Contracts or the Permits; provided, however, if the
Closing occurs, then, with respect to any Assumed Contract or Permit for which consent or approval is
required but not obtained, from and after the Closing, the Sellers shall cooperate, without further
consideration, with Buyer in any reasonable arrangement Buyer may request to provide Buyer with all of
the benefits of, or under, the applicable Assumed Contract or applicable Permit, including enforcement
for the benefit of Buyer of any and all rights of the Sellers against any party to the applicable Assumed
Contract or applicable Permit arising out of the breach or cancellation thereof by such party; provided,
howeverfurther, that, to the extent that any such arrangement has been made to provide Buyer with the
benefits of, or under, the applicable Assumed Contract or applicable Permit, from and after Closing,
Buyer shall be responsible for, and shall promptly pay all payment and other obligations under such
Assumed Contract or Permit (all of which shall constitute, and shall be deemed to be, Assumed
Liabilities hereunder) to the same extent as if such Assumed Contract or Permit had been assigned or
transferred at Closing with respect to Assumed Contracts and Permits, and at such applicable later date
specified in this Section 2.5(c) with respect to any additional Assumed Contracts. Any assignment to
Buyer of any Assumed Contract or Permit that shall, notwithstanding the provisions of
Sectionssections 363 and 365 of the Bankruptcy Code, require the consent or approval of any Person for
such assignment as aforesaid shall be made subject to such consent or approval being obtained.

                2.6     No Excluded Assets or Liabilities of Acquired Companies. For the avoidance of
doubt and notwithstanding anything to the contrary in this Agreement, including Sections 2.1, 2.2, 2.3
and 2.4, no assets of any Acquired Company nor any Liabilities of any Acquired Company (including,
for the avoidance of doubt, any Additional Acquired Company), shall be deemed to be Excluded Assets
or Excluded Liabilities under the terms of this Agreement. The Parties acknowledge and agree that (A)

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no Acquired Company shall hold, as of the Closing, assets that do not relate solely to the RS Business,
(B) except for the disposition of assets to the Seller or any of its designated Affiliates in furtherance of
the preceding clause (A), all assets of an Acquired Company (including, for the avoidance of doubt, any
Additional Acquired Company) shall remain assets of such Acquired Company and such Acquired
Company shall continue to own all right, title and interest in and to such assets following the Closing and
(C) all Liabilities of an Acquired Company (including, for the avoidance of doubt, any Additional
Acquired Company) shall remain Liabilities of such Acquired Company following the Closing and are
not amended, modified, waived, released or excluded in any way under this Agreement. Buyer
acknowledges and agrees that, if Buyer elects to add any Additional Acquired Company, Buyer waives
and releases any rights Buyer may otherwise claim to designate any Liabilities of such Acquired
Company as an Excluded Liability and such Additional Acquired Company shall be subject in all
respects to this Section 2.6.

                 2.7     2.6 Further Assurances.

                        (a)     The Parties acknowledge and agree that prior to the Closing the Sellers
shall cause the Acquired Companies to assign, transfer and convey to the Company or a Subsidiary
thereof that is not an Acquired Company (or a potential Additional Acquired Company) any asset held
thereby that either (i) primarily relates to the Corrections Business, or (ii) is otherwise material or
reasonably expected to be material following the Closing to the Corrections Business. Written notice of
any such assignment, transfer or conveyance shall be provided in accordance with Section 12.4.

                          (b)      . AtFrom and after the Closing, and without further consideration
therefor, the Parties shall execute and deliver such further instruments and certificates as shall be
necessary or desirable (i) to vest, perfect or confirm ownership (of record or otherwise) in Buyer and/or
one or more Buyer Designees, the Sellers’ right, title or interest in, to or under any or all of the Acquired
Assets free and clear of all Liens (other than Permitted Liens), (ii) to confirm assumption by Buyer
and/or one or more Buyer Designees of all obligations related to the Assumed Liabilities, or (iii) to cause
to be assigned, transferred and conveyed for no consideration to the Company (or its designated
Affiliate) any assets held by any Acquired Company or any Additional Acquired Company which (i)
primarily relate to the Corrections Business, or (ii) otherwise are material to the Corrections Business, or
(iv) to otherwise effectuate the purposes and intent of this Agreement and the other Transaction
Documents or for aiding, assisting, collecting and reducing to possession any of the Acquired Assets or
the Assumed Liabilities and exercising rights with respect thereto. Each of the Parties shall take, or cause
to be taken, all actions, do or cause to be done all things as may be reasonably requested by the other
Parties in order to vest, perfect or confirm any and all right, title and interest in, to and under such rights,
properties or assets in Buyer or one of more Buyer Designees or otherwise to carry out this Agreement,
and shall execute and deliver all deeds, bills of sale, instruments of conveyance, powers of attorney,
assignments, assumptions and assurances, and as may be required to consummate the transactions
contemplated by this Agreement.

                          (c)      Corrections TSA. Notwithstanding anything in this Agreement to the
contrary, if following the Closing, the Company or any acquiror of all or a material portion of entities or
assets constituting the Corrections Business (a “Corrections Acquiror” and such a transaction, a
“Corrections Sale”) determines in good faith that any Acquired Asset or any asset, service, function, or
operation of any Acquired Company or the RS Business (including under any Contract thereof) is
reasonably necessary for the conduct of the Corrections Business following the Closing (including
following the consummation of such acquisition by a Corrections Acquiror) (each, a “Corrections
Transition Service”), the Parties shall enter into a transition services agreement (a “Corrections TSA”)
that is substantially similar to the Transition Services Agreement (as modified to reflect the reversing of
parties and such other modifications as are necessary given such context) and is otherwise reasonably

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acceptable to the Company or a Corrections Acquiror, as applicable, for the provision by the Buyer and
the Acquired Companies of such Corrections Transition Service (i) for such period as the Company or
the Corrections Acquiror, as applicable, determines in good faith to be reasonably sufficient for the
Corrections Business (or the applicable portion thereof) to develop its own internal resources and
capacities (or to arrange for its own third-party providers) in respect of such Corrections Transition
Service, and (ii) for no fees. Without limitation of the foregoing, the Buyer shall (and shall cause its
Affiliates, including the Acquired Companies following the Closing) cooperate reasonably and in good
faith with the Sellers and a Corrections Acquiror in connection with a Corrections Acquirors due
diligence of the Corrections Business as concerns the need for any Corrections Transition Service and the
negotiation and finalization of a Corrections TSA prior to the consummation of a Corrections Sale.

                 2.8      Additional Acquired Companies. The Buyer may, in its sole and absolute
discretion, amend or revise Schedule 2.8(a) at any time and from time to time upon written notice to the
Sellers not later than the date that is two (2) Business Days prior to the Closing Date, in order to add to
Schedule 2.8(a) any one or more of the direct or indirect Subsidiaries of the Company set forth on
Schedule 2.8(b) hereto and such added Subsidiary shall be automatically included as an Acquired
Company for purposes of this Agreement (each, an “Additional Acquired Company”); provided,
however, that:

                         (a)     the Buyer may only designate an Additional Acquired Company if all of
the assets of such Additional Acquired Company (if any) which primarily relate to the Corrections
Business or otherwise are or would reasonably be expected to be material to the conduct of the
Corrections Business following the Closing are transferred or assigned at or prior to the Closing to the
Company or any of its direct or indirect Subsidiaries other than any Acquired Company (including an
Additional Acquired Company) and, notwithstanding anything in this Agreement to the contrary, no such
transferred or assigned asset shall constitute an Acquired Asset;

                        (b)     if Correct Care becomes an Additional Acquired Company, then
automatically and without the requirement of any further action by any Party, Wellpath Group Holdings
shall become a Seller hereunder and Correct Care shall cease to be a Seller hereunder;

                       (c)      if Alpine becomes an Additional Acquired Company, then automatically
and without the requirement of any further action by any Party, Wellpath Hospital shall become a Seller
hereunder and Alpine shall cease to be a Seller hereunder;

                       (d)      if Wellpath Hospital becomes an Additional Acquired Company, then
automatically and without the requirement of any further action by any Party, Wellpath Group Holdings
shall become a Seller hereunder, Alpine shall cease to be a Seller hereunder, and Alpine shall also
become an Additional Acquired Company; and

                         (e)      if Wellpath Group Holdings becomes an Additional Acquired Company,
then automatically and without the requirement of any further action by any Party, each of Correct Care
and Alpine shall cease to be Sellers hereunder, each of Correct Care, Alpine and Wellpath Hospital shall
also become Additional Acquired Companies and the Company shall be the sole Seller hereunder (and all
references herein to the Sellers shall be deemed to refer solely to the Company).

                 2.9     Cash Cap. Notwithstanding anything in this Agreement to the contrary, and
without limiting the Sellers’ efforts obligations pursuant to Section 2.1(c), the Parties acknowledge and
agree that the aggregate amount of cash of the RS Business immediately following the Closing shall in no
event exceed the Cash Cap. The Parties shall not be permitted to amend or waive the limitations set forth



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in this Section 2.8 or otherwise amend or increase the Cash Cap absent the prior approval of the
Bankruptcy Court.

                                               ARTICLE 3

                                             PURCHASE PRICE

                3.1     Consideration.

              The aggregate consideration (the “Purchase Price”) for the purchase, sale, assignment
and conveyance of the Sellers’ right, title and interest in, to and under the Acquired Assets shall consist
of:

                         (a)      the full release of the Sellers that are obligors or guarantors under the
DIP Facility of all Liabilities arising under, or otherwise relating to, the DIP Facility, in an aggregate
amount equal to the sum of (I) $375,000,000 under Sectionplus (II) the aggregate amount of
reimbursements received (whether from a Governmental Authority or otherwise) by the Sellers and their
Affiliates (including the Acquired Companies) prior to the Closing in respect of payments made to
critical vendors in accordance with the Critical Vendors Order under section 363(k) of the Bankruptcy
Code (the sum of (I) and (II), the “DIP Release Amount”), as the same may be increased by Buyer at the
direction of the Required Lenders with respect to the DIP Facility; and

                        (b)    the assumption by Buyer or any of its applicable Buyer Designees, as
applicable, of the Assumed Liabilities from the Sellers.

                   3.2    Allocation of Purchase Price. Within sixty (60) days after the Closing Date,
Buyer shall prepare and deliver to the Sellers a statement allocating the sum of the Purchase Price, the
Assumed Liabilities and other relevant items that are treated as purchase price for Tax purposes among
the Acquired Assets in accordance with section 1060 of the Code and the Treasury Regulations
promulgated thereunder (such statement, the “Allocation Statement”). Within thirty (30) calendar days
of delivery of the Allocation Statement, the Seller shall notify Buyer of any proposed changes. The
Parties shall consult with each other and attempt in good faith to resolve any issues arising as a result of
the Allocation Statement. If the Parties cannot agree on the Allocation Statement, the dispute shall be
resolved by a nationally recognized accounting firm mutually acceptable to Buyer and the Sellers (the
“Independent Accounting Firm”). The expenses and fees of the Independent Accounting Firm shall be
borne equally by Buyer and the Sellers. “Final Allocation Statement” shall mean, as the case may be, the
final Allocation Statement agreed to by the Parties or resolved by the Independent Accounting Firm.
Unless otherwise required by law, the IRS or any other Taxing Authority, the allocation of the Purchase
Price pursuant to the Final Allocation Statement shall be final and binding on the Parties, and the Parties
shall file all relevant U.S. federal, state, local and non-U.S. Tax Returns (including IRS Form 8594 and
any supplements to such form) in accordance with the Final Allocation Statement, and shall not take any
position inconsistent therewith. If the IRS or any other taxation authority proposes a different allocation,
the Sellers or Buyer, as the case may be, shall promptly notify the other party of such proposed
allocation. The Sellers or Buyer, as the case may be, shall provide the other party with such information
and shall take such actions (including executing documents and powers of attorney in connection with
such proceedings) as may be reasonably requested by such other party to carry out the purposes of this
Section 3.2. Except as otherwise required by any Legal Requirement or pursuant to a “determination”
under section 1313(a) of the Code (or any comparable provision of United States state, local, or
non-United States law), (i) the transactions contemplated by Article 2 of this Agreement shall be reported
for all Tax purposes in a manner consistent with the terms of this Section 3.2; and (ii) neither Party (nor
any of their Affiliates) will take any position for Tax purposes inconsistent with this Section 3.2 in any

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Tax Return, in any refund claim, in any litigation or otherwise. Notwithstanding the allocation of the
Purchase Price set forth in the Allocation Statement, nothing in the foregoing shall be determinative of
values ascribed to the Acquired Assets or the allocation of the value of the Acquired Assets in any plan
or reorganization or liquidation that may be proposed.

                 3.3     DIP Payoff. Upon the Closing, in accordance with the Final DIP Financing
Order, all DIP Obligations, including the DIP Facility, shall automatically be deemed satisfied in full and
irrevocably and forever released and any Liens or Claims of any kind and nature whatsoever that the DIP
Agent and the DIP Lenders (as defined in the Final DIP Financing Order) may have in or to the DIP
Collateral (as defined in the Final DIP Financing Order) shall be deemed irrevocably and forever
released. The Buyer shall take, and shall cause the DIP Agent and the DIP Lenders to take, all such
action as are necessary to give effect to this Section 3.3 upon the Closing.

                 3.4     Post-Closing Reimbursement Adjustment. Buyer on behalf of itself, its
Affiliates and direct and indirect equityholders (including the Consenting First Lien Lenders and
Consenting Second Lien Lenders) hereby agrees that the aggregate amount of reimbursements received
(whether from a Governmental Authority or otherwise) by [Buyer and its Affiliates (including the
Acquired Companies)] following the Closing in respect of payments made by the Sellers or their
Affiliates (including the Acquired Companies) prior to the Closing to critical vendors in accordance with
the Critical Vendors Order shall reduce on a dollar-for-dollar basis the outstanding Indebtedness of the
Sellers under the [Existing First Lien Credit Agreement and Existing Second Lien Credit Agreement],
with such amounts being applied in the following manner: (i) first, to reduce the principal balance under
the Existing First Lien Credit Agreement, (ii) second, to reduce any accrued and unpaid interest under the
Existing First Lien Credit Agreement, (iii) third, to reduce the principal balance under the Existing
Second Lien Credit Agreement, and (iv) fourth, to reduce the accrued and unpaid interest under the
Existing Second Lien Credit Agreement.

                  3.5     Additional Acquired Companies. The Sellers hereby represent and warrant, and
the Parties acknowledge and agree, that as of the date of this Agreement and as of the Closing: (i) the
sole asset of each potential Additional Acquired Company are the equity interests held thereby in a direct
subsidiary of such entity; and (ii) the only liabilities of such potential additional Acquired Companies are
their liabilities as borrowers [or guarantors] under the First Lien Credit Agreement and Second Lien
Credit Agreement, except, with respect to the Company and Alpine CA Behavioral Health HoldCo, LLC,
who are each liable for the obligations under the Settlement Agreement. Without limitation of the
foregoing, if as of the Closing any Additional Acquired Company has any assets other than as described
in clause (i) of the preceding sentence, the Buyer shall be required to deliver additional consideration
equal to the fair market value of such additional assets as determined by the Bankruptcy Court by either
an increase of the DIP Release Amount or in cash by wire transfer of immediately available funds to an
account specified in writing by the Company. The Parties shall not be permitted to amend, modify or
waive, directly or indirectly, this Section 3.5 without the prior approval of the Bankruptcy Court.


                                               ARTICLE 4

                                        CLOSING AND DELIVERIES

                 4.1     Closing Date. Upon the terms and subject to the conditions hereof, the closing of
the sale of the Acquired Assets and the assumption of the Assumed Liabilities (other than those
pertaining to Previously Omitted Contracts pursuant to Section 2.5(b) and Disputed Contracts pursuant to
Section 2.5(a)(i)) contemplated hereby (the “Closing”) shall take place remotely by electronic mail or
other electronic exchange of documents, among and between the Parties and/or their respective counsel,


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no later than three (3) Business Days following the date on which all the conditions set forth in Article 9
and Article 10 have been satisfied or (if permissible) waived by the Party entitled to waive such condition
(other than the conditions which by their nature are to be satisfied at the Closing, but subject to the
satisfaction or (if permissible) waiver of such conditions), or on such other date and time as the Sellers
and Buyer may mutually agree in writing. The date and time at which the Closing actually occurs is
hereinafter referred to as the “Closing Date”. Upon consummation of the Closing, the purchase and sale
of the Acquired Assets and the assumption of the Assumed Liabilities hereunder, and the Closing, shall
be deemed to have occurred as of 12:01 a.m. (New York time) on the Closing Date.

                  4.2    Buyer’s Deliveries. At the Closing, Buyer shall deliver (or cause one or more of
its Affiliates or Buyer Designees to deliver) to the Sellers:

                        (a)     the Assumption Agreement, duly executed by Buyer or the applicable
Buyer Designee;

                        (b)     the Bills of Sale;

                        (c)    the Intellectual Property Assignment Agreement, duly executed by
Buyer or the applicable Buyer Designee;

                        (d)     the Transition Services Agreement, duly executed by Buyer;

                        (e)     each other Transaction Document to which Buyer is a party, duly
executed by Buyer;

                        (f)     the certificates of Buyer to be received by the Sellers pursuant to
Sections 10.1 and 10.3; and

                       (g)     such other documents as the Sellers may reasonably request that are
customary for a transaction of this nature and necessary to evidence or consummate the transactions
contemplated by this Agreement.

                4.3     Sellers’ Deliveries. At the Closing, the Sellers shall deliver to Buyer:

                         (a)     the Bills of Sale, the Assumption Agreement, the Intellectual Property
Assignment Agreement, the Transition Services Agreement, and each other Transaction Document to
which any Seller is a party, duly executed by the applicable Sellers;

                        (b)     a copy of the Sale Order;

                        (c)     the certificates of the Sellers to be received by Buyer pursuant to
Sections 9.1 and 9.2;

                         (d)      a valid IRS Form W-9 from each Seller or other certification of
non-foreign status for the Sellers in a form and manner which complies with the requirements of Section
1445 of the Code and the Treasury Regulations promulgated thereunder;

                       (e)    a certificate of good standing from each Acquired Company, certified by
the appropriate Governmental Authority in its jurisdiction of incorporation or formation;




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                        (f)     the stock books, stock ledgers, minute books, corporate seals, certificates
of incorporation (or other organizational documents), check books and statutory books of the Acquired
Companies, in each case, to the extent in the possession of the Sellers;

                         (g)     a securities transfer agreement in substantially the form attached hereto
as Exhibit GE in respect of the Equity Interests of the Acquired Companies, duly executed by the
applicable Sellers, together with any required registrations thereof under applicable law; and

                       (h)     such other documents as Buyer may reasonably request that are
customary for a transaction of this nature and necessary to evidence or consummate the transactions
contemplated by this Agreement, including the documents and instruments described in Article 9 of this
Agreement.

                 4.4     Separation. Immediately upon the Closing, (a) the Acquired Companies shall be
automatically and irrevocably separated from the Sellers and the other debtors in the Bankruptcy Cases
and shall cease to be party to any administratively consolidated chapter 11 cases or cases with the Sellers
or such debtors (and, to the extent such separation is not effectuated automatically, Buyer and its
Affiliates (including the Acquired Companies) shall take all such actions as are necessary to effectuate
such separation) and (b) Buyer shall be solely responsible for the further administration and prosecution
of the Acquired Companies’ chapter 11 cases.

                                               ARTICLE 5

                         REPRESENTATIONS AND WARRANTIES OF THE SELLERS

               Except as set forth in the Disclosure Schedule, the Sellers hereby jointly and severally
represent and warrant to Buyer that, as of the date hereofOriginal Execution Date:

                5.1      Status. Each Seller and each Acquired Company is duly organized, validly
existing, and in good standing (to the extent the concept is recognized by the applicable jurisdiction)
under the Legal Requirements of the jurisdiction in which it is organized. Each Acquired Company, each
Seller and the Managed Entity have all requisite corporate or similar organizational power and authority
to own, operate, or lease its properties and assets and to carry on the RS Business as now being
conducted. Each Acquired Company, each Seller and the Managed Entity are legally qualified to
transact business as a foreign corporation in all jurisdictions where the nature of its properties and the
conduct of its business as now conducted require such qualification, except where the failure to be so
qualified would not have a Material Adverse Effect.

                 5.2     Power and Authority. Each Seller and each Acquired Company have all requisite
corporate or similar organizational power and authority to execute and deliver each of the Transaction
Documents to which such Seller or Acquired Company is a party, to perform its obligations hereunder or
thereunder, and to consummate the transactions contemplated hereby and thereby, subject to obtaining
Bankruptcy Court approval pursuant to the Sale Order. All acts or proceedings required to be taken by
the Sellers or the Acquired Companies to authorize the execution and delivery of this Agreement and the
performance of the Seller’s or the Acquired Companies’ obligations hereunder and thereunder have been
properly taken.

              5.3    Enforceability. Each Transaction Document to which a Seller or an Acquired
Company is a party has been duly authorized, executed, and delivered by such Seller or Acquired
Company, and, assuming the due and valid authorization, execution, and delivery of such Transaction


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Document by the other parties thereto, such Transaction Document constitutes the legal, valid, and
binding obligation of such Seller or such Acquired Company, enforceable against it in accordance with
its terms, except as the same may be limited by applicable bankruptcy, insolvency, reorganization,
moratorium, or similar Legal Requirements affecting or relating to creditors’ rights generally and general
equitable principles (the “Bankruptcy and Equity Exceptions”).

                 5.4     Group Companies and Managed Entity; Capitalization.

                          (a)      Section 5.4(a) of the Disclosure Schedule lists (i) each Acquired
Company, (ii) the entire authorized equity interestsEquity Interests of each such Acquired Company,
and (iii) the holders of record of all issued and outstanding shares of such equity interestsEquity
Interests, all of which are owned by the Persons set forth on Section 5.4(a) of the Disclosure Schedule
free and clear of all Liens other than Permitted Liens. No Acquired Company owns, holds, or has the
right to acquire any equity interestEquity Interest in any other Person (other than certain other Acquired
Companies). All of the equity interestsEquity Interests of the Acquired Companies have been duly
authorized and validly issued, are fully paid and non-assessable, and were issued in compliance with all
applicable state and federal securities Legal Requirements. Except as set forth in the Organizational
Documents of the Acquired Companies, there are no outstanding options, warrants, convertible
securities, subscription rights, conversion rights, exchange rights, or other agreements that require any of
the Acquired Companies to issue or sell any equity interestsEquity Interests (or securities convertible
into or exchangeable for equity interests ofEquity Interests of such Acquired Company), and no equity
securities or other Equity Interests of any Acquired Company are reserved for issuance for any purpose.
Neither the Sellers nor any Acquired Company is obligated to redeem or otherwise acquire any
outstanding equity interestsEquity Interests of the Acquired Companies. Upon completion of the
Closing, Buyer will own all right, title, and interest in the equity interestsEquity Interests of the
Acquired Companies.

                         (b)      Section 5.4(b) of the Disclosure Schedule lists (i) the entire authorized
equity interestsEquity Interests of the Managed Entity, and (ii) the holders of record of all issued and
outstanding shares of such equity interestsEquity Interests, all of which are owned by the Persons set
forth on Section 5.4(b) of the Disclosure Schedule free and clear of all Liens other than Permitted Liens.
The Managed Entity does not own, hold, or have the right to acquire any equity interestEquity Interest
in any other Person. All of the equity interestsEquity Interests of the Managed Entity have been duly
authorized and validly issued, are fully paid and non-assessable, and were issued in compliance with all
applicable state and federal securities Legal Requirements.

                5.5      No Violation; Consents and Approvals. Except as set forth on Section 5.5 of the
Disclosure Schedule, the execution and delivery by the Sellers and the Acquired Companies of each of
the Transaction Documents to which a Seller or Acquired Company is a party and the consummation by
it of the transactions contemplated hereby or thereby will not (a) violate any provision of the
Organizational Documents of such Seller or Acquired Company, (b) violate any material Legal
Requirement applicable to, binding upon, or enforceable against such Seller or Acquired Company, (c)
result in any material breach of, or constitute a material default (or an event which would, with the
passage of time or the giving of notice or both, constitute a material default) under, or give rise to a right
of payment under or the right to terminate, any note, bond, mortgage, indenture, deed of trust, contract,
commitment, arrangement, license, agreement, lease or other instrument or obligation to which such
Seller or Acquired Company is a party, or (d) result in the creation or imposition of any Lien upon any of
the material property or material assets of such Seller or Acquired Company. Other than Bankruptcy
Court approval pursuant to the Sale Order, no approval, consent, waiver, authorization, or other order of,
and no declaration, filing, registration, qualification, recording, or other action or filing with, any

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Governmental Authority or any other Person is required to be obtained or made by or on behalf of such
Seller or Acquired Company in connection with the execution, delivery, or performance of the
Transaction Documents to which it is a party in accordance with the terms and conditions thereof, except
where failure to obtain such approval, consent, waiver, authorization, or other order, or to make such
declaration, filing, registration, qualification, recording, or other action, would not be material to such
Seller or Acquired Company.

                 5.6     Financial Statements. Attached as Section 5.6 of the Disclosure Schedule are
copies of (a) the internally prepared unaudited balance sheet of the Sellers and the Acquired Companies
and the related statement of profit and loss as of and for the fiscal year ended December 31, 2023 (the
“Annual Financial Statements”) and (b) the internally prepared unaudited balance sheet of the Sellers
and the Acquired Companies as of May 31, 2024 (such date, the “Interim Balance Sheet Date”, and
such balance sheet, the “Interim Balance Sheet”) and the related statement of profit and loss for the five
(5) months then ended (collectively, with the Interim Balance Sheet, the “Interim Financial
Statements,” and, collectively with the Annual Financial Statements, the “Financial Statements”). The
Financial Statements fairly present, in all material respects, taken as a whole, the financial position of the
Sellers and the Acquired Companies at each of the balance sheet dates and the results of operations for
each of the periods covered thereby, in each case, in accordance with GAAP, except that the Interim
Financial Statements do not reflect year-end adjustments and do not contain footnote disclosures and
other presentation items. Buyer acknowledges that the balance sheets included in the Financial
Statements were created for the purposes of the transactions contemplated by this Agreement and have
not been audited.

               5.7     Absence of Certain Developments. Except as contemplated or permitted by this
Agreement, as set forth on Section 5.7 of the Disclosure Schedule, the DIP Financing Orders or in
connection with matters arising from preparation for the Bankruptcy Cases or as authorized by the
Bankruptcy Court since the Interim Balance Sheet Date:

                       (a)       the RS Business, the Acquired Companies and the Managed Entity have
been conducted in all material respects in the ordinary course of business;

                         (b)     there has not occurred any change or event that has resulted in a Material
Adverse Effect;

                         (c)     the Sellers, the Acquired Companies and the Managed Entity have not
sold, transferred, leased, mortgaged, pledged, or otherwise subjected to any Lien (other than Permitted
Liens) any material portion of the Acquired Assets or the RS Business, taken as a whole;

                        (d)      the Sellers, the Acquired Companies and the Managed Entity have not
entered into any Contract to make an acquisition (whether by merger, acquisition of stock or assets, or
otherwise) of any business or line of business;

                         (e)     the Sellers, the Acquired Companies and the Managed Entity have not
sold, leased, transferred or otherwise disposed of any Acquired Assets, except for sales of Inventory in
the Ordinary Course of Business;

                         (f)     the Sellers, the Acquired Companies and the Managed Entity have not
waived or released any claim or rights included in or related to the Acquired Assets or the RS Business
with a value individually or in the aggregate in excess of $500,000 or revalued any of the Acquired
Assets, except for adjustments to the value of Inventory in the Ordinary Course of Business;



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                         (g)     the Sellers, the Acquired Companies and the Managed Entity have not
entered into any Material Contracts with any third-party related to the Acquired Assets or the RS
Business, other than in the Ordinary Course of Business;

                        (h)    there has not been any change in the Organizational Documents of the
Sellers, the Acquired Companies and the Managed Entity;

                        (i)    the Sellers have not made with respect to the RS Business, the Acquired
Companies and the Managed Entity, and the Acquired Companies and the Managed Entity have not, (i)
made or revoked any material Tax election, (ii) adopted or changed any material Tax accounting method,
(iii) filed an amended Tax Return, (iv) settled or compromised any material Tax audit, (v) entered into
any closing agreement with any Taxing Authority that relates to Taxes or Tax Returns of any Acquired
Company or the Managed Entity, or (vi) extended or waived the statute of limitations applicable to any
Taxes or Tax Returns of the Acquired Companies and the Managed Entity;

                        (j)     there has not been any damage, destruction, or loss (other than ordinary
course repair and maintenance), whether or not covered by insurance, with respect to the property related
to the RS Business and the Acquired Assets of the Sellers, the Acquired Companies and the Managed
Entity having a replacement cost of more than $5,000,000;

                        (k)     Except as set forth on Section 5.7(k) of the Disclosure Schedule, or as
required by Legal Requirement or any Contract or Plan, neither the Sellers, the Acquired Companies nor
the Managed Entity have materially increased the salary payable or to become payable by it to any of
their Employees whose base salary is in excess of $150,000, or materially increased the coverage or
benefits available under any severance pay, termination pay, deferred compensation, bonus, or other
incentive compensation plan or arrangement, except for bonuses payable to certain officers and
Employees of the Sellers or the Acquired Companies in connection with the consummation of the
transactions contemplated by this Agreement;

                     (l)    there has not been any material change by the Sellers, the Acquired
Companies and the Managed Entity in their material accounting or methods, principles or policies;

                         (m)     there has not been an incurrence of any Indebtedness other than pursuant
to the DIP Facility;

                       (n)    none of the Permits held by any Seller, the Acquired Companies or the
Managed Entity have terminated, expired or lapsed; and

                       (o)     none of the Sellers, the Acquired Companies nor the Managed Entity
have committed to do any of the foregoing.

                 5.8       Litigation. Other than the Bankruptcy Cases or as set forth on Section 5.8 of the
Disclosure Schedule, there are no Actions or Orders pending or, to the Knowledge of the Sellers,
expressly threatened in writing against the Sellers or the Acquired Companies or the Managed Entity, at
law or in equity, before or by any Governmental Authority, which would reasonably be expected to be
material to the RS Business, taken as a whole. None of the Sellers, the Acquired Companies nor the
Managed Entity are subject to any outstanding judgment, order or decree of any Governmental Authority
that relates specifically to such Seller, Acquired Company or the Managed Entity.




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                5.9      Environmental Matters. Each Seller, Acquired Company and the Managed Entity
are in material compliance with all Environmental Laws. Each Seller, Acquired Company and the
Managed Entity have obtained and is in material compliance with all Permits that are required pursuant
to Environmental Laws for the occupation of the facilities of the Acquired Companies and the Managed
Entity (each, a “Facility,” and collectively, the “Facilities”) and the operation of the business of the
Seller, the Acquired Companies and the Managed Entity. Since January 1, 2022, none of the Sellers, the
Acquired Companies nor the Managed Entity have received any written notice of a material violation of
Environmental Laws or any material liability arising under Environmental Laws, or any investigation,
remediation, or corrective obligation relating to the Sellers, the Acquired Companies or the Facilities, the
subject of which is unresolved. As of the date hereofOriginal Execution Date, there is no Action or
Order pending against any Seller, Acquired Company or the Managed Entity related to an actual or
alleged material violation of Environmental Laws or a material liability arising under Environmental
Laws. None of the Sellers, the Acquired Companies nor the Managed Entity have treated, stored,
disposed of, arranged for or permitted the disposal of, transported, handled, or released any Hazardous
Substance in a manner that would give rise to material liabilities pursuant to any Environmental Law.

                 5.10     Title to Properties . Immediately prior to Closing, the Sellers and the Acquired
Companies will have, and, upon delivery to Buyer on the Closing Date of the instruments of transfer
contemplated by Section 4.3, and upon entry of the Sale Order, the Sellers will thereby transfer to Buyer
or the applicable Buyer Designee, and Buyer or the applicable Buyer Designee will (subject to Section
2.5(c)) be vested, to the maximum extent permitted by sections 105, 363 and 365 of the Bankruptcy
Code, with good, valid, exclusive and marketable title to, or, in the case of property leased or licensed by
the Sellers, a valid, binding and enforceable leasehold or licensed interest in, all of the Acquired Assets,
free and clear of all Liens, except (a) for the Assumed Liabilities and (b) for Permitted Liens. The
Acquired Assets consisting of personal property are in good operating condition and repair (ordinary
wear and tear excepted) and are suitable for the purposes for which they are presently used. No Acquired
Asset is subject to any agreement, written or oral, for its sale or use by any Person other than the Sellers.

                 5.11     Sufficiency of Assets. (a) Taking into account the services proposed to be
provided by the Sellers pursuant to the Transition Services Agreement schedules delivered to Buyer prior
to the date hereofOriginal Execution Date (including those that Buyer elects not to include in the
Transition Services Agreement) and the Shared Contracts, the Acquired Assets will, as of the Closing
Date, constitute all of the assets, properties and rights necessary for Buyer to conduct the RS Business in
substantially the same manner operated by the Sellers and the Acquired Companies during the twelve
(12) month period immediately prior to the Original Execution Date and (b) none of the Acquired Assets
are owned by any Person other than the Sellers or the Acquired Companies.

                5.12     Leased Real Property.

                         (a)     Section 5.12 of the Disclosure Schedule sets forth a summary of all
leases for leased assets that have annual rental payments in excess of $500,000 and all real property
leases, regardless of annual rental payment amount, describing the name of the lessor and the address for
the premises leased under each applicable real property lease (the “Leased Real Property”).

                        (b)      All of the Sellers and the Acquired Companies’ real property leases
related to the RS Business (the “Real Property Leases”) are in full force and effect, and valid and
enforceable in accordance with their respective terms. No Seller or Acquired Company has received any
written notice of any event of default or event which constitutes (with notice or lapse of time or both) a
material default by such Seller or Acquired Company under any Real Property Lease and which has not
been cured. No Seller or Acquired Company has received written notice that the landlord with respect to

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any Real Property Leases would refuse to renew such Real Property Lease upon expiration of the period
thereof upon substantially the same terms, except for rent increases consistent with past experience or
market rentals. The Sellers and the Acquired Companies have made available to Buyer a true, correct,
and complete copy of each Real Property Lease and all amendments and modifications thereto, and such
Real Property Leases have not been modified or amended, in each case, in any material respect, since the
Interim Balance Sheet Date.

                          (c)      The Leased Real Property set forth in Section 5.12 of the Disclosure
Schedule constitutes all of the real property used or occupied by the Sellers and the Acquired Companies
in the operation of the RS Business by the Sellers and the Acquired Companies. With respect to the Real
Property Leases, (i) the Sellers and the Acquired Companies’ possession and quiet enjoyment of such
Leased Real Property has never been disturbed, and there are no current disputes with respect to any such
Real Property Lease; (ii) no security deposit or portion thereof deposited with respect to such Real
Property Lease has been applied in respect of a breach or default under such Real Property Lease which
has not been redeposited in full; and (iii) none of the Real Property Leases is subject to any sublease,
license, or other right of another party to use or occupy such Leased Real Property.

                        (d)     The Sellers and the Acquired Companies do not own any parcels of real
property.

                5.13    Compliance with Laws.

                         (a)      Each Seller, Acquired Company and the Managed Entity are in
compliance with all applicable Legal Requirements, except where the failure to so comply would not
reasonably be expected to have a material impact on the Sellers, Acquired Companies, the Managed
Entity and the RS Business, taken as a whole. Since January 1, 2022, to the Knowledge of the Sellers,
the Sellers, Acquired Companies and the Managed Entity have not been cited, fined or otherwise notified
in writing of any material failure to comply with any material Legal Requirements that has not been paid
or cured.

                           (b)     None of the Sellers nor any of their respective Subsidiaries (including
the Acquired Companies), nor any of directors, officers, employees or, to the Knowledge of the Sellers,
agents of the Sellers or any of their respective Subsidiaries (including the Acquired Companies) (i) has
offered, promised, given or authorized the giving or will offer, promise, give or authorize the giving of
money or anything else of value, whether directly or through another Person, to (A) any governmental
official, employee or agent or (B) any other Person with the knowledge that all or any portion of the
money or thing of value will be offered or given to a governmental official, employee or agent, in each of
clauses (A) and (B) for the purpose of influencing any action or decision thereof in his or her official
capacity, including a decision to fail to perform his or her official duties, or inducing such governmental
official, employee or agent to use his or her influence with any Governmental Authority to affect or
influence any official act; (ii) has or will make or authorize any other Person to make any payments or
transfers of value which have the purpose or effect of commercial bribery, or acceptance or acquiescence
in kickbacks or other unlawful or improper means of obtaining or retaining business; (iii) has or will use
any corporate funds for any unlawful contribution, gift, entertainment or other unlawful expense relating
to political activity; (iv) has made or will make any direct or indirect unlawful payment to any
government official, employee or agent from corporate funds; (v) has made or will make any bribe,
rebate, payoff, influence payment, kickback or other unlawful payment; (vi) has or will either establish or
maintain any unrecorded fund or asset for any purpose, or has or will make any intentionally false or
artificial entries on its books or records for any reason; or (vii) created or used any “off-book” bank or
cash account or “slush fund”; or (viii) otherwise violate any Anti-Corruption Laws.



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                           (c)     Each of the Sellers and their respective Subsidiaries (including the
Acquired Companies), and the directors, officers, employees and, to the Knowledge of the Sellers, agents
of the Sellers and their respective Subsidiaries (including the Acquired Companies) have been and are in
compliance with Anti-Corruption Laws, Anti-Money Laundering Laws, and Sanctions. Neither any
Seller nor any of their respective Subsidiaries (including the Acquired Companies), nor any directors,
officers, employees or, to the Knowledge of the Sellers, agents of any Seller or any of their respective
Subsidiaries (including the Acquired Companies) is a Sanctioned Person. Neither any Seller nor any of
their respective Subsidiaries (including the Acquired Companies) (i) has or has had assets located in, or
otherwise directly or indirectly derives or derived revenues from or engages or engaged in investments,
dealings, activities, or transactions involving any Sanctioned Country; or (ii) directly or indirectly derives
or derived revenues from or engages or engaged in investments, dealings, activities, or transactions with,
any Sanctioned Person. Neither any Seller nor any of their respective Subsidiaries (including the
Acquired Companies) has received written notice alleging any non-compliance with Anti-Corruption
Laws, Anti-Money Laundering Laws, or Sanctions. At no time has any Seller or any of their respective
Subsidiaries (including the Acquired Companies), or any directors, officers, employees or, to the
Knowledge of the Sellers, agents of any Seller or any of their respective Subsidiaries (including the
Acquired Companies) made a voluntary, directed, or involuntary disclosure to any Governmental
Authority with respect to any actual or potential violation under any Anti-Corruption Law, Anti-Money
Laundering Laws or Sanctions. There has not been, and there is no, pending or threatened action, suit,
proceeding, investigation or inquiry before any court or other Governmental Authority against any Seller,
any of their respective Subsidiaries (including the Acquired Companies), or any of their respective
directors, officers, employees or, to the Knowledge of the Sellers, agents, or any informal or formal
investigation by any Seller or any of their respective Subsidiaries (including the Acquired Companies), or
their respective legal representatives or a Governmental Authority involving the foregoing, that relates to
a potential or actual violation of Anti-Corruption Laws, Anti-Money Laundering Laws or Sanctions. The
Sellers and each Acquired Company have implemented and maintained policies and procedures designed
to ensure compliance by the Sellers, their respective Subsidiaries (including the Acquired Companies)
and directors, officers, employees and, to the Knowledge of the Sellers, agents of the Sellers and their
respective Subsidiaries (including the Acquired Companies), with Anti-Corruption Laws, Anti-Money
Laundering Laws and Sanctions.

                          (d)     No part of the Purchase Price will be, directly or indirectly, used or
otherwise lent, contributed, or otherwise made available, to any Person, (i) to fund any activity, business,
or transaction of, with, or involving any Sanctioned Person or Sanctioned Country, or (ii) in any manner
that would result in a violation of Sanctions, Anti-Money Laundering Laws or Anti-Corruption Laws by
any Person (including any Party or any of their Affiliates).




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                5.14    Labor and Employment Matters.

                          (a)     Section 5.14(a) of the Disclosure Schedule sets forth a complete and
correct list of Employees as of October 30, 2024, showing for each Employee: (i) name or unique
employee identifier, (ii) hire date or seniority or service credit date if different from hire date, (iii)
current job title, (iv) whether such Employee is on leave and if on leave, the reason for and period of
leave, including anticipated return to work date, (v) annual base salary or hourly wage, (vi) any actual
bonus, commission, or other remuneration paid during 2023, (vii) exempt/non-exempt status, (viii) any
increase in compensation, bonus, incentive, or service award, or any grant of any severance or
termination pay, or any other increase in benefits, or any commitment to do any of the foregoing, since
January 1, 2024, (ix) full-time/part-time status, (x) location, (xi) accrued but unused paid time off
(including the dollar value of such hours), and (xii) union/non-union status (and which union, if
applicable). Section 5.14(a) of the Disclosure Schedule also sets forth a complete and correct list of all
individual independent contractors currently performing services or under contract to perform future
services related to the RS Business for any Seller or Acquired Company and for each: (A) start date, (B)
description of services provided, (C) estimated completion date, (D) hourly or per diem rate or other form
and amount of pay of such contractor, (E) what Seller or Acquired Company engages the individual
independent contractor, and (F) location of engagement.

                        (b)     The Company has provided Buyer with complete and correct copies of
(i) all existing severance, accrued vacation, or other leave agreements, policies, or retiree benefits
applicable to any officer, Employee, or consultant of the Sellers or the Acquired Companies, (ii) all
employee trade secret, non-compete, non-disclosure, and invention assignment agreements with officers,
Employees, or consultants of the Sellers or the Acquired Companies, and (iii) all manuals and handbooks
applicable to any current or former director, manager, officer, employee, or consultant of any Seller or
Acquired Company (in each case, to the extent still in effect and relating to the RS Business). Except as
set forth on Section 5.14(b) of the Disclosure Schedule, the employment or consulting arrangement of
each officer, Employee, or consultant of any Seller or Acquired Company is, subject to applicable Legal
Requirements involving the wrongful termination of employees, terminable at will (without the
imposition of penalties or damages) by the Sellers or the Acquired Companies as the case may be, and
the Sellers and the Acquired Companies do not have any severance obligations if any such officer,
Employee, or consultant is terminated. To the Knowledge of the Sellers, no executive Employee or key
Employee of any Seller or Acquired Company or any group of Employees of any Seller or Acquired
Company has any plans to terminate employment with the applicable Seller or Acquired Company.

                           (c)    Except as set forth on Section 5.14(c) of the Disclosure Schedule, no
Seller or Acquired Company is party to, or bound by, any collective bargaining agreement or other
agreement with a labor organization representing any Employees. No collective bargaining agreement is
being negotiated by any of the Sellers or Acquired Companies. The Sellers and Acquired Companies
have not experienced (nor, to the Knowledge of the Sellers, have they been threatened with) any strike,
lockout, slow down, work stoppage, boycott, handbilling, picketing, walkout, demonstration, leafleting,
sit-in, sick-out, or other form of organized labor disruption. Within the past three (3) years prior to the
Original Execution Date, no Seller or Acquired Company has committed any unfair labor practice, as
defined in the National Labor Relations Act or other applicable labor laws. No labor organization or
group of Employees has to the Knowledge of the Sellers, sought to organize any Employees for purposes
of collective bargaining, made a demand for recognition or certification, sought to bargain collectively
with the Sellers or any of the Acquired Companies, or filed a petition for recognition with any
Governmental Authority. The Sellers and the Acquired Companies have paid all Employees all wages,
salaries, commissions, bonuses, benefits, and other compensation due and payable to such Employees in
the Ordinary Course of Business.


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                        (d)    Within the past three (3) years prior to the Original Execution Date, each
individual who has performed services for the Sellers and the Acquired Companies or who otherwise has
claims for compensation from the Sellers and the Acquired Companies has been properly classified as an
employee or an independent contractor and as exempt or non-exempt pursuant to all applicable Legal
Requirements, including the Fair Labor Standards Act of 1938 (and any similar state or local Legal
Requirements), the Code and ERISA.

                          (e)    The Sellers and the Acquired Companies are in compliance in all
material respects with all applicable Legal Requirements pertaining to employment and employment
practices, including all Legal Requirements relating to the hiring, promotion, assignment, and termination
of employees, discrimination, harassment, retaliation, equal employment opportunities, disability, labor
relations, wages and hours, hours of work, overtime, payment of wages, temporary or leased employees,
employee classification, immigration, workers’ compensation, background checks, employee benefits,
working conditions, occupational safety and health, family and medical leave, employee terminations and
data privacy and data protection to the extent they relate to Employees of the Sellers and the Acquired
Companies. There are no, and in the past three (3) years prior to the Original Execution Date, there have
not been any complaints, actions, suits, claims, investigations, or other Actions or Orders against a Seller
or Acquired Company pending with, or, to the Knowledge of the Sellers, threatened to be filed by or
with, any Governmental Authority in connection with the employment or engagement of any current or
former employee, independent contractor, applicant for employment, volunteer, or worker provided by
any temporary employment agency or third party workforce provider of any Seller or Acquired
Company, including any claim relating to unfair labor practices, employment discrimination, harassment,
retaliation, equal pay, plant closures and layoffs, wage and hour issues, compliance with immigration
laws, and any other employment related matter.

                         (f)    Each Employee has all work permits, immigration permits, visas, or
other authorization required by any applicable Legal Requirement for such Employee given the duties
and nature of such Employee’s employment, and the Sellers and/or Acquired Companies have on file for
each such Employee a Form I-9 (or equivalent form required by any other applicable jurisdiction) that is
validly and properly completed in accordance with applicable law for each Employee or independent
contractor with respect to whom such form is required under applicable law.

                          (g)     (i) Within the past three (3) years prior to the Original Execution Date,
the Sellers and Acquired Companies have not failed to provide advance notice of layoffs or termination
as required by the Worker Adjustment and Retraining Notification Act of 1988 or any similar state or
local law, statute, rule, act, code, ordinance or regulation, or any similar applicable Legal Requirement
for employees outside of the United States regarding the termination or layoff of employees (collectively,
the “WARN Act”), nor have the Sellers or any Acquired Companies incurred any material liability or
material obligation under the WARN Act; (ii) to the Knowledge of the Sellers, no Employee has been
within the past three (3) years prior to the Original Execution Date or is being investigated in connection
with any misconduct, nor subject to any disciplinary action in connection with such misconduct, that
could reasonably be expected to cause any material damage to the reputation or business of the Sellers,
Acquired Companies, or Employees; and (iii) to the Knowledge of the Sellers, within the past three (3)
years prior to the Original Execution Date, no Employee has engaged in any conduct or cover-up of such
conduct, or aided or assisted any other person or entity to engage in any conduct that could cause or has
caused any material damage to the reputation or business of the Sellers, Acquired Companies, or
Employees, including but not limited to any conduct constituting sexual misconduct, harassment
(including sexual harassment), discrimination, or retaliation.




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                          (h)     Except as set forth on Section 5.14(h) of the Disclosure Schedule, to the
Knowledge of the Sellers, there have been no material workplace accidents, injuries, or exposures in the
last three (3) years prior to the Original Execution Date involving any Employee or former employee of
the Sellers or any Acquired Companies.

                5.15     Employee Benefit Plans.

                         (a)     Section 5.15 of the Disclosure Schedule sets forth a list of all Acquired
Company Plans (excluding offer letters that provide for at-will employment and can be terminated
without any liability) and each material Non-Acquired Company Plan (excluding offer letters). The
Sellers have separately identified in Schedule 5.15(a) (i) each Plan that contains a change in control
provision and (ii) the sponsor or contracting entity with respect to each Plan. No Plan is subject to the
Legal Requirements of relevant jurisdictions other than the United States.

                         (b)      Each of the Plans that is intended to be qualified under Section 401(a) of
the Code either has received a favorable determination letter from the IRS or is a prototype plan that has
received a notification letter from the IRS. Nothing has occurred, and, to the Knowledge of the Sellers,
there are no facts and circumstances that reasonably could be expected, to cause the loss of such
qualification. The Plans comply in form and in operation, in all material respects, with the requirements
of the Code, ERISA and all applicable Legal Requirements.

                        (c)      With respect to each Acquired Company Plan and, except as would not
reasonably be expected to result in material liability to the Buyer, each Non-Acquired Company Plan, all
required contributions or premium payments required to have been made under the terms of the Plan or in
accordance with Legal Requirements have been made or properly accrued, in all material respects.

                         (d)     With respect to each Acquired Company Plan and each material
Non-Acquired Company Plan, the Acquired Companies or the Sellers have made available to Buyer true
and complete copies (or, to the extent such plan is unwritten, an accurate written description) of (i) plan
documents, amendments, and related trust agreements, (ii) the most recent IRS determination letter
and/or opinion letter, if applicable, (iii) all material filings with all Governmental Authorities with
respect to each Plan for the past year prior to the Original Execution Date, (iv) the most recent Form
5500 and schedules thereto and nondiscrimination testing for the most recent plan year and (v) the latest
financial statements for the Plans.

                         (e)     No Plan is, and neither the Sellers nor any of the Acquired Companies
nor any of their respective ERISA Affiliates maintain, sponsor, contribute to or have any obligation to
contribute to, or any Liability with respect to, or have in the past six (6) years prior to the Original
Execution Date maintained, sponsored, contributed to, or had any obligation to contribute to, or had any
Liability with respect to, any (i) “defined benefit plan” (as defined in Section 3(35) of ERISA) or any
other plan subject to the funding requirements of Sections 412 or 430 of the Code or Section 302 or Title
IV of ERISA (including any “multiemployer plan” (as defined in Section 3(37) of ERISA)), (ii) “multiple
employer plan” (as defined in Section 413(c) of the Code or Section 210 of ERISA), (iii) “multiple
employer welfare arrangement” within the meaning of Section 3(40) of ERISA, or (iv) or plan that
provides for post-retirement or post-termination medical, life insurance or other similar benefits (other
than health continuation coverage required by Part 6 of Subtitle B of Title I of ERISA, Section 4980B of
the Code and any similar applicable state Legal Requirement, for which the covered individual pays the
full cost of coverage).




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                         (f)      With respect to each Acquired Company Plan, and, except as would not
reasonably be expected to result in material liability to the Buyer, each Non-Acquired Company Plan, all
required reports, returns, notices and descriptions and other documentation that are required to have been
filed with or furnished to the IRS, the United States Department of Labor or any other Governmental
Authority, or to the participants or beneficiaries of such Plan (including Form 5500 Annual Reports,
Summary Annual Reports, and Summary Plan Descriptions) have been filed or distributed in material
compliance with the applicable requirements of ERISA, the Code, Legal Requirements, and the terms of
each Plan.

                       (g)      No Action or Order or other claim, suit or proceeding to or by any
Person or Governmental Authority with respect to any such Acquired Company Plan and, except as
would not reasonably be expected to result in material liability to the Buyer, each Non-Acquired
Company Plan, (other than routine claims for benefits) has been made, commenced, filed, is pending or,
to the Knowledge of the Sellers, threatened in writing.

                          (h)      Except as set forth on Schedule 5.15(h), neither the execution and
delivery of this Agreement nor the consummation of the transactions contemplated hereby will (either
alone or in combination with another event) (i) result in any material payment becoming due, or
materially increase the amount of any compensation due, to any current or former officer, director,
employee or individual consultant (or their respective representatives or beneficiaries) of the Sellers or
the Acquired Companies; (ii) materially increase any benefits otherwise payable under any Plan; (iii)
result in the acceleration of the time of payment or vesting of any such compensation or benefits; or (iv)
result in the payment of any amount that could, individually or in combination with any other such
payment, constitute an “excess parachute payment”, as defined in Section 280G(b)(1) of the Code and
the regulations promulgated thereunder. To the Knowledge of the Sellers, no Seller nor any Acquired
Company has any obligation to “gross-up” or reimburse any Person for taxes or related interest or
penalties incurred by such Person, including under Section 4999, 409A, or 105(h) of the Code.

                 5.16     Tax Matters. Each of the Sellers (with respect to the RS Business) and the
Acquired Companies has filed (or has had filed on its behalf) all federal income Tax Returns and other
material Tax Returns that are required to be filed by it (taking into account any extensions of time to file
that have been duly perfected). All Taxes shown as owing by each of the Sellers (with respect to the RS
Business) and the Acquired Companies on all such Tax Returns have been fully paid or properly accrued,
and all such Tax Returns are true and correct in all material respects. The provision for Taxes on the
Interim Financial Statements is sufficient for all accrued and unpaid Taxes of the Sellers (with respect to
the RS Business) and the Acquired Companies as of the date thereof. All material Taxes that the Sellers
(with respect to the RS Business) and the Acquired Companies are obligated to withhold from amounts
owing to any employee, creditor, or third party have been fully paid or properly accrued. No Seller (with
respect to the RS Business) or Acquired Company is currently and has not been a party to any Tax
allocation, Tax sharing, Tax indemnity, Tax reimbursement agreement or other Tax arrangement (other
than credit agreements, lease agreements, or other commercial agreements entered into in the ordinary
course of business containing customary Tax allocation or gross-up provisions). Within the past three (3)
years prior to the Original Execution Date, no Seller (with respect to the RS Business) or Acquired
Company has been the subject of any audit or other examination of Taxes by the Taxing Authorities of
any nation, state, or locality with respect to any open Tax years, and, to the Knowledge of the Sellers, no
such audit or other examination is contemplated or pending. No written claim has been made within the
past three (3) years prior to the Original Execution Date by any Governmental Authority in a jurisdiction
where a Seller (with respect to the RS Business) or Acquired Company does not file Tax Returns that it
is or could be subject to taxation by that jurisdiction where a material Tax liability would result. Within
the past three (3) years prior to the Original Execution Date, no Seller (with respect to the RS Business)


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or Acquired Company has been a member of any affiliated group of corporations which has filed a
combined, consolidated, or unitary income Tax Return with any Governmental Authority (other than a
combined, consolidated, or unitary group of which the Seller or any of its Affiliates is the common
parent). No Seller (with respect to the RS Business) or Acquired Company has waived in writing any
statute of limitations in respect of Taxes payable by it, which waiver is currently in effect. There are no
liens for Taxes (other than Permitted Liens) upon any of the assets of the Sellers (with respect to the RS
Business) or the Acquired Companies. No Seller (with respect to the RS Business) or Acquired
Company has been a party to any “listed transaction” as defined in Section 6707A(c)(2) of the Code and
Treasury Regulation Section 1.6011-4(b). No Seller (with respect to the RS Business) or Acquired
Company has distributed stock of another Person, or has had its stock distributed by another Person, in a
transaction that was purported or intended to be governed in whole or in part by Section 355 or
Section 361 of the Code. Insurance. Section 5.17 of the Disclosure Schedule lists each material
insurance policy currently in effect that is maintained by the Sellers, the Acquired Companies and the
Managed Entity that relates to the RS Business, the Acquired Companies and the Managed Entity,
including the name of the insurer and policy number (collectively, the “Insurance Policies”). The
Insurance Policies are in full force and effect, all premiums due thereon have been paid, and neither the
Sellers, the Acquired Companies, or the Managed Entity, as applicable, are in material breach or material
default thereunder.

                5.18   Affiliated Transactions. Except for this Agreement and the other Transaction
Documents, Section 5.18 of the Disclosure Schedule sets forth a true and complete list of all (a)
Contracts between (i) the Seller or any of its Affiliates (excluding the Sellers and the Acquired
Companies), on the one hand, and (ii) any Seller or Acquired Company, on the other hand, and (b)
powers of attorney granted by any Acquired Company in favor of the Seller, any of its Affiliates
(excluding the Acquired Companies), or any of their respective representatives.

                5.19     Material Contracts.

                          (a)     Section 5.19 of the Disclosure Schedule sets forth a list of all Contracts
in effect as of the date hereofOriginal Execution Date, including all amendments and supplements
thereto, to which a Seller, Acquired Company or the Managed Entity is a party or by which a Seller,
Acquired Company or the Managed Entity is bound, meeting any of the descriptions set forth below
(collectively referred to herein as the “Material Contracts”):

                              (i) all Contracts relating to any completed material business acquisition
by a Seller, Acquired Company or the Managed Entity within the last two (2) years prior to the Original
Execution Date;

                                 (ii) all collective bargaining agreements and other Contracts with a labor
union, works council, or other labor organization;

                               (iii) Contracts relating to the acquisition or disposition by any Seller or
Acquired Company outside the Ordinary Course of Business of any material assets or any material
business (whether by merger, sale or purchase of stock, sale or purchase of assets or otherwise) to the
extent any actual or contingent material obligations of any Seller or Acquired Company thereunder
remain in effect;

                                 (iv) any settlement or similar agreement which imposes any payment or
other material obligations of any Acquired Company after the Closing Date;

                                 (v) all written Contracts for the employment of any current officer,


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individual employee or other person on a full-time or consulting basis with an annual base salary or
consulting fee in excess of $250,000 (excluding, in each case, healthcare providers);

                                  (vi) all guaranties of any obligation for Indebtedness;

                                (vii)    all Contracts under which a Seller, Acquired Company or the
Managed Entity is lessee of, or holds or operates, any personal property owned by any other party, for
which the annual rental exceeds $500,000;

                                (viii) all Contracts under which a Seller, Acquired Company or the
Managed Entity is lessor of or permits any third party to hold or operate any personal property for which
the annual rental payments exceed $500,000;

                                (ix) all software licenses that are material to the operation of the
business of the Sellers, Acquired Companies and the Managed Entity taken as a whole (other than “off
the shelf” software);

                               (x) all Contracts that prohibit the Sellers, Acquired Companies or the
Managed Entity from freely engaging in business anywhere in the world (other than customer Contracts
and non-disclosure Contracts entered into in the ordinary course of business that contain non-solicitation
obligations);

                                (xi) all Contracts currently in effect (other than purchase orders
providing for sales of products or services in the ordinary course of business) with any Material
Customer or Material Supplier; and

                            (xii)           all Contracts currently in effect between a Seller, Acquired
Company and the Managed Entity.

                         (b)      The Sellers, Acquired Companies and the Managed Entity have made
available to Buyer a true and correct copy of all written Material Contracts. Except as set forth on
Section 5.19(b) of the Disclosure Schedule, as of the date hereofOriginal Execution Date, neither the
Sellers, Acquired Companies, the Managed Entity, nor, to the Knowledge of the Sellers, any other party
to any Material Contract is in breach of, or in default under, any Material Contract, except where such
breach or default would not reasonably be expected to be material to the Sellers, Acquired Companies
and the Managed Entity, taken as a whole. To the Knowledge of the Sellers, each Material Contract is
valid, binding and in full force and effect, except for such failures to be valid, binding or in full force and
effect that would not reasonably be expected to be material to the Seller or the Acquired Companies,
taken as a whole.

                  5.20    Intellectual Property. Section 5.20 of the Disclosure Schedule sets forth a list of
all registered Intellectual Property and applications therefor owned by a Seller or Acquired Company and
a list of all of the corporate names and material brand names owned by the Sellers and Acquired
Companies used in the conduct of the Sellers and the Acquired Companies’ RS Business as currently
conducted. Except as set forth in Section 5.20 of the Disclosure Schedule or as would not reasonably be
expected to have a material impact on the Sellers and the Acquired Companies, taken as a whole, (a) a
Seller or Acquired Company owns and possesses all right, title, and interest in and to, or possesses the
valid and enforceable right to use, all material Intellectual Property and applications therefor used in the
operation of the RS Business of the Sellers and the Acquired Companies as currently conducted; (b)
during the two (2)-year period prior to the date of this Agreement, no Seller or Acquired Company has
received any written notices of material infringement or misappropriation from any third party with


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respect to such Seller or Acquired Company’s use of any Intellectual Property; (c) to the Knowledge of
the Sellers, as of the date hereofOriginal Execution Date, no third party is materially infringing or
misappropriating any registered Intellectual Property owned by the Sellers or the Acquired Companies;
and (d) to the Knowledge of the Sellers, none of the Intellectual Property or products or methods of doing
business of the Sellers or the Acquired Companies as currently conducted materially infringes upon any
other Person’s Intellectual Property.

                5.21     Material Customers and Suppliers.

                          (a)      Section 5.21(a) of the Disclosure Schedule sets forth a complete and
accurate list of the ten (10) largest customers (by dollar volume) of the RS Business (taken as a whole in
the aggregate) during fiscal year 2023 (each, a “Material Customer”).

                          (b)     Section 5.21(b) of the Disclosure Schedule sets forth a complete and
accurate list of the ten (10) largest suppliers (by dollar volume) of the RS Business (taken as a whole in
the aggregate) during fiscal year 2023 (each, a “Material Supplier”).

                        (c)     Except as set forth on Section 5.21(c) of the Disclosure Schedule, during
the twelve (12) month period prior to the date hereofOriginal Execution Date, none of the Sellers, the
Acquired Companies nor the Managed Entity have received any written notice from any Material
Customer or Material Supplier stating that such Material Customer or Material Supplier will stop its
business with the Sellers, the Acquired Companies and the Managed Entity or otherwise materially
change the terms of its relationship with the RS Business (other than pricing changes in the ordinary
course of business).

                5.22     Regulatory Compliance.

                          (a)      Each Seller, Acquired Company, the Managed Entity and each Facility
presently is, and for the last three (3) years prior to the Original Execution Date has been, in compliance
in all material respects with all Legal Requirements of any Governmental Authority having jurisdiction
over the Facilities or the assets of the Sellers or the Acquired Companies, including but not limited to, the
false claims, false representations, anti-kickback, and all other provisions of the Medicare/Medicaid
fraud and abuse laws (42 U.S.C. Section 1320a-7 et seq.) and the physician self-referral and all other
provisions of the federal Ethics in Patient Referrals Act, 42 U.S.C. § 1395nn, and all regulations
promulgated thereunder and the corresponding state fraud and abuse, false claims, and anti-self-referral
statutes and any regulations promulgated pursuant to any of the foregoing referenced statutes.

                       (b)     Except as would not be expected to be material to the Acquired
Companies, taken as a whole, for the last three (3) years prior to the Original Execution Date, none of the
Sellers, Acquired Companies, the Managed Entity, the Facilities, or any of the Sellers’, Acquired
Companies’ or the Managed Entity’s respective officers, directors, or managing employees has engaged
in any activities that are prohibited under 42 U.S.C. Section 1320a-7 et seq., or the regulations
promulgated thereunder, including, but not limited to, the following:

                                 (i) knowingly and willfully making or causing to be made a false
statement or representation of a material fact in any application for any benefit or payment;

                                 (ii) knowingly and willfully making or causing to be made a false
statement or representation of a material fact for use in determining rights to any benefit or payment;

                                 (iii) knowingly and willfully offering, paying, soliciting, or receiving any


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remuneration (including any kickback, bribe, or rebate), directly or indirectly, overtly or covertly, in cash
or in kind, (A) in return for referring an individual to a person for the furnishing or arranging for the
furnishing of any item or service for which payment may be made in whole or in part by Medicare,
Medicaid, or other state healthcare program, or (B) in return for purchasing, leasing, ordering, or
arranging for or recommending purchasing, leasing, or ordering any good, facility, service, or item for
which payment may be made in whole or in part by Medicare, Medicaid, or other state healthcare
program; or

                                 (iv) knowingly making a payment, directly or indirectly, to a physician
as an inducement to reduce or limit necessary services to individuals who are under the direct care of the
physician and who are entitled to benefits under Medicare, Medicaid, or other state healthcare program.

                          (c)    the Sellers, Acquired Companies, the Managed Entity, and the Facilities
are in compliance in all material respects with the administrative simplification provisions required under
HIPAA, as well as applicable state laws having similar subject matter to HIPAA, as of the applicable
effective dates for such requirements.

                         (d)     Permits & Approvals.

                                  (i) Section 5.22(d) of the Disclosure Schedule sets forth each of the
governmental licenses, approvals, permits or authorizations that are issued or granted to the Sellers, the
Acquired Companies and the Managed Entity by a Governmental Authority and that are material to the
operation of the RS Business as currently conducted (collectively, the “Permits”). Such Permits
constitute all material governmental licenses, approvals, permits or authorizations that are necessary for
the operation of the Facilities as currently conducted. Except as set forth on Section 5.22(d) of the
Disclosure Schedule, a Seller, Acquired Company or the Managed Entity is the duly authorized holder of
all such Permits that relate to the Facilities operated by the Sellers, Acquired Companies and the
Managed Entity. The Sellers, Acquired Companies, Managed Entity, and Facilities are in compliance in
all material respects with all Permits held by the Sellers, Acquired Companies and the Managed Entity.

                                  (ii) There are no provisions in, or agreements relating to, any such
Permits which preclude or limit in any material respect the Sellers, Acquired Companies from operating
any of the Facilities as they are currently operated. There is not now any pending or, to the Knowledge
of the Sellers, threatened action by or before any Governmental Authority to revoke, cancel, rescind,
modify or refuse to renew any of the Permits, and all of the Permits are in good standing.

                                (iii) Subject to entry of the Sale Order, each Permit, except as listed
in Schedule 5.22(d) may be transferred or reissued to Buyer in accordance with this Agreement and
without the approval of any Person.

                          (e)      Government Program Participation; Compliance Program. Each of the
Facilities that participates in the Medicare, Medicaid, and TriCare/CHAMPUS programs has a current
and valid provider contract with such programs and is in compliance in all material respects with the
conditions of participation in such programs. The Sellers, Acquired Companies and the Managed Entity
have not been excluded from participation in the Medicare, Medicaid, or TriCare/CHAMPUS programs,
nor, to the Knowledge of the Sellers, is any such exclusion threatened. The Sellers, Acquired Companies
and the Managed Entity have adopted a compliance program applicable to the Facilities. The Sellers,
Acquired Companies and the Managed Entity have operated in material compliance with such
compliance program and its policies. For purposes of this Agreement, the term “compliance program”
refers to provider programs of the type described in the compliance guidance published by the OIG.
None of the Sellers, Acquired Companies nor the Managed Entity (i) are a party to a Corporate Integrity


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Agreement with the OIG, (ii) have any reporting obligations pursuant to any settlement agreement
entered into with any Governmental Authority, (iii) have been, to the Knowledge of the Sellers, within
the past three (3) years prior to the Original Execution Date the subject of any material governmental
payer program investigation conducted by any Governmental Authority, or (iv) are or have been, to the
Knowledge of the Sellers, within the past three (3) years prior to the Original Execution Date a defendant
in any qui tam/False Claims Act litigation.

                5.23   Brokers. Except with respect to the brokers representing the Seller in this
transaction, Lazard Frères & Co. LLC and MTS Health Partners, L.P., the Sellers and Acquired
Companies have not incurred any obligation for any finder’s or broker’s or agent’s fees or commissions
or similar compensation in connection with the transactions contemplated hereby.

                 5.24    Bank Accounts. Section 5.24 of the Disclosure Schedules set forth a true,
complete and correct list of each bank, deposit, securities, lock box or cash collection, management or
other account or sub-account of the RS Business or any Acquired Company, including the Person that is
the holder of such account, title and number of the account and the financial or other institution at which
such account is located (designating each authorized signatory).

             5.25  NO OTHER REPRESENTATIONS AND WARRANTIES. EXCEPT FOR THE
REPRESENTATIONS AND WARRANTIES SET FORTH IN THIS ARTICLE V AND THE
REPRESENTATIONS AND WARRANTIES OF THE SELLER SET FORTH IN ARTICLE VI, NONE
OF THE SELLERS, ACQUIRED COMPANIES, THE MANAGED ENTITY, NOR ANY OTHER
PERSON MAKES ANY REPRESENTATION OR WARRANTY, WRITTEN OR ORAL,
STATUTORY, OR EXPRESS OR IMPLIED, WITH RESPECT TO ANY OF THE SELLERS,
ACQUIRED COMPANIES, THE MANAGED ENTITY, OR ANY OF THEIR RESPECTIVE
BUSINESSES, OPERATIONS, ASSETS, STOCK, LIABILITIES, CONDITION (FINANCIAL OR
OTHERWISE), OR PROSPECTS. BUYER HEREBY EXPRESSLY WAIVES ANY CLAIMS AND
CAUSES OF ACTION AND ANY OTHER REPRESENTATIONS OR WARRANTIES, EXPRESS,
IMPLIED, AT COMMON LAW, BY STATUTE, OR OTHERWISE, IN EACH CASE, RELATING TO
THE ACCURACY, COMPLETENESS OR MATERIALITY OF ANY INFORMATION, DATA, OR
OTHER MATERIALS (WRITTEN OR ORAL) HERETOFORE FURNISHED TO BUYER AND ITS
REPRESENTATIVES BY OR ON BEHALF OF THE SELLERS, ACQUIRED COMPANIES, OR THE
MANAGED ENTITY. WITHOUT LIMITING THE FOREGOING, NONE OF THE SELLERS,
ACQUIRED COMPANIES, THE MANAGED ENTITY, NOR ANY OTHER PERSON IS MAKING
ANY REPRESENTATION OR WARRANTY TO BUYER WITH RESPECT TO ANY FINANCIAL
PROJECTION OR FORECAST RELATING TO THE RS BUSINESS, OPERATIONS, ASSETS,
LIABILITIES, CONDITION (FINANCIAL OR OTHERWISE), OR PROSPECTS OF THE SELLERS,
ACQUIRED COMPANIES AND THE MANAGED ENTITY.

                                               ARTICLE 6

                             REPRESENTATIONS AND WARRANTIES OF BUYER

               Buyer represents and warrants to the Sellers and the Acquired Companies as of the date
hereofOriginal Execution Date:

                6.1      Organization and Good Standing. Buyer is a limited liability company, duly
organized, validly existing and in good standing under the laws of the State of Delaware. Buyer has the
requisite power and authority to own or lease and to operate and use its properties and to carry on its
business as now conducted.


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                 6.2    Power and Authority. Buyer has all requisite power and authority to execute and
deliver this Agreement, to perform its obligations hereunder, and to consummate the transactions
contemplated hereby. All acts or proceedings required to be taken by Buyer to authorize the execution
and delivery of this Agreement and the performance of Buyer’s obligations hereunder have been properly
taken.

               6.3    Enforceability. This Agreement has been duly authorized, executed, and
delivered by Buyer, and, assuming the due and valid authorization, execution, and delivery of this
Agreement by the Sellers, this Agreement constitutes the legal, valid, and binding obligation of Buyer,
enforceable against Buyer in accordance with its terms, except as the same may be limited by the
Bankruptcy and Equity Exceptions.

                 6.4      No Violations; Consents and Approvals. The execution and delivery of this
Agreement by Buyer, and the consummation by it of the transactions contemplated hereby, will not (i)
violate any provision of the Organizational Documents of Buyer, (ii) violate any material Legal
Requirement applicable to, binding upon, or enforceable against Buyer, (iii) result in any material breach
of, or constitute a material default (or an event which would, with the passage of time or the giving of
notice or both, constitute a material default) under, or give rise to a right of payment under or the right to
terminate, any Contract to which Buyer is a party or bound, or (iv) result in the creation or imposition of
any Lien upon any of the material property or material assets of Buyer. No approval, consent, waiver,
authorization, or other order of, and no declaration, filing, registration, qualification, recording, or other
action or filing with, any Governmental Authority or any other Person is required to be obtained or made
by or on behalf of Buyer in connection with the execution, delivery, or performance of this Agreement
and the consummation of the Closing hereunder in accordance with the terms and conditions of this
Agreement, except where failure to obtain such approval, consent, waiver, authorization, or other order,
or to make such declaration, filing, registration, qualification, recording, or other action, would not be
material to Buyer taken as whole.

                6.5     Brokers. Except with respect to Houlihan Lokey Capital, Inc. and Ankura
Consulting Group, LLC, Buyer has not incurred any obligation for any finder’s or broker’s or agent’s
fees or commissions or similar compensation in connection with the transactions contemplated hereby for
which the Sellers, any of the Sellers’ Affiliates or the Acquired Companies may be liable.

                6.6     Litigation. There are no Actions or Orders pending or, to the Knowledge of the
Buyer, expressly threatened in writing against Buyer, at law or in equity, before or by any Governmental
Authority which would reasonably be expected to affect the legality, validity or enforceability of this
Agreement or the consummation of the transactions contemplated by this Agreement.

           6.7   NO OTHER REPRESENTATIONS AND WARRANTIES. EXCEPT FOR THE
REPRESENTATIONS AND WARRANTIES SET FORTH IN ARTICLE V, BUYER
ACKNOWLEDGES AND AGREES THAT NEITHER THE SELLERS, THE ACQUIRED
COMPANIES, NOR ANY OTHER PERSON, MAKES ANY REPRESENTATION OR WARRANTY,
WRITTEN OR ORAL, STATUTORY, EXPRESS OR IMPLIED, WITH RESPECT TO ANY OF THE
SELLERS, THE ACQUIRED COMPANIES OR ANY OF THEIR RESPECTIVE BUSINESSES,
OPERATIONS, ASSETS, STOCK, LIABILITIES, CONDITION (FINANCIAL OR OTHERWISE), OR
PROSPECTS. BUYER HEREBY EXPRESSLY WAIVES ANY CLAIMS AND CAUSES OF ACTION
AND ANY OTHER REPRESENTATIONS OR WARRANTIES, EXPRESS OR IMPLIED, AT
COMMON LAW, BY STATUTE, OR OTHERWISE, IN EACH CASE, RELATING TO THE
ACCURACY, COMPLETENESS, OR MATERIALITY OF ANY INFORMATION, DATA, OR
OTHER MATERIALS (WRITTEN OR ORAL) HERETOFORE FURNISHED TO BUYER AND ITS


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REPRESENTATIVES BY OR ON BEHALF OF THE SELLERS OR THE ACQUIRED COMPANIES.
WITHOUT LIMITING THE FOREGOING, NEITHER THE SELLERS NOR THE ACQUIRED
COMPANIES, NOR ANY OTHER PERSON IS MAKING ANY REPRESENTATION OR
WARRANTY TO BUYER WITH RESPECT TO ANY FINANCIAL PROJECTION OR FORECAST
RELATING TO THE RS BUSINESS, OPERATIONS, ASSETS, LIABILITIES, CONDITION
(FINANCIAL OR OTHERWISE), OR PROSPECTS OF ANY OF THE SELLERS OR THE
ACQUIRED COMPANIES.

                                               ARTICLE 7

                                 ACTIONS PRIOR TO THE CLOSING DATE

                7.1      Access and Reports.

                          (a)     During the period from and including the Original Execution Date
through and including the Closing Date or the earlier termination of this Agreement in accordance with
the provisions of Article 11, the Sellers shall afford Buyer and its Representatives reasonable access,
upon reasonable notice during normal business hours, to the senior executive officers of the Acquired
Companies and to the books and records of the Acquired Companies and all records concerning the RS
Business and Acquired Assets, and the Sellers shall instruct such senior executive officers to reasonably
cooperate with Buyer and its Representatives regarding the same; provided, that (i) such access does not
unreasonably interfere with the operation of the Sellers’ or the Acquired Companies’ businesses and
shall be subject to the Sellers’ reasonable security measures and insurance requirements; and (ii) Buyer
and its authorized agents and representatives shall not contact or otherwise communicate with the
employees (other than executive employees), customers, or suppliers of the Sellers or the Acquired
Companies, unless, in each instance, approved in writing in advance by the Sellers, which approval shall
not be unreasonably withheld. No investigation pursuant to this Section 7.1 or by Buyer or its
Representatives at any time prior to or following the Original Execution Date shall affect or be deemed to
modify any representation or warranty made by the Sellers herein. Notwithstanding anything contained in
this Agreement to the contrary, none of Buyer or its Representatives or any Buyer Designees shall have
any right to perform or conduct, or cause to be performed or conducted, any environmental sampling or
testing at, in, on or underneath any of the Sellers’ properties without written consent from the Company,
which consent shall not be unreasonably withheld.

                           (b)     This Section 7.1 shall not require the Sellers to permit any access to, or
to disclose (i) any information that, in the reasonable, good faith judgment (after consultation with
counsel, which may be in-house counsel) of the Company, is reasonably likely to result in any violation
of any Legal Requirement or any Contract to which the Company or any Seller is a party or cause any
privilege (including attorney-client privilege) that the Sellers would be entitled to assert to be
undermined with respect to such information and such undermining of such privilege could in the
Company’s good faith judgment (after consultation with counsel, which may be in-house counsel)
adversely affect in any material respect the Sellers’ position in any pending or, what the Company
believes in good faith (after consultation with counsel, which may be in-house counsel) could be, future
litigation, (ii) personnel files, workers’ compensation files, employee medical files (including employee
“protected health information” (as defined in the HIPAA Standards for Privacy of Individually
Identifiable Health Information, 45 CFR Part 146)), and other employee books and records, or (iii) if the
Company or any Seller, on the one hand, and Buyer or any of its Affiliates, on the other hand, are adverse
parties in a litigation, any information that is reasonably pertinent thereto; provided, that, in the case of
clause (i), the Parties hereto shall cooperate in seeking to find a way to allow disclosure of such
information to the extent doing so (A) would not (in the good faith belief of the Company (after
consultation with counsel, which may be in-house counsel)) be reasonably likely to result in the violation

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of any such Legal Requirement or Contract or be reasonably likely to cause such privilege to be
undermined with respect to such information or (B) could reasonably (in the good faith belief of the
Company (after consultation with counsel, which may be in-house counsel)) be managed through the use
of customary “clean-room” arrangements pursuant to which non-employee Representatives of Buyer
could be provided access to such information.

                7.2     Operations Prior to the Closing Date. The Sellers covenant and agree that, except
(w) as expressly contemplated by this Agreement, (x) as disclosed in Schedule 7.2, (y) with the prior
written consent of Buyer (which consent shall not be unreasonably withheld, conditioned, or delayed) or
(z) as otherwise required by Legal Requirements (including any matters arising from the Bankruptcy
Cases or authorized by the Bankruptcy Court), after the Original Execution Date and prior to the Closing
Date:

                        (a)     the Sellers shall (and shall cause the Acquired Companies to):

                                (i) use reasonable best efforts to carry on the RS Business in the
Ordinary Course of Business;

                                 (ii) use reasonable best efforts to maintain, preserve and protect the RS
Business (including with respect to the operations, organization and goodwill of the RS Business and the
making of capital expenditures with respect to the RS Business, substantially consistent with current
operations, forecasts and schedules that have been made available to Buyer and its Affiliates and
Representatives), the Acquired Assets and the assets of the Acquired Companies in the condition in
which they exist on the Original Execution Date in all material respects;

                              (iii) manage Inventory, the timing of collection of accounts receivable
and the payment accounts payable of the RS Business in the Ordinary Course of Business;

                               (iv) maintain their books, accounts and records of the RS Business in
accordance with past custom and practice;

                               (v) use reasonable best efforts to pay all trade payables related to the
Acquired Assets incurred on or after the Petition Date in the ordinary course of the RS Business and
collect all Accounts Receivable due to the Sellers after the Petition Date in the Ordinary Course of
Business;

                                 (vi) use reasonable best efforts to (A) retain Employees who are in good
standing and (B) maintain their relationships with and preserve for the RS Business the goodwill of their
suppliers, customers, Governmental Authorities, lessors, directors, managers, officers, Key Persons and
other Persons with whom they have material business relationships with the Sellers or the Acquired
Companies in respect of the RS Business;

                                 (vii)   (A) comply in all material respects with all Legal Requirements
applicable to them or having jurisdiction over the RS Business or any Acquired Asset, (B) comply in all
respects with all Anti-Corruption Laws, Anti-Money Laundering Laws and Sanctions, (C) use reasonable
best efforts to comply in all respects with contractual obligations applicable to or binding upon them
pursuant to Assumed Contracts and (D) use reasonable best efforts to maintain in full force and effect all
Permits and comply with the terms of each such Permit;

                                (viii) use reasonable best efforts to cause any of their current
insurance policies with respect to the RS Business or any of the other Acquired Assets or assets of the


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Acquired Companies (including the Leased Real Properties) not to be canceled or terminated or any of
the coverage thereunder to lapse unless, simultaneously with such termination, cancellation or lapse,
replacement, policies providing coverage equal to or greater than the coverage under the canceled,
terminated or lapsed policies are in full force and effect;

                               (ix) use reasonable best efforts to maintain, preserve and protect in full
force and effect the existence of all Intellectual Property owned by the Sellers that constitutes an
Acquired Asset;

                                 (x) use reasonable best efforts not to take or agree to or commit to assist
any other Person in taking any action that would reasonably be expected to (i) result in a failure of any of
the conditions to the Closing or (ii) impair the ability of the Sellers or Buyer to consummate the Closing
in accordance with the terms hereof or to materially delay such consummation; and

                               (xi) file all Tax Returns and pay or deposit all Taxes on a timely basis in
the Ordinary Course of Business.

                         (b)      the Sellers shall not (and shall cause the Acquired Companies not to):

                                 (i) sell, assign, transfer, lease, license or allow to lapse any rights in the
Intellectual Property owned by the Sellers forthat primarily relates to the RS Business (other than
non-exclusive licenses to Intellectual Property granted in the Ordinary Course of Business);

                                  (ii) make, change or revoke any material election relating to Taxes,
change any annual accounting period for applicable Tax purposes, adopt or change any material Tax
accounting method, file any amended Tax Return (other than an amended Tax Return to obtain any U.S.
federal, state, or local income Tax refund), enter into any closing agreement, settle any material claim or
assessment with respect to Taxes, knowingly surrender any right to claim a material refund, offset or
other reduction in Tax liability, or request or consent to any extension or waiver of the limitation periods
applicable to any claim or assessment with respect to Taxes (other than an extension granted in the
ordinary course of business in connection with an extension for the filing of Tax Returns), in each case
that adversely affects Taxes of the RS Business, the Acquired Assets or the Assumed Liabilities (other
than Taxes that constitute Excluded Liabilities); or

                                  (iii) authorize, commit or agree to take, or commit to assist any other
Person in taking, any of the actions set forth in this Section 7.2(b).

                                (iv) make any material alterations or improvements to the Leased Real
Property other than in the Ordinary Course of Business;

                                (v) amend, modify, restate, supplement or terminate any Lease for any
Leased Real Property or enter into any new Lease by any Acquired Company or by any Seller with
respect to the RS Business without obtaining such approval from Buyer;

                                 (vi) enter into, materially amend, waive, modify, or voluntarily terminate
any Material Contract or any Contract that would have been a Material Contract if entered into prior to
the date hereofOriginal Execution Date, except, in each case, as required by any applicable Legal
Requirement, provided, that for purposes of this Section 7.2(b)(vi), Buyer shall be deemed to have
consented if Buyer does not respond to the Sellers in writing within three (3) Business Days of the
Sellers’ request for such consent;



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                                 (vii)  acquire any material properties or assets or sell, assign, license,
transfer, convey, lease, sublease or otherwise dispose of any material assets of the Sellers or any
Acquired Company primarily related to the RS Business, including any assets that but for such sale,
assignment, license, transfer, conveyance, lease, sublease or other disposition would constitute Acquired
Assets, in each case;

                                (viii) subject to any Lien or otherwise encumber or, except for
Permitted Liens, permit, allow or suffer to be encumbered, any of the Acquired Assets or assets of the
Acquired Companies; or

                               (ix) enter into any settlement agreement with regard to Claims related to
the RS Business or the Acquired Assets without the prior written consent of Buyer (in its sole discretion).

                      (c)      Nothing in this Section 7.2 is intended to result in the Sellers or any of
the Acquired Companies ceding control to Buyer of the Acquired Companies’ basic ordinary course of
business and commercial decisions prior to the Closing Date.

                         (d)     Notwithstanding anything contained in this Agreement to the contrary,
any action taken or omitted to be taken by the Acquired Companies that otherwise could represent a
failure by the Acquired Companies to operate in the Ordinary Course of Business, in response to, in
connection with, or as a result of, any of the following, shall not be deemed a breach of this Section 7.2:
any earthquakes, hurricanes, floods or other natural disasters, epidemics, pandemics, disease outbreaks or
public health emergencies, acts of God, or force majeure events, or any escalation or worsening of any of
the foregoing.

                7.3     Antitrust Filings; Cooperation.

                         (a)     As soon as reasonably practicable (and, in any event, in the case of
notifications under the HSR Act, within tenone (101) Business DaysDay of the earliest to occur of (x)
the Auction, or (y) the Bid Deadline if, and only if, the Sellers do not receive any Qualified Bids for the
Acquired Assets (other than this Agreement) by the Bid Deadline, or a later date as agreed by the Parties)
following entry of the Bidding Procedures Order,, the Sellers, on the one hand, and Buyer, on the
other hand, shall each prepare and file, or cause to be prepared and filed, any notifications advisable or
required to be filed under (i) the HSR Act with the United States Federal Trade Commission and the
Antitrust Division of the United States Department of Justice, and request early termination of the
waiting period under the HSR Act and (ii) any other applicable Antitrust Laws. Buyer, on the one hand,
and the Sellers, on the other hand, shall use reasonable best efforts to: (i) respond as promptly as
practicable to the appropriate Governmental Authorities to any requests for additional information and
documentary material in connection with such filings and (ii) take all other actions necessary to cause
the waiting periods under the HSR Act and waiting or review periods under any other applicable
Antitrust Laws to terminate or expire at the earliest practicable date after the date of filing including
using reasonable best efforts to avoid or eliminate impediments under any Antitrust Law that may be
asserted by any Governmental Authority with respect to the transactions contemplated hereby so as to
enable the Closing to occur as soon as reasonably possible. Buyer shall be responsible for payment of the
applicable filing fee under the HSR Act and any other applicable Antitrust Laws, and each Party shall be
responsible for payment of its own respective costs and expenses (including attorneys’ fees and other
legal fees and expenses) associated with the preparation of its portion of any antitrust filings.

                       (b)    The Sellers shall use reasonable best efforts to do, or cause to be done,
all things necessary under the applicable Legal Requirements with the appropriate Governmental


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Authorities to put in place, to transfer, to amend, or to acquire all Transferred Permits that are necessary
for the operation and conduct of the RS Business or Acquired Assets by or on the Closing Date, unless
the applicable Legal Requirements regarding such a Permit require certain actions to be taken upon or
after Closing, and, in that event, the Sellers shall use reasonable best efforts to do, or cause to be done, all
things necessary or desirable under the applicable Legal Requirements with the appropriate
Governmental Authorities which can only be taken or done after Closing to put in place, to transfer, to
amend, or to acquire such remaining Permits as promptly as reasonably practicable after the Closing.

                         (c)       In addition to the actions to be taken under Section 7.3(a) and Section
7.3(b), the Sellers, on the one hand, and Buyer, on the other hand, shall use reasonable best efforts to
take, or cause to be taken, all actions, and to do, or cause to be done, and to assist and cooperate with the
other in doing, all things necessary, proper or advisable to consummate and make effective, in the most
expeditious manner practicable, the transactions contemplated hereby, including using reasonable best
efforts to accomplish the following: (i) taking all reasonable acts necessary to cause the conditions
precedent set forth in Article 9 and Article 10 to be satisfied, (ii) obtaining, at the earliest practicable
date, of all necessary Governmental Authorizations and the making of all necessary registrations,
declarations and filings (including registrations, declarations and filings with Governmental Authorities,
if any) and the taking of all reasonable steps as may be necessary to avoid any Action by any
Governmental Authority, (iii) defending of any Actions challenging this Agreement or the consummation
of the transaction contemplated by this Agreement, including seeking to have any stay or temporary
restraining order entered by any court or other Governmental Authority vacated or reversed, and (iv)
executing and delivering any additional instruments necessary to consummate the transactions
contemplated hereby and to fully carry out the purposes of this Agreement.

                          (d)      The Sellers, on the one hand, and Buyer, on the other hand shall consult
and cooperate with one another and consider in good faith the view of one another and, (i) shall promptly
inform each other of any communication from any Governmental Authority concerning this Agreement,
the transactions contemplated hereby, and any filing, notification or request for approval and (ii) as far as
reasonably practicable, shall permit the other to review in advance any proposed written or
non-ministerial oral communication or information submitted to any such Governmental Authority in
response thereto, subject to preexisting confidentiality agreements or to the attorney-client privilege or
work product doctrine. In addition, none of Parties shall agree to participate in any meeting with any
Governmental Authority in respect of any filings, investigation or other inquiry with respect to this
Agreement or the transactions contemplated by this Agreement, unless such Party consults with the other
Parties in advance and, to the extent permitted by any such Governmental Authority, gives the other
Parties the opportunity to attend and participate thereat, in each case to the maximum extent practicable.
Subject to restrictions under any Legal Requirements, each of Buyer, on the one hand, and the Sellers, on
the other hand, shall promptly furnish the other with copies of all correspondence, filings and
communications (and memoranda setting forth the substance thereof) between it and its Affiliates and
their respective Representatives on the one hand, and the Governmental Authority or members of its staff
on the other hand, with respect to this Agreement, the transactions contemplated hereby (excluding
documents and communications which are subject to preexisting confidentiality agreements or to the
attorney-client privilege or work product doctrine or which refer to valuation of the RS Business) or any
such filing, notification or request for approval. Each Party shall also furnish the other Party with such
necessary information and assistance as such other Party and its Affiliates may reasonably request in
connection with their preparation of necessary filings, registration or submissions of information to the
Governmental Authority in connection with this Agreement, the transactions contemplated hereby and
any such filing, notification or request for approval.

                    (e)     In the event any Action by any Governmental Authority or other Person
is commenced which questions the validity or legality of the transactions contemplated hereby, seeks


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damages in connection therewith, or would delay, restrain, prevent, enjoin or otherwise prohibit
consummation of the transactions contemplated hereby, the Parties agree to cooperate and use their
reasonable best efforts to resist and defend against such Action and, if an Order is entered or issued, or
becomes reasonably foreseeable to be entered or issued, in any such Action, to use their reasonable best
efforts to have such Order vacated, modified, reversed, suspended, prevented, eliminated or removed so
as to permit such consummation on a schedule as close to possible to that contemplated by this
Agreement, and to cooperate reasonably regarding any other impediment to the consummation of the
transactions contemplated hereby.

                         (f)      Notwithstanding anything herein to the contrary:

                                   (i) none of Buyer’s Affiliates or equity holders shall be required to, or
be required to agree to: (A) sell, divest or dispose of, any assets, products, businesses, equity or interests;
(B) any conditions relating to, or changes or restrictions in, any such assets, products, businesses, equity
or interests; (C) any modification or waiver of the terms and conditions of this Agreement; or (D) any
other condition that requires Buyer or Buyer’s Affiliates or equity holders to take any action or that limits
the freedom of action with respect to any assets, products, businesses, equity or interests of the Buyer’s
Affiliates or equity holders; and

                                 (ii) and in furtherance of its efforts under this Section 7.3, Buyer agrees
to take any and all action necessary to eliminate each and every impediment under any antitrust law that
is asserted by any Governmental Authority so as to enable the Parties hereto to close transactions
contemplated by this Agreement prior to the Outside Date, including negotiating, committing to, and
effecting by consent decree or otherwise: (A) the sale, divestiture or disposition of, any assets, products,
businesses, equity or interests of Buyer or the RS Business (after it is acquired); (B) any conditions
relating to, or changes or restrictions in, any of the RS Business’s assets, products, businesses or
interests; (C) any modification or waiver of the terms and conditions of this Agreement; or (D) any other
condition that requires Buyer to take any action or that limits the freedom of action with respect to any
assets, products, businesses or interests of Buyer or the RS Business (after it is acquired); provided,
however, that Buyer shall not be required to propose, execute, carry out or agree or submit to any action
or remedy that individually or in the aggregate would reasonably be expected to have a material adverse
effect on the business, operations, financial condition or results of operations of the RS Business (taken
as a whole); and

                                  (iii) Neither any Seller nor any Affiliate thereof shall agree to any sale,
divestiture or disposal of, any assets, products, businesses or interests of any Person or the RS Business
or any material restriction on any Person or the RS Business without the prior written consent of Buyer
(which shall not be unreasonably withheld, conditioned or delayed) and provided further that any such
action may, at the discretion of the Sellers, be conditioned upon the Closing.

                 7.4     Bankruptcy Court Matters.

                      (a) Bidding Procedures Motion. In connection with the transactions
contemplated by this Agreement, Sellers shall have filed with the Bankruptcy Court after the
execution of this Agreement by each of the Parties, but in any event, within one (1) day
following the Petition Date, the Bidding Procedures Motion, including the Bidding Procedures
Order and appropriate supporting declarations, in each case, in form and substance acceptable to
Buyer, and which identifies Buyer as the “stalking horse” for the Acquired Assets.




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                      (b) Bankruptcy Procedures Hearing and Bidding Procedures Order. The
Bankruptcy Court shall have entered the Bidding Procedures Order, in form and substance
reasonably acceptable to Buyer and Sellers, no later than November 19, 2024.

                        (a)     (c) Qualified Bids. Pursuant to the Bidding Procedures Order, and as
modified by that certain Notice of Amended Timeline for Recovery Solutions / Consolidated Sale
Transaction [Docket No. 563], any and all Qualified Bids respectingin respect of the Acquired Assets
shall have been submitted on or prior to December 13January 6, 20242025 (the “Bid Deadline”). If any
Qualified Bid (other than this Agreement) is submitted prior to the Bid Deadline, the Sellers shall have
commenced the Auction on or prior to December 16January 7, 20242025.

                        (b)     (d) Sale Order. The Bankruptcy Court shall have entered the Sale Order
on or prior to December 23January 8, 20242025, which shall be in form and substance reasonably
acceptable to Buyer and the Sellers and consistent with Section 7.7 hereof.

                         (c)      (e) Contracts. To the extent applicable, the Sellers shall serve on all
non-Seller counterparties to all of their Contracts a notice specifically stating that the Sellers are or may
be seeking the assumption and assignment of such Contracts and shall notify such non-Seller
counterparties of the deadline for objecting to the Cure Costs, if any, which deadline shall as set forth in
the Bidding Procedures Order.

                          (d)     (f) Bankruptcy Filings. From and after the Original Execution Date and
until the Closing Date, the Sellers shall provide draft copies of all material (i) motions, (ii) documents,
and (iii) other pleadings to be filed in the Chapter 11Bankruptcy Cases (excluding any retention
applications) to the Ad Hoc Group Advisors (as defined in the Restructuring Support Agreement) as soon
as reasonably practicable, but in no event less than two (2) Business Days prior to the date when the
Company intends to file such documents, and, without limiting any approval rights set forth herein,
consult in good faith with the Ad Hoc Group Advisors regarding the form and substance of any such
proposed filing; provided, however, that in the event that not less than two (2) Business Days’ notice is
impossible or impracticable under the circumstances, the Company shall provide draft copies of any
motions or other pleadings (excluding any retention applications) to the Ad Hoc Group Advisors as soon
as otherwise practicable before the date when the Company Parties intends to file any such motion or
other pleading. In the event the entry of the Bidding Procedures Order or the Sale Order shall be
appealed, the Sellers shall use their reasonable best efforts to defend such appeal. The Sellers shall
comply with all notice requirements (i) of the Bankruptcy Code and the Federal Rules of Bankruptcy
Procedure or (ii) imposed by the Sale Order, in each case, in connection with any pleading, notice or
motion to be filed in connection herewith. The Sellers shall use their reasonable best efforts to cause the
Bidding Procedures Order and the Sale Order to be entered and become a Final OrdersOrder as soon
as practicable after entry. Notwithstanding the foregoing, nothing in this Agreement precludes the Parties
from consummating the transactions contemplated by this Agreement if the Sale Order has been entered
and has not been stayed and Buyer, in its sole discretion, waives in writing the condition set forth in
Section 9.79.6 that the Sale Order be a Final Order.

                7.5    Expense Reimbursement. Notwithstanding anything in this Agreement to the
contrary, from and after entry ofin accordance with the Bidding Procedures Order, the Sellers agree to
pay Buyer the Expense Reimbursement in the event this Agreement is terminated if and to the extent
provided in Section 11.2. The Parties acknowledge and agree that the terms and conditions set
forth in Section 11.2 with respect to the payment of the Expense Reimbursement shall become


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operative only if and to the extent that the Bankruptcy Court enters the Bidding Procedures Order
approving, among other things, such Expense Reimbursement.

                7.6      Disclosure Schedules; Notice of Developments.

                         (a)     Completion of Schedules. The Parties acknowledge that the
Disclosure Schedules may not be complete as of If Buyer determines to include as an Acquired
Company one or more Additional Acquired Companies pursuant to Section 2.7, then, following receipt of
such determination by Buyer, the Sellers shall be permitted until the date that is three (3) Business Days
prior to the Closing to amend the Disclosure Schedules to disclose any additional matters required to be
disclosed in respect of the representations and warranties set forth in Article 5 as a result of the addition
of any Additional Acquired Company (each such additional disclosure, an “Additional Acquired
Company Disclosure”). Each Additional Acquired Company Disclosure shall for all purposes of this
Agreement be deemed to have been made as of the Effective Date and included in the Disclosure
Schedule as of the execution of this Agreement, and, for the Parties hereby covenant that they each
will use commercially reasonable efforts to complete and deliver the Disclosure Schedule as
soon as practical (but in any event prior to the date of the approval of the Bidding Procedures
Order) following the execution of this Agreement. Disclosure Schedules not included as
attachments to this Agreement on the Execution Date shall be delivered by the Party responsible
therefor as soon as possible after the Execution Date, and shall thereupon, if mutually acceptable
to the Parties, be deemed included in this Agreement as if such Disclosure Schedules were
attached to this Agreement as of the Execution Date. Buyer may assert a good faith dispute or
objection with regard to any Disclosure Schedule, and the Parties shall thereafter negotiate such
disputed Disclosure Schedule in good faith until the approval of the Bidding Procedures Order;
provided, that Sellers’ disclosure shall control in the event that Buyer does not terminate this
Agreement prior to the approval of the Bidding Procedures Order. If, following such good faith
negotiation, such dispute is not resolved and the disputed Disclosure Schedule has or would
reasonably be expected to have a material and adverse impact on Buyer’s ability to conduct the
RS Business or operate the Acquired Assets in the Ordinary Course of Business consistent with
past practices over the six (6) months preceding the Execution Date, then Buyer may terminate
this Agreement in accordance with Section 11.1(c)(vii). avoidance of doubt, Buyer may not assert
any failure of the condition to Closing set forth in Section 9.1 as a result of any Additional Acquired
Company Disclosure. A copy of the Disclosure Schedules as modified to reflect the Additional Acquired
Company Disclosure shall be furnished to the Committee contemporaneously with the delivery thereof to
Buyer.

                         (b)    Notice of Developments. The Sellers shall promptly notify Buyer of, and
furnish Buyer any information it may reasonably request with respect to, (i) any notice or other
communication from any Person alleging that the consent of such Person is or may be required in
connection with the Acquired Assets or the transactions contemplated by this Agreement, (ii) subject to
the terms of Section 7.3, any notice or other communication received from any Governmental Authority
in connection with the transactions contemplated by this Agreement or relating to the RS Business, the
Acquired Assets or the Assumed Liabilities, (iii) any material breach discovered by the Sellers, or of
which the Sellers become aware, of its representations, warranties or covenants contained in this
Agreement or any of the other Transaction Documents which material breach or material failure to
perform would result in the Sellers being unable to satisfy a condition set forth in Section 9.1 or Section
9.2, or (iv) any Actions commenced relating to the Acquired Assets, the Assumed Liabilities or the RS
Business of which it receives notice or any other fact, circumstance or event, the existence or occurrence
of which the Sellers acquire knowledge, (A) which in any manner challenges or seeks to prevent, enjoin,


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materially alter or materially delay the transactions contemplated by this Agreement, (B) has resulted in,
or would reasonably be expected to result in, a material breach of a representation or warranty made by
the Sellers under this Agreement or (C) has resulted in, or would be reasonably expected to result in, the
failure of any condition set forth in Article 9 to be satisfied by the Outside Date.

                 7.7      Sale Free and Clear. The Sellers acknowledge and agree, and the Sale Order
shall provide that, on the Closing Date and concurrently with the Closing, all then existing or thereafter
arising obligations, Liabilities and Liens (including, for the avoidance of doubt, all successor liability,
including any successorship obligations with respect to any Plan) of, against or created by the Sellers or
their bankruptcy estate, shall be fully released from and with respect to the Acquired Assets. On the
Closing Date, the Acquired Assets shall be transferred to Buyer and/or one or more Buyer Designees, as
applicable, free and clear of all obligations, Liabilities and Liens (including, for the avoidance of doubt,
all successor liability, including any successorship obligations with respect to any Plan or Contract),
other than the Permitted Liens and the Assumed Liabilities.

                  7.8       Alternate Bidder. If an Auction is conducted, and Buyer is not the Successful
Bidder at the Auction but is the next highest bidder after the Successful Bidder at the Auction, Buyer
shall serve as an Alternate Bidder and keep its bid to consummate the transactions contemplated by this
Agreement on the terms and conditions set forth in this Agreement (as the same may be improved upon
in the Auction) open and irrevocable (subject to the terms and conditions of this Agreement),
notwithstanding any right of Buyer to otherwise terminate this Agreement pursuant to Article 11 hereof,
until the earlier of (i) thirty (30) days after the date of the Sale Hearing or (ii) the first Business Day after
the closing of a transaction with a Successful Bidder for the Acquired Assets that is not Buyer (the
“Alternate Bid Expiration Date”); provided, however, that if prior to the Alternate Bid Expiration Date,
a Successful Bidder for the Acquired Assets that is not Buyer fails to consummate its transaction as a
result of a breach or failure to perform on the part of such Successful Bidder, or because a condition in
such Successful Bidder’s purchase agreement cannot otherwise be met, and the purchase agreement with
such Successful Bidder is terminated, Buyer (as the Alternate Bidder) will be deemed to have the new
prevailing bid, and the Sellers will be authorized, without further order of the Bankruptcy Court, to, and
Buyer (as the Alternate Bidder) shall, subject to the terms and conditions of this Agreement, consummate
the transactions contemplated by this Agreement by the later of (x) ten (10) days of becoming the
Successful Bidder and (y) sixty (60) days after the date of the Sale Hearing, on the terms and conditions
set forth in this Agreement (as the same may be improved upon in the Auction).

                  7.9      Consents. The Sellers shall use reasonable best efforts to obtain or provide, and
shall cause each Acquired Company to use reasonable best efforts to obtain or provide, at the earliest
practicable date, each consent, waiver, approval, order, Permit (including obtaining a replacement
Unified Program Facility Permit) or authorization of, or declaration or filing with, or notification to, any
Person or Governmental Authority required or necessary to consummate the transactions contemplated
by this Agreement, including each consent, waiver, approval, order, Permit or authorization of, or
declaration or filing with, or notification listed on Schedule 7.9 (including consents from each landlord
party to the Leases requiring the consent of such landlord party in connection with the consummation of
the transaction contemplated herein). All such consents, waivers, approvals, orders, Permits,
authorizations, declarations, filings, or notifications shall be in writing and in form and substance
reasonably satisfactory to Buyer, and executed counterparts thereof shall be delivered to Buyer promptly
after the receipt thereof or making thereof. Notwithstanding anything to the contrary in this Agreement,
none of the Sellers, Buyer nor any of their respective Affiliates shall be required to pay any amounts in
connection with obtaining any such consents, waivers, approvals, orders, Permits, authorizations,
declarations, filings, or notifications.

                 7.10     Treatment of Shared Contracts.

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                          (a)      From the date hereofOriginal Execution Date until the date that is
six (6) months following the Closing Date, Sellerthe Sellers and Buyer shall, and shall cause their
respective Affiliates to, use their reasonable best efforts to work together (and, if necessary and desirable,
to work with the third party to any Shared Contract) to divide, partially assign, modify, or replicate (in
whole or in part) the respective rights and obligations of the RS Business and the Corrections Business
under and in respect of any Shared Contract, such that, following the Closing, (i) Buyer, an Affiliate of
Buyer or an Acquired Company is the beneficiary of the rights and is responsible for the obligations
related to the portion of such Shared Contract that primarily involves or primarily relates to the RS
Business (the “Buyer Portion”), which rights shall be an asset of and which obligations shall be a liability
of Buyer, an Affiliate of Buyer or an Acquired Company, and (ii) the Seller or an Affiliate of the Seller
(other than an Acquired Company) is the beneficiary of the rights and is responsible for the obligations
related to such Shared Contract relating to the Corrections Business (the “Seller Portion”), which rights
shall be an asset of and which obligations shall be a liability of the Seller or an Affiliate of the Seller
(other than an Acquired Company). The Parties acknowledge and agree that each Shared Contract shall
remain with the Seller or an Affiliate thereof (other than an Acquired Company) and no Shared Contract
is an asset of an Acquired Company or an Acquired Asset.

                          (b)      Nothing in this Agreement shall require the division, partial assignment,
modification, or replication of a Shared Contract unless and until any necessary consents are obtained or
made, as applicable. If the Seller and Buyer or their respective Affiliates, as applicable, are not able to
enter into an arrangement to divide, partially assign, modify, or replicate (in whole or in part) the rights
and obligations (such that the Buyer Portion and the Seller Portion of such Shared Contract are fully
segmented or separated) under and in respect of any such Shared Contract prior to the Closing, the
Closing shall, subject to the satisfaction (or, to the extent permitted by applicable Legal Requirements,
the waiver by the parties entitled to the benefit thereof) of the conditions set forth in Article 9 and Article
10 (other than those conditions which by their terms are to be satisfied at the Closing but subject to the
satisfaction at the Closing or waiver of such conditions), nonetheless take place on the terms set forth
herein and, thereafter and until the earlier of (x) the date that is six (6) months following the Closing and
(y) the date on which the division, partial assignment, modification or replication of such Shared
Contract is effected, (the period ending on the date that is the earlier of (x) and (y), the “Sharing
Period”), the Seller and Buyer shall, and shall cause their respective Affiliates to, cooperate in any
commercially reasonable arrangement to provide that (1) Buyer, an Affiliate of Buyer or an Acquired
Company shall receive the interest in the benefits and obligations of the Buyer Portion under and in
respect of such Shared Contract and (2) the applicable Seller or an Affiliate of such Seller (other than an
Acquired Company) shall receive the interest in the benefits and obligations of the Seller Portion under
and in respect of such Shared Contract.; provided however, that, except as otherwise agreed in a written
commercial arrangement between the Buyer and the applicable Seller (or Affiliate thereof), (A) all fees,
costs and expenses incurred by the Party who retains the applicable Shared Contract during the Sharing
Period to deliver to the other Party the Buyer Portion or Seller Portion, as applicable (including in respect
of all amounts required to be paid to the counterparty to such Shared Contract in order to receive any
goods or services constituting the Buyer Portion or Seller Portion, as applicable) shall by promptly
reimbursed by such other Party, and (B) the Party who retains the applicable Shared Contract shall have
no liability the obligations in respect of the Buyer Portion or Seller Portion, as applicable, of such other
Party and shall be indemnified by such other Party for any losses suffered as a result of such obligations.

                        (c)      The expiration of the Sharing Period for a Shared Contract shall
constitute a completed “transaction” of any service provided by means of such Shared Contract under the
Transition Services Agreement, such that the Service Period for such service shall expire. From and after
the expiration of the Sharing Period, the Party that retains the applicable Shared Contract shall cease
(including under the Transition Services Agreement) to have any further obligation to provide the Buyer

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Portion or the Seller Portion, as applicable, to any other Party and such other Party shall cease to have
any further right, entitlement or interest in respect of the Buyer Portion or the Seller Portion, as appliable,
of such Shared Contract.

                           (d)      (b) Each of the Buyer and the Sellers shall, and shall cause each of their
Affiliates to, (i) treat for all tax purposes the portion of each Shared Contract inuring to its respective
businesses as assets owned by, and/or Liabilities of, as applicable, such party, not later than the Closing
Date, and (ii) neither report nor take any Tax position (on a Tax Return or otherwise) inconsistent with
such treatment (unless required by applicable Legal Requirements). Nothing herein is intended to create
a partnership, joint venture, agency, or other relationship creating fiduciary or quasi-fiduciary duties or
similar duties and obligations or to subject the Parties to joint and several or vicarious liability or to
impose any duty, obligation, or liability that would arise therefrom.

                         (e)     (c) Nothing in this Section 7.10 shall (i) require either Party hereto to
contribute capital, incur any obligation, make any payment or grant any consideration or concession in
any form (including providing any letter of credit, guaranty or other financial accommodation) to any
Person (other than reasonable and documented out-of-pocket expenses, attorneys’ fees and recording or
similar fees, all of which shall be reimbursed as promptly as reasonably practicable by the party on
whose behalf such expenses and fees are incurred) or (ii) prevent each of the Buyer and the Sellers from
mutually agreeing to exclude certain Contracts from the provisions of this Section 7.10.

                           (f)    Except as otherwise agreed in writing between the Buyer and the
applicable Seller (or Affiliate thereof), in the event that the Parties successfully divided, partially assign,
modify or replicate (in whole or in party) a Shared Contract or the terms thereof to separate the Buyer
Portion and the Seller Portion, (i) the Sellers (and their respective Affiliates) shall have no further
obligations or liabilities in respect of such Buyer Portion (including under the Transition Services
Agreement) and the Buyer shall indemnify and hold harmless the Sellers (and their respective Affiliates)
for any losses suffered thereby from and after the Closing in respect of such Buyer Portion and (ii) Buyer
(and its Affiliates) shall have no further obligations or liabilities in respect of such Seller Portion and the
Sellers shall indemnify and hold harmless the Buyer (and its Affiliates) for any losses suffered thereby
from and after the Closing in respect of such Seller Portion. To the extent there is any conflict between
this Section 7.10 and the Transition Services Agreement, this Section 7.10 shall control.

               7.11 Transition Services Agreement Schedules. The Parties acknowledge that the
schedules to the Transition Services Agreement may not be complete as of the execution of this
Agreement, and the Parties hereby covenant that they each will use commercially reasonable
efforts to complete and deliver such schedules as soon as practical following the execution of
this Agreement (but in any event no later than five (5) Business Days prior to the Auction date).
The Parties shall negotiate in good faith to finalize such schedules.

                                                ARTICLE 8

                                         ADDITIONAL AGREEMENTS

                 8.1     Taxes.

                         (a)      Any sales Tax, use Tax or similar Tax attributable to the sale or transfer
of the Acquired Assets and not exempted under the Sale Order or by Sectionsection 1146(c) of the
Bankruptcy Code (“Sales Taxes”) and any real property transfer Tax, documentary stamp Tax or similar
Tax attributable to the sale or transfer of the Acquired Assets and not exempted under the Sale Order or


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by Sectionsection 1146(c) of the Bankruptcy Code (“Transfer Taxes”) shall be borne by the Sellers. The
Sellers and Buyer shall reasonably cooperate to (i) mitigate and/or eliminate the amount of Sales Taxes
and/or Transfer Taxes resulting from the transactions contemplated herein and (ii) timely prepare and file
any Tax Returns relating to such Sales Taxes and/or Transfer Taxes, including any claim for exemption
or exclusion from the application or imposition of any Sales Taxes and/or Transfer Taxes. Buyer shall be
responsible for preparing and filing all necessary Tax Returns or other documents with respect to Sales
Taxes and Transfer Taxes, provided, however, that in the event any such Tax Return requires execution
by the Sellers, the Party responsible for preparing the Tax Return shall deliver it to the Sellers not less
than ten (10) days before the due date thereof, and the Sellers shall promptly execute such Tax Return
and return it to the Party responsible for filing it.

                          (b)    All Liability for any ad valorem Taxes (including, for the avoidance of
doubt, real or personal property Taxes, together with all assessments (special or general) or any similar
changes or impositions) (the “Apportioned Taxes”) with respect to the Acquired Assets for the portion of
the Straddle Period that ends on the Closing Date (a “Pre-Closing Tax Period”) shall be borne by the
Sellers. All Liability for any Apportioned Taxes with respect to the Acquired Assets for a Tax period or
year, or portion thereof that begins after the Closing Date (a “Post-Closing Tax Period”) shall be borne
by Buyer. The total amount of Apportioned Taxes allocable to the Pre-Closing Tax Period shall be the
product of (i) such Tax for the entirety of such Straddle Period, multiplied by (ii) a fraction, the
numerator of which is the number of days for such Straddle Period included in the Pre-Closing Tax
Period and the denominator of which is the total number of days in such Straddle Period, and the balance
of Apportioned Taxes shall be allocable to the to the Post-Closing Tax Period. At the Closing,
Apportioned Taxes with respect to each Acquired Asset for the applicable Straddle Period shall be
prorated in accordance with the foregoing provisions based on the Tax assessment for such Acquired
Asset for such Straddle Period, if available, or if otherwise, based on the Apportioned Taxes paid with
respect to such Acquired Asset during the preceding Tax year. With respect to any not yet delinquent
Apportioned Taxes relating to a Straddle Period or Pre-Closing Tax Period, Buyer will be required to
remit payment of all such Taxes to the applicable Governmental Authority. With respect to any
Apportioned Taxes relating to a Straddle Period or Pre-Closing Tax Period that are delinquent as of the
Closing Date, the amount of which is known and not subject to dispute, Buyer shall either pay the
delinquent amount of such Taxes directly to the applicable Governmental Authority at the Closing or, at
Buyer’s option, to such title company as designated by Buyer at the Closing, for further payment by it to
the applicable Governmental Authority. Notwithstanding anything to the contrary in this agreement,
Taxes referred to in this Section 8.1(b) shall not include any Taxes of the Acquired Companies.
“Straddle Period” shall mean any Tax period or year commencing on or before, and ending after, the
Closing Date.

                        (c)      Notwithstanding anything in this Agreement to the contrary, the amount
of income Taxes of any Subsidiary of the Sellers the Equity Interests of which are Acquired Assets for
any Straddle Period that is allocable to a Pre-Closing Tax Period shall be determined based on a closing
of the books, assuming that the taxable year of each such Subsidiary ends as of the end of the Closing
Date.

                         (d)      Buyer and the Sellers shall, and shall cause their respective Affiliates to,
cooperate and agree to furnish or cause to be furnished to each other, upon reasonable request, as
promptly as practicable, such information and assistance relating to the RS Business and the Acquired
Assets (including access to books and records and Tax Returns and related working papers dated before
Closing) as is reasonably necessary for the filing of all Tax Returns, the making of any election relating
to Taxes, the preparation for any audit by any Taxing Authority, the prosecution or defense of any
claims, suit or proceeding relating to any Tax, and the claiming by Buyer of any U.S. federal, state, local
or non-U.S. business Tax credits or incentives that Buyer may qualify for in any of the jurisdictions in

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which any of the Acquired Assets are located; provided, however, that neither Buyer nor any Seller shall
be required to disclose the contents of its income Tax Returns to any Person. Any expenses incurred in
furnishing such information or assistance pursuant to this Section 8.1(d) shall be borne by the Party
requesting it.

                8.2      Bulk Sales. The Parties intend that the Sale Order shall provide that compliance
with the Legal Requirements relating to bulk sales and transfers is not necessary or appropriate under the
circumstances. In furtherance of the foregoing, each Party hereby waives compliance by the Parties with
“bulk sales,” “bulk transfers” or similar Legal Requirements in respect of the transactions contemplated
by this Agreement.

                 8.3       Wrong Pockets. Following the Closing, without effect on the Purchase Price, (i)
the Sellers shall promptly transfer to Buyer (A) any payment or funds which, per the terms of this
Agreement, belongs to Buyer and is received by the Sellers (directly or indirectly) after the Closing and
(B) copies of any substantive communications received by the Sellers after the Closing, including from a
Governmental Authority or customer, supplier, distributor, landlord, licensee, service provider or other
business partner, to the extent related to the RS Business, and (ii) Buyer shall promptly transfer to the
Sellers (A) any payment or funds which, per the terms of this Agreement, belongs to the Sellers and is
received by Buyer (directly or indirectly) after the Closing and (B) copies of any substantive
communications received by Buyer after the Closing, including from a Governmental Authority or
customer, supplier, distributor, landlord, licensee, service provider or other business partner, to the extent
related to the Corrections Business or any other business conducted by or matter pertaining to the Sellers
and their Affiliates that is not related to the RS Business.

                  8.4     Assumed Contracts: Adequate Assurance and Performance. Buyer shall provide
adequate assurance of the future performance by Buyer of each Assumed Contract as required under
Sectionsection 365 of the Bankruptcy Code. Buyer and the Sellers agree that they will promptly take all
actions reasonably required to assist in obtaining a Bankruptcy Court finding that there has been an
adequate demonstration of adequate assurance of future performance under the Assumed Contracts
pursuant to Sectionsection 365 of the Bankruptcy Code, such as furnishing timely requested and
factually accurate affidavits, non-confidential financial information and other documents or information
for filing with the Bankruptcy Court and making Buyer’s and the Sellers’ employees and representatives
available to testify before the Bankruptcy Court.

                8.5      Employee Matters.

                       (a)      Pre-Closing Transfer of Employees. Prior to the Closing, the Sellers will
transfer the employment of all employees included on Schedule 8.5(a) to one of the Acquired Companies,
such that an Acquired Company will be such employee’s direct employer as of the Closing.

                         (b)     Employees. Upon the Closing, Employees will remain employees of the
Acquired Companies on the same terms and conditions of employment (the Employees following the
Closing, the “Buyer Employees”). As of the Closing, Buyer shall assume and continue to adhere to any
and all collective bargaining agreements and all obligations related thereto governing the employment of
the Buyer Employees. Notwithstanding the foregoing, nothing herein will, after the Closing Date, except
as otherwise provided in any collective bargaining agreement, Acquired Company Plan or Plan that is an
Assumed Contract, in each case, that covers any Buyer Employees following the Closing Date, impose
on Buyer any obligation to retain any Buyer Employee in its employment for any amount of time or on
any terms and conditions of employment.




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                         (c)      Service Crediting. From and after the Closing Date, Buyer shall, or shall
cause Buyer’s Designees to, recognize, for all purposes of under any and all plans, programs, and/or
arrangements established or maintained by Buyer or any Buyer Designees, each Buyer Employee’s
service with the Sellers and their controlled Affiliates and any of their respective predecessors prior to
the Closing Date, as if such service were with Buyer or any Buyer Designee, to the same extent such
service was recognized by the Sellers and their controlled Affiliates prior to the Closing Date; provided,
however, the foregoing shall not apply (i) with respect to benefit accrual, vesting, service credits,
participation eligibility and benefits entitlements under any defined benefit pension, equity or
equity-based, change in control, transaction, retention, nonqualified deferred compensation, or
post-termination or retiree health or welfare benefits, or (ii) to the extent that its application would result
in a duplication of benefits.

                         (d)    Health and Welfare. Buyer or Buyer’s Designee shall (i) use its
reasonable best efforts to cause each Buyer Employee (and his or her “eligible dependents”) to be
covered immediately upon the Closing or, if later, the end date of benefits coverage pursuant to the
Transition Services Agreement, by a group health plan or plan of the Buyer or its Affiliates, (ii) use its
reasonable best efforts such that the benefit plans do not limit or exclude coverage on the basis of any
pre-existing condition of such Buyer Employee or dependent or on the basis of any other exclusion or
waiting period not in effect under the applicable group health plan, and (iii) use its commercially
reasonable efforts to provide each Buyer Employee full credit, for the plan year in which the Closing
Date occurs, for any deductible or co-payment already incurred by the Buyer Employee under the
applicable group health plan and for any other out-of-pocket expenses that count against any maximum
out-of-pocket expense provision of the applicable group health plan or Buyer or any Buyer Designee’s
group health plans.

                         (e)       Retirement. Effective at the Closing, Buyer or any Buyer Designee shall
use its reasonable best efforts to cause each Buyer Employee who, as of immediately prior to the Closing,
was eligible to participate in a Plan that is a tax-qualified defined contribution plan (collectively, the
“Seller 401(k) Plan”) to be eligible to participate in Buyer or any Buyer Designee’s tax-qualified defined
contribution plan (the “Buyer 401(k) Plan”). Buyer or any Buyer Designee shall cause the Buyer 401(k)
Plan to accept “eligible rollover distributions” (as such term is defined under Section 402 of the Code),
including in-kind rollover of outstanding loan notes, of Buyer Employees from the Seller 401(k) Plan.

                        (f)     Access to Information. After the Original Execution Date, the Sellers
shall provide Buyer and its Affiliates with access to the Employees and with information, including
employee records and data, including Plan data, reasonably requested by Buyer and such Affiliates,
except as otherwise prohibited by any Legal Requirement.

                        (g)      Payment of Compensation and Liabilities. At or prior to Closing, or as
soon as reasonably practicable thereafter in accordance with the Sellers’ or the Acquired Companies’
payroll practices and pursuant to the terms of the applicable Plan, but in all events in accordance with
applicable Legal Requirements, the Sellers or the Acquired Companies will pay, or cause to be paid, to
all Employees all compensation to which such Employees are entitled to receive prior to and on the
Closing Date, and satisfy all payroll taxes related thereto.

                        (h)     Change in Control or Similar Benefits. Prior to the Closing Date and in
accordance with the terms of such Plan, applicable Legal Requirements and any collective bargaining
agreements, the Sellers shall amend, or cause to be amended, all Plans and take all actions as may be
required or necessary to provide that the transactions contemplated hereunder shall not constitute a



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“change in control” or similar transaction for purposes of providing or accelerating benefits or payments
under any such Plans.

                          (i)     Payroll Taxes. For purposes of payroll Taxes with respect to Buyer
Employees, the Sellers shall treat the transaction contemplated by this Agreement as a transaction
described in Treasury Regulations Sections 31.3121(a)(1)-1(b)(2) and 31.3306(b)(1)-(b)(2) (i.e., Buyer
shall be treated as a successor for payroll Tax purposes).

                         (j)      No Third-Party Beneficiaries; Employment Status. All provisions
contained in this Agreement with respect to employee benefit plans or compensation of Buyer Employees
are included for the sole benefit of the respective parties hereto. Nothing contained herein (i) shall confer
upon any former, current or future employee of the Sellers, any Acquired Company or Buyer or any legal
representative or beneficiary thereof or any union, any rights or remedies, including any right to
employment or continued employment, of any nature, for any specified period, (ii) shall cause the
employment status of any former, present or future employee of the Sellers, any Acquired Company or
Buyer to be other than terminable at will, (iii) shall confer any third party beneficiary rights upon any
Buyer Employee or any dependent or beneficiary thereof or any heirs or assigns thereof, (iv) shall be
construed to establish or be treated as an amendment or modification of any employee benefit plan,
program, agreement, arrangement, or policy, or (v) shall be construed to limit the ability of Buyer or any
of its Affiliates to amend, modify, terminate, or adopt any employee benefit plan, program, agreement,
arrangement, or policy.

                         (k)    WARN Act. With respect to the Buyer Employees, Buyer will have full
responsibility under the WARN Act relating to any act or omission of Buyer after the Closing Date. With
respect to the Employees, the Sellers will have full responsibility under the WARN Act relating to any
act or omission of the Sellers prior to or on the Closing Date. The Sellers will have full responsibility
under the WARN Act relating to any act or omission of the Sellers after the Closing Date.

                        (l)     Additional Employee Matters. Buyer is not and shall not be obligated to,
and does not, accept or adopt any wage rates, employee benefits, employee policies, or any other terms
and conditions of employment except as required by the terms of any collective bargaining agreement
covering the Buyer Employees or as expressly agreed to herein.

                         (m)     For the avoidance of doubt, this Section 8.5 is subject to Sections 2.3
and 2.4.

                  8.6     Post-Closing Books and Records and Personnel. For a period of six (6) years
after the Closing Date, each Party hereto shall provide the other Parties hereto (and their respective
Representatives) with access, at reasonable times and in a manner so as not to unreasonably interfere
with their normal business, solely to the books and records acquired pursuant to this Agreement as of the
Closing Date so as to enable Buyer and the Sellers to prepare Tax, financial or court filings or reports, to
respond to court orders, subpoenas or inquiries, investigations, audits or other proceedings of
Governmental Authorities, and to prosecute and defend legal Actions or for other like purposes,
including Claims, objections and resolutions. If any Party desires to dispose of any such records, such
Party shall, thirty (30) days prior to such disposal, provide the other Party with a reasonable opportunity
to remove such records to be disposed of at the removing Party’s expense.

                 8.7     Satisfaction of Certain Estate Liabilities. At or prior to Closing, the Sellers or
the Acquired Companies, as applicable, will pay and satisfy, or cause to be paid or satisfied, all
Liabilities, contingent or otherwise, set forth on Schedule 8.7 in accordance with the DIP Financing
Orders and the Approved Budget.


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                                                ARTICLE 9

                     CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER TO CLOSE

               The obligations of Buyer to consummate the transactions contemplated by this
Agreement are subject to fulfillment, at or prior to the Closing, of each of the following conditions, any
one or more of which may be waived by Buyer, in its sole and absolute discretion:

                  9.1      Accuracy of Representations. The representations and warranties of the Sellers
set forth in this Agreement shall be true and correct as of the Closing Date, with the same effect as
though such representations and warranties had been made on and as of the Closing Date (provided that
representations and warranties which are confined to a specified date shall speak only as of such date), in
each case, unless the effect of all such breaches of representations and warranties taken together would
not have, or be reasonably likely to have, in the aggregate, a Material Adverse Effect; provided, that the
representations and warranties of the Sellers set forth in Sections 5.1, 5.2, 5.4, 5.18 and 5.23 shall be true
and correct in all material respects as of the Closing Date as though such representations and warranties
had been made on and as of the Closing Date (provided that any such representations and warranties
which are confined to a specified date shall speak only as of such date). Buyer shall have received a
certificate of the Sellers to such effect signed by a duly authorized officer thereof.

                  9.2      Sellers’ Performance. The covenants and agreements that the Sellers are required
to perform or to comply with pursuant to this Agreement at or prior to the Closing shall have been
performed and complied with in all material respects; provided, the covenants and agreements set forth in
Section 8.7 shall have been performed and complied with in all respects. Buyer shall have received a
certificate of the Sellers to such effect signed by a duly authorized officer thereof.

                9.3     No Order. No Governmental Authority shall have enacted, issued, promulgated,
decreed or entered any Order, which is in effect and has the effect of restraining or preventing (or
delaying beyond the Outside Date) the consummation of or imposing material modifications on the
transactions contemplated by this Agreement.

                9.4    Governmental Authorizations. To the extent that consent under the HSR Act or
any other applicable Antitrust Law is required or at the discretion of the Buyer deemed advisable, any
waiting period (and any extension thereof) under the HSR Act shall have expired or shall have been
terminated.

                 9.5     Sellers’ Deliveries. Each of the deliveries required to be made to Buyer pursuant
to Section 4.3 shall have been so delivered.

               9.6 DIP Financing Orders. The Bankruptcy Court shall have entered the Interim
DIP Financing Order and the Final DIP Financing Order, and the Interim DIP Financing Order
and the Final DIP Financing Order shall have become Final Orders.

                9.6     9.7 Sale Order. The Bankruptcy Court shall have entered the Sale Order in form
and substance, including with respect to all findings of fact and conclusions of law, reasonably
acceptable to Buyer, and the Sale Order shall have become a Final Order.

               9.7    9.8 Assumed Contracts. The Bankruptcy Court shall have approved and
authorized the assumption and assignment of each Assumed Contract, except as would not have a


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material effect on the RS Business from and after the Closing, including the assignment and assumption
of the Assumed Contracts set forth on Schedule 9.89.7 on the terms set forth on such Schedule.

                 9.8    9.9 Consents. Buyer shall have received each consent, waiver, approval, order,
Permit or authorization of, or declaration or filing with, or notification to, any Person or Governmental
Authority listed on Schedule 9.99.8, in each case, in a form reasonably satisfactory to Buyer.

                9.9     9.10 Material Adverse Effect. Since the Original Execution Date, no Material
Adverse Effect shall have occurred.

                 9.10    9.11 No Default; No Termination Event. No Termination Event and No Event of
Default (as defined in the DIP Facility and DIP Financing Orders, as applicable) shall have occurred.

                9.11    9.12 Restructuring Support Agreement. The Restructuring Support Agreement
shall not have been terminated and shall be in full force and effect.


                                               ARTICLE 10

                CONDITIONS PRECEDENT TO THE OBLIGATION OF THE SELLERS TO CLOSE

                The obligations of the Sellers to consummate the transactions contemplated by this
Agreement are subject to fulfillment, at or prior to the Closing, of each of the following conditions, any
one or more of which may be waived by the Sellers, in their sole and absolute discretion:

                 10.1     Accuracy of Representations. The representations and warranties of Buyer set
forth in this Agreement shall be true and correct in all material respects (except that those representations
and warranties which are qualified as to materiality or Material Adverse Effect or similar expressions
shall be true and correct in all respects) as of the Closing Date with the same effect as though such
representations and warranties had been made on and as of the Closing Date (provided that
representations and warranties which are confined to a specified date shall speak only as of such date) in
each case, unless the effect of all such breaches of representations and warranties taken together would
not have, or be reasonably likely to have, in the aggregate, a material adverse effect on the ability of
Buyer to consummate the transactions contemplated by this Agreement. The Sellers shall have received a
certificate of Buyer to such effect signed by a duly authorized officer thereof.

                 10.2     Sale Order. The Bankruptcy Court shall have entered the Sale Order in form and
substance, including with respect to all findings of fact and conclusions of law, reasonably acceptable to
the Sellers, and the Sale Order shall have become a Final Order.

                10.3     Buyer’s Performance. The covenants and agreements that Buyer is required to
perform or to comply with pursuant to this Agreement at or prior to the Closing shall have been
performed and complied with in all material respects, and the Sellers shall have received a certificate of
Buyer to such effect signed by a duly authorized officer thereof.

                10.4    No Order. No Governmental Authority shall have enacted, issued, promulgated,
decreed, or entered any Order, which is in effect and has the effect of preventing (or delaying beyond the
Outside Date) the consummation of or imposing material modifications on the transactions contemplated
by this Agreement.



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                10.5   Governmental Authorizations. To the extent that consent under the HSR Act or
any other applicable Antitrust Law is required or at the discretion of the Buyer deemed advisable, any
waiting period (and any extension thereof) under the HSR Act shall have expired or shall have been
terminated.

                10.6     Buyer’s Deliveries. Each of the deliveries required to be made to the Sellers
pursuant to Section 4.2 shall have been so delivered.

                                               ARTICLE 11

                                                TERMINATION

                11.1     Termination Events. AnythingNotwithstanding anything contained in this
Agreement to the contrary notwithstanding, this Agreement may be terminated at any time prior to the
Closing only as follows:

                         (a)      by mutual written consent of the Sellers and Buyer;

                         (b)      by written notice of either the Sellers or Buyer:

                                  (i) if the Closing shall not have occurred on or prior to January
924, 2025 (the “Outside Date”); provided, however, that the Outside Date may be extended by Buyer in
its sole discretion an additional thirty (30) days if all conditions contained in Article 9 have been satisfied
other than the conditions contained in Sections 9.4 and 10.5; provided, further, that the right to terminate
this Agreement under this Section 11.1(b)(i) shall not be available to (A) any Party whose failure to
fulfill any obligation under this Agreement shall have been the cause of, or shall have resulted in, the
failure of the Closing to occur on or prior to the Outside Date or (B) Buyer at any time when Buyer could
not terminate this Agreement pursuant to Section 11.1(b)(iii);

                                   (ii) if a Governmental Authority issues a final, non-appealable ruling or
Order permanently restraining, enjoining or otherwise prohibiting the transactions contemplated hereby
where such ruling or Order was not requested, encouraged or supported by any of the Sellers or Buyer;
provided, that the right to terminate this Agreement under this Section 11.1(b)(ii) shall not be available to
any Party whose willful failure to fulfill any obligation under this Agreement shall have been the cause
of, or shall have resulted in, the failure of the Closing to occur on or prior to the Outside Date;

                                 (iii) if at the end of the Auction, Buyer is not determined by the Sellers
to be the Successful Bidder or, in accordance with Section 7.8, Alternate Bidder;

                                  (iv) upon the termination of the Restructuring Support Agreement as to
the Consenting Stakeholders; or

                               (v) if the Bankruptcy Court shall have entered an Order dismissing, or
converting into cases under Chapter 7 of the Bankruptcy Code, any of the Bankruptcy Cases;

                        (c)    by written notice of Buyer, if Buyer is not then in material breach of its
obligations under this Agreement:

                                (i) in the event of any material breach by any Seller of, or material
failure to perform, any agreements, covenants, representations or warranties contained in this Agreement


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or in the Sale Order, which material breach or material failure to perform would result in the Sellers
being unable to satisfy a condition set forth in Section 9.1 or Section 9.2 by the then-applicable Outside
Date or shall not have been cured during the fifteen (15) day period following delivery by Buyer of
notice to the Sellers of such material breach or material failure to perform;

                                 (ii) other than as contemplated by the Bidding Procedures Motion or
Bidding Procedures Order, if any Seller consummates an Alternative Transaction or seeks to have the
Bankruptcy Court enter an Order dismissing, or converting into cases under Chapter 7 of the Bankruptcy
Code, any of the Bankruptcy Cases, or appointing a trustee in any of the Bankruptcy Cases or appointing
a responsible officer or an examiner with enlarged powers (other than a fee examiner) relating to the
operation of the Sellers’ businesses pursuant to Sectionsection 1104 of the Bankruptcy Code in any of
the Bankruptcy Cases;

                                 (iii) if any of the events set forth in clauses (a) through (c) of Section 7.4
shall not have occurred by the respective dates set forth therein;

                                  (iv) upon the occurrence of any Termination Event (as defined in the
DIP Financing Orders);

                                 (v) if, for any reason, Buyer (other than as a result of its own breach of
this Agreement) is unable, pursuant to Sectionsection 363(k) of the Bankruptcy Code, to credit bid all or
a majority of the Purchase Price as set forth in Section 3.1; or

                                  (vi) a Material Adverse Effect occurs; or

                              (vii) if the Disclosure Schedules fail to be finalized in accordance
with Section 7.6(a); provided, however, Buyer may only terminate this Agreement pursuant to
this Section 11.1(c)(vii) if Buyer delivers notice of such termination within five (5) Business
Days of the date of the approval of the Bidding Procedures Order;

                         (d)     by written notice of the Sellers, if each Seller is not then in material
breach of its obligations under this Agreement in the event of any material breach by Buyer of, or
material failure to perform, any agreements, covenants, representations or warranties contained in this
Agreement or in the Sale Order, which material breach or material failure to perform would result in
Buyer being unable to satisfy a condition set forth in Section 10.1 or Section 10.3 by the then-applicable
Outside Date or shall not have been cured during the fifteen (15) day period following delivery by the
Sellers of notice to Buyer of such material breach or material failure to perform.

Each condition set forth in this Section 11.1, pursuant to which this Agreement may be terminated shall
be considered separate and distinct from each other such condition. If more than one of the termination
conditions set forth in Section 11.1 are applicable, the applicable party shall have the right to choose the
termination condition pursuant to which this Agreement is to be terminated. The Parties acknowledge
and agree that no notice of termination or extension of the Outside Date provided pursuant to this Section
11.1 shall become effective until two (2) Business Days after the delivery of such notice to the other
Parties, and only if such notice shall not have been withdrawn during such two (2) Business Day period
or otherwise become invalid.

                 11.2    Effect of Termination.

                          (a)     In the event of termination of this Agreement by Buyer or the Sellers
pursuant to this Article 11, this Agreement shall become null and void ab initio and have no effect and all

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rights and obligations of the Parties under this Agreement shall terminate without any Liability of any
Party to any other Party except (i) nothing herein shall relieve any Party from Liability for any breach of
this Agreement occurring prior to such termination and (ii) this Section 11.2 (and, to the extent
applicable to the interpretation or enforcement of such provision, Article 1 and Article 12), shall
expressly survive the termination of this Agreement.

                          (b)    The Sellers shall pay to Buyer the Expense Reimbursement by wire
transfer of immediately available funds immediately upon the earlier to occur of (i) Bankruptcy Court
approval of a Qualified Bid other than Buyer’s offer to purchase the Acquired Assets, or (ii) termination
of this Agreement (other than as a result of Buyer’s breach of any of its representations, warranties,
covenants or other agreements under this Agreement) (any such event, a “Protection Event”); provided,
however, (i) that, in the event that Buyer is the Alternate Bidder in accordance with Section 7.8 and
consummates the purchase and sale of the Acquired Assets, then the Sellers shall have no obligation to
Buyer for such Expense Reimbursement and (ii) that, if at the end of the Auction, Buyer is not
determined by the Sellers to be the Successful Bidder, the Sellers shall not be required to pay to Buyer
the Expense Reimbursement until the Alternate Bid Expiration Date. Each Seller acknowledges and
agrees that such Seller shall be jointly and severally liable for the Expense Reimbursement payable by
the Sellers pursuant to this Agreement.

                        (c)     Each Party acknowledges that the agreements contained in this Section
11.2 are an integral part of the transactions contemplated by this Agreement, that without these
agreements such Party would not have entered into this Agreement, and that any amounts payable
pursuant to this Section 11.2 do not constitute a penalty. The Expense Reimbursement shall be carved
out from and not be subject to the liens and claims granted in connection with the DIP Facility and any
documents related thereto (including the DIP Financing Orders) and the Exit Term Loan Facility
Documents.

                                              ARTICLE 12

                                          GENERAL PROVISIONS

                 12.1    Survival. All covenants and agreements contained herein which by their terms
are to be performed in whole or in part, or which prohibit actions, subsequent to the Closing shall, solely
to the extent such covenants and agreements are to be performed, or prohibit actions, subsequent to the
Closing, survive the Closing in accordance with their terms. All other covenants and agreements
contained herein, and all representations and warranties contained herein or in any certificated deliveries
hereunder, shall not survive the Closing and shall thereupon terminate, including any Actions for
damages in respect of any breach thereof.

                 12.2     Confidentiality. Following the Closing, each Seller agrees to, and to cause its
Affiliates to, treat and hold as confidential, and not use or disclose all or any of the information
concerning the RS Business, the Acquired Assets, the negotiation or existence and terms of this
Agreement or the business affairs of Buyer except disclosure of matters that become a matter of public
record as a result of the Bankruptcy Case and the filings related thereto.

                12.3     Public Announcements. Unless otherwise required by applicable Legal
Requirement or by obligations of Buyer or the Sellers or their respective Affiliates pursuant to any listing
agreement with or rules of any securities exchange, Buyer, on the one hand, and the Sellers, on the other
hand, shall consult with each other before issuing any press release or otherwise making any public
statement with respect to this Agreement, the transactions contemplated by this Agreement or the
activities and operations of the other and shall not issue any such release or make any such statement


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without the prior written consent of the other (such consent not to be unreasonably withheld, conditioned
or delayed). Notwithstanding the foregoing, Buyer shall not be restricted from making any public
announcements or issuing any press releases regarding the RS Business after the Closing, provided that
such public announcements or press releases do not reference the Sellers or their Affiliates without the
Sellers’ prior written consent.

                12.4    Notices.

                All notices, requests, demands, waivers and other communications required or permitted
to be given under this Agreement shall be in writing and shall be deemed to have been duly given if
delivered personally or sent by overnight courier or electronic mail:

                                (i) If          to          the        Sellers,         then         to:

Wellpath                                             Holdings,                                      Inc.
3340 Perimeter Hill Drive

                Wellpath Holdings, Inc.
                3340 Perimeter Hill Drive
                Nashville, Tennessee 37211
                Attn: Ben Slocum, Chief Executive Officer
                        Timothy J. Dragelin, Interim Chief Financial Officer
                        Marc Goldstone, Executive Vice President and Chief Legal Officer
                Email: bslocum@wellpath.us
                        tdragelin@wellpath.us
                        mgoldstone@wellpath.us

                with a copy (which shall not constitute notice) to:

                McDermott Will & Emery LLP
                444 West Lake Street, Suite 4000
                Chicago, IL 60606
                Attn: Felicia Gerber Perlman
                       Bradley Thomas Giordano
                       Harris Siskind
                       Eric Gilbert
                       Taylor Berman
                Email: fperlman@mwe.com
                       bgiordano@mwe.com
                       hsiskind@mwe.com
                       egilbert@mwe.com
                       tberman@mwe.com


                                (ii) If to Buyer:

                (ii) If to Buyer:

                RS Purchaser LLC
                c/o Akin Gump Strauss Hauer & Feld LLP
                2001 K Street N.W.

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           Washington, D.C. 20006
           Attn: Scott L. Alberino
           Kate Doorley
           Alan J. Feld
           Email: salberino@akingump.com
           kdoorley@akingump.com
           ajfeld@akingump.com

           with a copy (which shall not constitute notice) to:

           Akin Gump Strauss Hauer & Feld LLP
           One Bryant Park
           New York, NY 10036
           Attn: Daniel I. Fisher
           Email: dfisher@akingump.com

           and

           Akin Gump Strauss Hauer & Feld LLP
           2001 K Street N.W.
           Washington, D.C. 20006
           Attn: Scott L. Alberino
                  Kate Doorley
                  Alan J. Feld
           Email: salberino@akingump.com
                  kdoorley@akingump.com
                  ajfeld@akingump.com

                   (iii) if to either Buyer or the Sellers, then a copy (which shall not constitute
                   notice) also to the unsecured claimholders committee (the “Committee”):

           Stinson LLP
           1201 Walnut Street
           Suite 2900
           Kansas City, MO 64106
           Attn: Nicholas J. Zluticky
                   Lucas L. Schneider
                   Zachary H. Hemenway

           Email: nicholas.zluticky@stinson.com
                  lucas.schneider@stinson.com
                  zachary.hemenway@stinson.com

           and

           Proskauer Rose LLP
           Eleven Times Square
           New York, NY 10036
           Attn: Ehud Barak
                  Brian Rosen
                  Paul Possinger


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                        Daniel Desatnik
                        Grant R. Darwin
                Email: ebarak@proskauer.com
                        brosen@proskauer.com
                        ppossinger@proskauer.com
                        ddesatnik@proskauer.com
                        gdarwin@proskauer.com

or to such other person or address as any party shall specify by notice in writing to the other party. All
such notices, requests, demands, waivers and communications shall be deemed to have been received on
the date on which so personally-delivered or faxed or delivered by overnight courier or electronic mail.
Notwithstanding anything in this Agreement to the contrary, a copy of all documents and materials
furnished by or on behalf of the Sellers to the Buyer (or any representative thereof) or by or on behalf of
the Buyer to the Sellers (or any representative thereof) pursuant to this Agreement shall be
contemporaneously provided to the Committee and its counsel in the manner set forth in clause (iii)
above. The Committee shall only be entitled to notice pursuant to this Section 12.4 for so long as the
Committee remains in existence. It is expressly understood that the Committee shall not be a third-party
beneficiary of this Agreement except solely with respect to its notice rights provided in this Section 12.4.

                 12.5    Waiver. Neither the failure nor any delay by any Party in exercising any right,
power, or privilege under this Agreement or the documents referred to in this Agreement shall operate as
a waiver of such right, power or privilege, and no single or partial exercise of any such right, power, or
privilege shall preclude any other or further exercise of such right, power, or privilege or the exercise of
any other right, power, or privilege. To the maximum extent permitted by Legal Requirements, (a) no
waiver that may be given by a Party shall be applicable except in the specific instance for which it is
given, and (b) no notice to or demand on one Party shall be deemed to be a waiver of any right of the
Party giving such notice or demand to take further action without notice or demand.

                12.6     Entire Agreement; Amendment. This Agreement (including the Disclosure
Schedules and the Exhibits) and the other Transaction Documents supersede all prior agreements
(including the Original Purchase Agreement) between Buyer, on the one hand, and the Sellers, on the
other hand, with respect to its subject matter and constitute a complete and exclusive statement of the
terms of the agreements between Buyer, on the one hand, and the Sellers, on the other hand, with respect
to their subject matter. This Agreement may not be amended, modified or supplements except by a
written agreement executed by each of the Parties hereto.

                 12.7    Assignment. This Agreement, and the rights, interests and obligations hereunder,
shall not be assigned by any Party by operation of law or otherwise without the express written consent
of the other Parties (which consent may be granted or withheld in the sole discretion of such other Party);
provided, however, that Buyer shall be permitted to assign all or part of its rights or obligations
hereunder to one or more Buyer Designees without the prior consent of the Sellers so long as Buyer
stands behind the performance by such Buyer Designee of this Agreement.

                 12.8    Severability. The provisions of this Agreement shall be deemed severable, and
the invalidity or unenforceability of any provision shall not affect the validity or enforceability of the
other provisions hereof. If any provision of this Agreement, or the application thereof to any Person or
any circumstance, is invalid or unenforceable, (a) a suitable and equitable provision shall be substituted
therefor in order to carry out, so far as may be valid and enforceable, the intent and purpose of such
invalid or unenforceable provision and (b) the remainder of this Agreement and the application of such
provision to other Persons or circumstances shall not be affected by such invalidity or unenforceability.



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                12.9     Expenses. Except as otherwise expressly provided in this Agreement, including
Section 11.2, whether or not the transactions contemplated by this Agreement are consummated, the
Parties shall bear their own respective expenses (including all compensation and expenses of counsel,
financial advisors, consultants, actuaries and independent accountants) incurred in connection with this
Agreement and the transactions contemplated hereby. Any and all fees required by (i) any Governmental
Authority or any Person to obtain or for the transfer of a Permit or (ii) incurred in connection with
complying with any Antitrust Law, shall be the sole responsibility of the Sellers.

                12.10   Governing Law; Consent to Jurisdiction and Venue; Jury Trial Waiver.

                          (a)     Except to the extent the mandatory provisions of the Bankruptcy Code
apply, this Agreement shall be governed by, and construed in accordance with, the laws of the State of
New York applicable to contracts made and to be performed entirely in such state without regard to
principles of conflicts or choice of laws or any other law that would make the laws of any other
jurisdiction other than the State of New York applicable hereto.

                         (b)      Without limitation of any Party’s right to appeal any Order of the
Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to enforce the terms of this
Agreement and to decide any claims or disputes which may arise or result from, or be connected with,
this Agreement, any breach or default hereunder, or the transactions contemplated hereby and (ii) any
and all claims relating to the foregoing shall be filed and maintained only in the Bankruptcy Court, and
the Parties hereby consent and submit to the exclusive jurisdiction and venue of the Bankruptcy Court
and irrevocably waive the defense of an inconvenient forum to the maintenance of any such Action;
provided, however, that, if the Bankruptcy Case is closed, all Actions arising out of or relating to this
Agreement shall be heard and determined in a New York state court or a federal court sitting in the State
and County of New York, and the Parties hereby irrevocably submit to the exclusive jurisdiction and
venue of such courts in any such Action and irrevocably waive the defense of an inconvenient forum to
the maintenance of any such Action. The Parties consent to service of process by mail (in accordance
with Section 12.4 or any other manner permitted by law).

                  (c)  THE PARTIES HEREBY IRREVOCABLY WAIVE ALL RIGHT TO
TRIAL BY JURY IN ANY ACTION OR COUNTERCLAIM (WHETHER BASED IN CONTRACT,
TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
ACTIONS OF THE SELLERS, BUYER OR THEIR RESPECTIVE REPRESENTATIVES IN THE
NEGOTIATION OR PERFORMANCE HEREOF.

                 12.11 Counterparts. This Agreement and any amendment hereto may be executed in
two or more counterparts, each of which shall be deemed to be an original of this Agreement or such
amendment and all of which, when taken together, shall constitute one and the same instrument.
Notwithstanding anything to the contrary in Section 12.4, delivery of an executed counterpart of a
signature page to this Agreement or any amendment hereto by telecopier, facsimile or email attachment
that contains a portable document format (.pdf) file of an executed signature shall be effective as delivery
of a manually executed counterpart of this Agreement or such amendment, as applicable.

                 12.12 Parties in Interest; No Third-Party Beneficiaries; No Amendment. This
Agreement and the other Transaction Documents shall inure to the benefit of and be binding upon the
Parties and their respective successors and permitted assigns. This Agreement and the other Transaction
Documents are for the sole benefit of the Parties and their permitted assigns, and nothing herein, express
or implied, is intended to or shall confer upon any other Person any legal or equitable benefit, claim,



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cause of action, remedy or right of any kind. Notwithstanding anything to the contrary, nothing in this
Agreement shall constitute an amendment to any Plan.

                 12.13 Remedies. Neither the exercise of nor the failure to exercise a right of set-off or
to give notice of a claim under this Agreement will constitute an election of remedies or limit the Sellers
or Buyer in any manner in the enforcement of any other remedies that may be available to any of them,
whether at law or in equity.

                  12.14 Specific Performance. With respect to the Parties’ respective covenants under
this Agreement, (a) each Party recognizes that if such Party breaches or refuses to perform any such
covenant, monetary damages alone would not be adequate to compensate the non-breaching Party or
Parties for their injuries, (b) the non-breaching Party or Parties shall therefore be entitled, in addition to
any other remedies that may be available, to obtain specific performance of the terms of such covenants,
(c) if any Action is brought by the non-breaching Party or Parties to enforce such covenants, the Party in
breach shall waive the defense that there is an adequate remedy at law, (d) each Party agrees to waive any
requirement for the security or posting of any bond in connection with any Action seeking specific
performance of such covenants and (e) each Party agrees that the only permitted objection that it may
raise in response to any action for specific performance of such covenants is that it contests the existence
of a breach or threatened breach of such covenants.

                12.15 Sellers’ Representative; Reliance. The Sellers, jointly and severally, hereby
represent and warrant that the statements in this Section 12.15 are correct and complete as of the Original
Execution Date:

                           (a)    The Company has been appointed, and is authorized, and empowered to
act, in connection with, and to facilitate the consummation of, the transactions contemplated by this
Agreement and the Transaction Documents and in connection with any activities to be performed by the
Sellers under this Agreement and the Transaction Documents, for the purposes and with the powers, and
authority set forth in this Agreement, which will include the sole power and authority:

                                  (i) to receive notices on behalf of the Sellers hereunder pursuant to
Section 12.4;

                               (ii) to receive and distribute the Purchase Price or any other amount paid
in connection with this Agreement or the Transaction Documents to the Sellers;

                                  (iii) to enforce and protect the rights and interests of the Sellers arising
out of or under or in any manner relating to this Agreement and the Transaction Documents (including in
connection with any claims related to the transactions contemplated hereby and thereby) and, in
connection therewith, to (A) assert any claim or institute any action, (B) investigate, defend, contest or
litigate any action initiated by Buyer or any other Person pursuant to this Agreement and the Transaction
Documents and receive process on behalf of each Seller in any such action and compromise or settle on
such terms as the Company will determine to be appropriate, give receipts, releases and discharges on
behalf of all or any Seller with respect to any such action, (C) file any proofs, debts, claims and petitions
as the Company may deem advisable or necessary, (D) settle or compromise any claims related to the
transactions contemplated by this Agreement and the Transaction Documents, (E) assume, on each
Sellers’ behalf, the defense of any claims related to the transactions contemplated by this Agreement and
the Transaction Documents, and (F) file and prosecute appeals from any decision, judgment or award
rendered in any of the foregoing actions;

                                  (iv) to enforce or refrain from enforcing any right of any Seller (prior to


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the Closing) and/or of the Company arising out of or under or in any manner relating to this Agreement
or the Transaction Documents;

                               (v) to take any action to be taken by one or more Sellers under or in
connection with this Agreement or any Transaction Document; or

                                  (vi) to make, execute, acknowledge and deliver all such other Contracts,
guarantees, orders, receipts, endorsements, notices, requests, instructions, certificates, stock powers,
letters and other writings, and, in general, to do any and all things and to take any and all action that the
Company, in its sole and absolute discretion, may consider necessary or proper or convenient in
connection with or to carry out the activities described in Section 12.15(a)(i) through Section
12.15(a)(iv) and the transactions contemplated by this Agreement and the Transaction Documents.

                          (b)     The Company’s power and grant of authority is (i) coupled with an
interest and is irrevocable and survives the bankruptcy or liquidation of any Seller and will be binding on
any successor thereto; and (ii) may be exercised by the Company acting by signing as the representative
of any Seller.

                         (c)      Buyer and its Affiliates and representatives may conclusively and
absolutely rely, without inquiry, upon the action of the Company as the action of each Seller (and may
ignore any action taken or notice given by any Seller other than the Company) in all matters relating to
this Agreement, the Transaction Documents or the transactions contemplated hereby and thereby. Any
document delivered or notice delivered by or on behalf of Buyer or its Affiliates to, or action taken by or
on behalf of Buyer or its Affiliates with respect to, the Company shall be deemed to have been delivered
to, or taken with respect to, all Sellers. Any amounts to be paid by Buyer to the Sellers pursuant to this
Agreement shall be divided by the Sellers among themselves, but may be paid by Buyer to the Company.
The Sellers shall be jointly and severally liable for any amounts due to be paid or owed by the Sellers to
Buyer pursuant to this Agreement.

            12.16 Limitations on Damages. WITHOUT LIMITING ANY RIGHTS OF BUYER
TO RECEIVE THE EXPENSE REIMBURSEMENT IN ACCORDANCE WITH SECTION 7.5 OR
SECTION 11.2 OF THIS AGREEMENT, NO PARTY (OR ITS AFFILIATES OR
REPRESENTATIVES) SHALL, UNDER ANY CIRCUMSTANCE, BE LIABLE TO THE OTHER
PARTY (OR ITS AFFILIATES OR REPRESENTATIVES) FOR ANY EXEMPLARY OR PUNITIVE
DAMAGES CLAIMED BY SUCH OTHER PARTY UNDER THE TERMS OF OR DUE TO ANY
BREACH OF THIS AGREEMENT; PROVIDED, HOWEVER, THAT THE FOREGOING
LIMITATION SHALL NOT APPLY TO THE EXTENT SUCH DAMAGES ARE PAYABLE TO A
THIRD PARTY.

                12.17    General Release.

                          (a)        Effective immediately following the Closing, each Seller for itself and
for its successors and assigns hereby fully and forever releases, Buyer and its directors, officers, control
persons (as defined in Section 15 of the Securities Act, or Section 20 of the Exchange Act), members,
employees, agents, attorneys, financial advisors, consultants, legal representatives, shareholders,
partners, estates, successors and assigns solely in their capacity as such (collectively referred to as the
“Buyer Group” and each is individually a member of the Buyer Group), from any liability whatsoever on
or otherwise in relation to all Seller Released Claims. For purposes of this Section 12.17(a), the term
“Seller Released Claims” means any claim, counterclaim, setoff, recoupment, action or cause of action
of any kind or nature whatsoever and other similar rights, demands, lawsuits and complaints, debts,
losses, obligations, liabilities, rights, rights of recovery and damages of every kind or nature whatsoever,


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whether known or unknown, asserted or un-asserted, and whether for general, special, statutory, punitive
or other damages, sanctions, costs, or attorney’s fees, or for equitable, declaratory, injunctive,
reimbursement, or other relief, in each case including all derivative claims and whether currently pending
or in process and whether arising in the past, present or future and in respect of any period of time (each
a “Released Claim”) that the Seller has or is entitled to make or assert, file or bring against the Buyer
Group or any Person who is a member of the Buyer Group, including but not limited to any Released
Claim that directly or indirectly arises out of, or is based upon, or in any manner connected with, or is in
any way related to, (1) any loan, security, or forbearance or related agreement to Buyer and/or
Sellers are or were parties, (2) any act or omission by any Person that is or was a this Agreement
and the Buyer Group’s act, omissions, performance or involvement in this Agreement. For the avoidance
of doubt, each member of the Buyer Group, including is released under this provision solely in their
capacity as a member on, or arising from their involvement with the activities of, the board of
directors or similar governing body of any Seller or any Affiliate thereof (including pursuant to
board observer rights), (3) any involvement of any Person that is or was a member of the Buyer
Group with the Sellers or any business, litigation, or other activities of Sellers, (4) any oral or
written statement made by any Person that is or was a member of the Buyer Group to any other
Person regarding Sellers or any business, litigation, or other activities of Sellers, (5) any action
taken by any Person that is or was a member of the Buyer Group regarding or relating to Sellers
or any business, litigation, or other activities of Sellers, or (6) any personal, contractual,
employment, business, or professional relationship, contact or communication between any
Person that is or was a member of the Buyer Group and Sellers occurring at any time prior to the
Closing Datea member of the Buyer Group and not in any other capacity, including as an insider of the
Sellers as that term is defined under section 101(31) of the Bankruptcy Code or as an affiliate as that
term is defined under section 101(2) of the Bankruptcy Code. Notwithstanding anything set forth herein
to the contrary, the releases set forth herein do not extend to (A) any obligations that are determined by a
court of competent jurisdiction by final and non-appealable judgment to have resulted from the willful
misconduct or gross negligence of such Person or, (B) any obligations of the Parties under this
Agreement (and any ancillary agreements or instruments delivered pursuant hereto, including the
Transition Services Agreement), the DIP Facility, the Existing First Lien Credit Agreement, and the
transactions contemplated hereby and thereby, or (C) any obligations relating to the Corrections
Business.

                         (b)      Effective immediately following the Closing, Buyer, for itself and its
successors and assigns, hereby fully and forever releases and discharges each Seller and its Affiliates and
each of their respective former, current or future, direct or indirect, equity holders, officers, employees,
directors, agents, advisory board members, representatives, owners, members, partners, employees,
management companies, direct and indirect parent entities, “controlling persons” (within the meaning of
federal securities law), heirs, administrators and executors, financial advisors, legal advisors,
shareholders, managers, principals, consultants, accountants, attorneys, actuaries, investment bankers and
other professionals in each case acting in such capacity whether current or former, including in their
capacity as directors of the Seller, as applicable (all such Persons collectively referred to as the “Sellers
Group” and each is individually a member of the Seller Group), from any liability whatsoever on or
otherwise in relation to all Buyer Released Claims. For purposes of this Section 12.17(b), the term
“Buyer Released Claims” means any Released Claim that Buyer or any Affiliate thereof (including,
following the Closing, the Acquired Companies) has or is entitled to make or assert, file or bring against
any Person who is a member of the Seller Group based on or relating to, or in any manner arising from,
in whole or in part, the business, conduct or operations of the RS Business or the Acquired Assets,
including but not limited to (i) any Released Claim that directly or indirectly arise out of, are based upon,
or in any manner connected with any Prior Event and (ii) any Causes of Actions included in the Acquired


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Assets pursuant to Section 2.1(po). For purposes of this Section 12.17(b), the term “Prior Event” means
any transaction, event, circumstances, action, failure to act or occurrence of any sort or type based on or
relating to, or in any manner arising from, in whole or in part, the business operations of the RS Business
or the Acquired Assets, including without limitation any approval or acceptance given or denied,
whether known or unknown, which occurred, existed, was taken, permitted or begun prior to the
consummation of the transactions contemplated hereunder. For the avoidance of doubt, “Prior Event”
shall include but is not limited to any transaction, event, circumstances, action, failure to act or
occurrence of any sort or type which occurred, existed, was taken, permitted or begun in accordance
with, pursuant to or by virtue of: (i) any terms of this Agreement, (ii) the transactions referred to herein,
or (iii) any oral or written agreement relating to the foregoing (i) and (ii) of this sentence.

                          (c)     Without limiting in any way the scope of the release contained in
subparagraph (a) or (b) of this Section 12.17 and effective upon the Closing Date, each Seller and Buyer,
to the fullest extent allowed under applicable law, hereby waives and relinquishes for itself and the other
members of the Sellers Group and Buyer Group, as applicable, all statutory and common law protections
purporting to limit the scope or effect of a general release, whether due to lack of knowledge of any claim
or otherwise, including, waiving and relinquishing the terms of any law which provides that a release
may not apply to material unknown claims. Each Seller and Buyer hereby affirm its intent to waive and
relinquish such unknown Claims and to waive and relinquish any statutory or common law protection
available in any applicable jurisdiction with respect thereto.

                  12.18 Non-Recourse. No past, present or future director, officer, employee,
incorporator, member, partner or equity holder of the Parties will have any liability for any obligations or
liabilities of any Seller or Buyer, as applicable, under this Agreement, or any agreement entered into in
connection herewith of or for any claim based on, in respect of, or by reason of, the transactions
contemplated hereby and thereby; provided that the foregoing shall not limit the rights of Buyer with
respect to Acquired Assets. Any claim or cause of action based upon, arising out of, or related to this
Agreement or any agreement, document or instrument contemplated by this Agreement may only be
brought against Persons that are expressly named as parties hereto or thereto, and then only with respect
to the specific obligations set forth herein or therein. Other than the Parties hereto, no Person shall have
any liability or obligation for any of the representations, warranties, covenants, agreements, obligations
or liabilities of any party under this Agreement or the agreements, documents or instruments
contemplated hereby or of or for any action or proceeding based on, in respect of, or by reason of, the
transactions contemplated hereby or thereby (including breach, termination or failure to consummate
such transactions), in each case whether based on contract, tort, fraud, strict liability, other Legal
Requirements or otherwise and whether by piercing the corporate veil, by a claim by or on behalf of a
party hereto or another Person or otherwise.

                 12.19 Joinder. At the Closing, any Person to whom Buyer assigns the right to receive
any of the Acquired Assets at Closing shall execute a joinder in customary form, pursuant to which each
such other Person will assume, and will be obligated with Buyer on a joint and several basis, to perform
and satisfy each of Buyer’s obligations under this Agreement.




                                         [Signature pages follow.]




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                 IN WITNESS WHEREOF, the Parties have caused this Amended and Restated Equity
Interest and Asset Purchase Agreement to be executed and delivered by their duly authorized
representatives, all as of the ExecutionEffective Date.

                                           RS PURCHASER LLC


                                           By: _____________________________
                                           Name:
                                           Title:


                                           WELLPATH HOLDINGS, INC.


                                           By: _____________________________
                                           Name:
                                           Title:


                                           CORRECT CARE HOLDINGS, LLC


                                           By: _____________________________
                                           Name:
                                           Title:


                                           ALPINE CA BEHAVIORAL HEALTH HOLDCO,
                                           LLC


                                           By: _____________________________
                                           Name:
                                           Title:




    SIGNATURE PAGE TO AMENDED AND RESTATED EQUITY INTEREST AND ASSET PURCHASE AGREEMENT
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                                    Exhibit A
                   Form of Assignment and Assumption Agreement

                                  [to be attached]




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                                  Exhibit B
                             Bidding Procedures
                               [to be attached]




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                                   Exhibit C
                       Form of Bidding Procedures Order
                                [to be attached]




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                                  Exhibit D
                              Form of Bill of Sale

                                [to be attached]




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                                      Exhibit EC
                 Form of Intellectual Property Assignment Agreement

                                   [to be attached]




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                                   Exhibit FD
                      Form of Transition Services Agreement

                                 [to be attached]




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                                   Exhibit GE
                      Form of Securities Transfer Agreement

                                 [to be attached]




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                                Summary report:
       Litera Compare for Word 11.8.0.56 Document comparison done on
                              1/7/2025 6:36:47 PM
  Style name: Default Style
  Intelligent Table Comparison: Active
  Original filename: Wellpath - 363 SH Asset Purchase Agreement
  4886-7540-8625, 13 (4).docx
  Modified DMS: iw://filesitex.proskauer.com/CURRENT/149846069/2
  Changes:
  Add                                                        774
  Delete                                                     380
  Move From                                                  21
  Move To                                                    21
  Table Insert                                               0
  Table Delete                                               0
  Table moves to                                             0
  Table moves from                                           0
  Embedded Graphics (Visio, ChemDraw, Images etc.)           0
  Embedded Excel                                             0
  Format changes                                             0
  Total Changes:                                             1196
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                              Exhibit B

                     Proposed Sale Order Redline




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                                                                 PR Comments to MWE Comments on 1/6/25
                                                     PRIVILEGED & CONFIDENTIAL – SUBJECT TO FRE 408

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                                             Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                  Case No. 24-90533 (ARP)


                                      Debtors.                     (Jointly Administered)

                                                                   Re: Docket No. 21, 384



    ORDER (A) APPROVING THE SALE OF CERTAIN OF THE DEBTORS’ ASSETS
     AND CERTAIN EQUITY INTERESTS FREE AND CLEAR OF LIENS, CLAIMS,
    INTERESTS, AND ENCUMBRANCES, (B) APPROVING THE ASSUMPTION AND
      ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES,
     (C) DISMISSING THE CHAPTER 11 CASES OF THE ACQUIRED RECOVERY
           SOLUTIONS DEBTORS, AND (D) GRANTING RELATED RELIEF

         Upon the Debtors’ Emergency Motion for Entry of Orders (I)(A) Approving Bidding

Procedures for the Sale of the Debtors’ Assets, (B) Approving Entry into a Stalking Horse

Purchase Agreement for the Recovery Solutions Assets, (C) Authorizing the Recovery Solutions

Expense Reimbursement, (D) Authorizing Potential Selection of Stalking Horse Bidders for the

Corrections Assets and Approving Related Corrections Assets(s) Bid Protections, (E)

Establishing Related Dates and Deadlines, (F) Approving the Form and Manner of Notice

Thereof, And (G) Approving the Assumption and Assignment Procedures, (II)(A) Approving the

Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances (B)

Authorizing the Assumption and assignment of Executory Contracts and Unexpired Leases, and




1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these
    chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.



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(III) Granting Related Relief [Docket No. 21] (the “Motion”),2 seeking entry of an order

(this “Order”) authorizing and approving (a) a sale of the Acquired Assets, including 100% of

the equity interests in each of (i) Wellpath Recovery Solutions, LLC, (ii) Correct Care of South

Carolina, LLC, (iii) Harborview Center, LLC, and (iv) Behavioral Health Management Systems,

LLC (collectively, the “Acquired Recovery Solutions Debtors” and, the equity interests therein,

the “Acquired Equity Interests”) to RS Purchaser LLC (the “Recovery Solutions Stalking Horse

Bidder” or the “Buyer”), in accordance with the terms and conditions contained in the Equity

Interest and Asset Purchase Agreement by and among the Debtors and the Buyer (as amended,

supplemented, or otherwise modified by the parties thereto, and including the disclosure

schedules and exhibits attached thereto, the “Recovery Solutions Stalking Horse Agreement”)

free and clear of all liens, claims, and encumbrances to the fullest extent permitted by law,

except for any assumed liabilities (“Assumed Liabilities”) and certain permitted encumbrances

as determined by the Debtors and the Buyer (solely to the extent expressly set forth and defined

in the Recovery Solutions Stalking Horse Agreement, the “Permitted Liens”), (b) authorizing the

assumption and assignment of the Assumed Contracts, and (c) granting related relief; and this

Court having entered the Stipulated and Agreed Amended Order (I) Approving the Bidding

Procedures for the Sale of the Debtors’ Assets, (II) Approving Entry Into a Stalking Horse

Purchase Agreement for the Recovery Solutions Assets, (III) Authorizing the Recovery Solutions

Expense Reimbursement, (IV) Authorizing the Potential Selection of Stalking Horse Bidders for

the Corrections Assets and Approving Related Corrections Asset(s) Bid Protections,

(V) Establishing Related Dates and Deadlines, (VI) Approving the Form and Manner of Notice


2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion,
    the Bidding Procedures Order, or the Recovery Solutions Stalking Horse Agreement, as applicable as in effect
    on January 6, 2025.


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Thereof, (VII) Approving the Assumption and Assignment Procedures, and (VIII) Granting

Related Relief [Docket No. 384] (the “Bidding Procedures Order”), that, among other things, (a)

authorized and approved the terms of and the Debtors’ entry into the Recovery Solutions

Stalking Horse Agreement (subject to the rights of the Committee to object to such agreement

and the transactions contemplated thereby), (b) approved the Recovery Solutions Expense

Reimbursement, and (c) approved the Bidding Procedures for the sale of the Debtors’ Assets,

including the process, timeline, and notice thereof; and the Debtors having determined after an

extensive marketing and sale process [and the Auction held on [], 2024]/[and the Debtors

having received no Qualified Bids other than the Recovery Solutions Stalking Horse Bid by the

Bid Deadline], that the Buyer has submitted the highest or otherwise best bid to purchase the

Acquired Assets (including the Acquired Equity Interests); and the Debtors having selected the

Buyer as the Successful Bidder in accordance with the Bidding Procedures; and upon due,

adequate, and sufficient notice of the Motion, the Recovery Solutions Stalking Horse Agreement,

and all other related transactions contemplated thereunder and in this Order (such transactions

collectively, the “Sale”); and this Court having held a hearing to consider the relief requested in

the Motion on a final basis (the “Sale Hearing”); and this Court having determined that the legal

and factual bases set forth in the Motion, the Tempke Declaration, the Schoenholtz Declaration,

the First Day Declaration; [the Supplemental Declaration of Christian Tempke in Support of

Order (A) Approving the Sale of Certain of the Debtors’ Assets and Certain Equity Interests

Free and Clear of Liens, Claims, Interests, and Encumbrances, (B) Approving the Assumption

and Assignment of Executory Contracts and Unexpired Leases, (C) Dismissing the Chapter 11

Cases of the Acquired Recovery Solutions Debtors and (D) Granting Related Relief

[Docket No. []], and the Supplemental Declaration of Jason Schoenholtz in Support of Order



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(A) Approving the Sale of Certain of the Debtors’ Assets and Certain Equity Interests Free and

Clear of Liens, Claims, Interests, and Encumbrances, (B) Approving the Assumption and

Assignment of Executory Contracts and Unexpired Leases, (C) Dismissing the Chapter 11 Cases

of the Acquired Recovery Solutions Debtors and (D) Granting Related Relief [Docket No. []]

(together, the “Supplemental Declarations”3 and, together with the Tempke Declaration, the

Schoenholtz Declaration, the First Day Declaration, the “Declarations”)] and at the Sale Hearing

establish just cause for the relief granted herein; and this Court having found that the relief

requested in the Motion is in the best interests of the Debtors, their estates, their creditors, and

other parties in interest; and all objections and reservations of rights filed or asserted in respect

of the Motion, if any, having been withdrawn, resolved, or overruled; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor,

          IT IS HEREBY FOUND AND DETERMINED THAT:4

I.        Jurisdiction, Final Order, and Statutory Predicates.

          A.       This Court has jurisdiction to hear and determine the Motion pursuant to 28

U.S.C. §§ 157 and 1334 and the Order of Reference to Bankruptcy Judges, General Order

2012-6 (S.D. Tex. May 24, 2012) (Hinojosa, C.J.);. Venue of these chapter 11 cases and the

Motion is proper in the United States District Court for the Southern District of Texas and in this




3
     NTD: To be determined whether more than one supplemental declaration is needed.
4
      These findings and conclusions constitute this Court’s findings of fact and conclusions of law pursuant to
      Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. Where
      appropriate, findings of fact shall be construed as conclusions of law and conclusions of law shall be construed
      as findings of fact. All findings of fact and conclusions of law announced by this Court at the Sale Hearing in
      relation to the Motion are hereby incorporated herein to the extent not inconsistent herewith.


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Court pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding under 28 U.S.C.

§ 157(b).

        B.        This Court having found that it may enter a final order consistent with Article III

of the United States Constitution.

        C.        The statutory predicates for the relief requested in the Motion are sections 105(a),

363, and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9007, and 9014.

II.     Notice.

        D.        As evidenced by the certificates of service and publication filed with this Court

[Docket Nos. 230, 278, 341, 345, 495, 511, 579, 612, 712], and as demonstrated by the evidence

presented at the Sale Hearing, proper, timely, adequate, and sufficient notice of the Motion, the

contracts to be potentially assumed and assigned in connection with the Sale, including the

Assumed Contracts, the Sale Hearing, the Sale, and the deadlines related thereto were provided

in accordance with sections 102(1), 363, and 365 of the Bankruptcy Code, Bankruptcy Rules

2002, 6004, 6006, and 9014, and the Bidding Procedures Order, to each Sale Notice Party. With

respect to entities whose identities are not reasonably ascertained by the Debtors after reasonable

diligence, publication of the Sale Notice (i) in the national edition of USA Today on November

25, 2024 and November 26, 2024, (ii) in The New York Times on November 26, 2024, (iii) in

Prison Legal Notice on December 5, 2024, and (iv) on the website maintained by Epiq Corporate

Restructuring LLC, the Debtors’ claims and noticing agent in these chapter 11 cases, located at

https://dm.epiq11.com/case/wellpath on November 12, 2024, , was, and is deemed, sufficient and

reasonably calculated under the circumstances to reach such entities. The notices described

above and in the Motion and Bidding Procedures Order were good, sufficient, and appropriate

under the circumstances and reasonably calculated to reach and apprise all known and unknown



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holders of the Liens, Claims, and Interests (each as defined below), and no other or further notice

of the Motion, the Sale, the Sale Hearing, the potential assumption and assignment of the

Assumed Contracts, or the related Cure Costs is, or shall be, required.

        E.      A reasonable opportunity to object and be heard with respect to the Sale,

the Motion, and the relief requested therein has been afforded to all interested parties.

        F.      The disclosures made by the Debtors concerning the Motion, the Recovery

Solutions Stalking Horse Agreement, the Bidding Procedures, [the Auction,] and the Sale

Hearing were good, complete, and adequate.

III.    Business Justification

        G.      The Debtors have demonstrated compelling circumstances and a good, sufficient,

and reasonable business purpose and justification for entering into the Recovery Solutions

Stalking Horse Agreement, which provides for, among other things, the sale of the Recovery

Solutions Assets (including, for the avoidance of doubt, the Acquired Equity Interests) to the

Buyer. The Acquired Recovery Solutions Debtors are set forth on Schedule 2.1(f)(i) to the

Recovery Solutions Stalking Horse Agreement, which mayshall not be amended or revised in

accordance withnotwithstanding anything to the contrary in the Recovery Solutions Stalking

Horse Agreement from time to time in accordance with the terms thereof. The Debtors have,

among other things, determined in their business judgment that, under the circumstances, the

benefits of consummating the Sale on the terms and conditions embodied in the Recovery

Solutions Stalking Horse Agreement are in the best interests of the Debtors, their estates and

creditors, and all other parties in interest.




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        W.      The Buyer would not have entered into the Recovery Solutions Stalking Horse

Agreement, and would not consummate the transactions contemplated thereby, if (i) the Sale of

the Acquired Assets (including the Acquired Equity Interests) to the Buyer was not free and clear

of all Interests (other than the Permitted Liens and, the Assumed Liabilities, and any Interests in

or against the Acquired Recovery Solutions Debtors or their assets) of any kind or nature

whatsoever or (ii) if the Buyer would, or in the future could, be liable for any of the Interests

(other than the Permitted Liens and the Assumed Liabilities). The Buyer will not consummate

the transactions contemplated by the Recovery Solutions Stalking Horse Agreement unless this

Court expressly orders that none of the Buyer, any of the Buyer’s Affiliates or Subsidiaries, or

any of their respective officers, directors, partners, principals, direct and indirect equityholders

(including any equity sponsor), professionals, or representatives, successors, or assigns

(collectively referred to as the “Buyer Group”), or their respective assets or properties, including,

without limitation, the Acquired Assets (including the Acquired Equity Interests), will have any

liability whatsoever with respect to, or be required to satisfy in any manner, whether at law or in

equity, or by payment, setoff, recoupment, or otherwise, directly or indirectly, any Interests

(other than the Permitted Liens and the Assumed Liabilities), including rights or claims based on

any Successor or Other Liabilities. The total consideration to be provided under the Recovery

Solutions Stalking Horse Agreement reflects the Buyer’s reliance on this Order to provide it,

pursuant to sections 105(a) and 363 of the Bankruptcy Code, with title to and possession of the

Acquired Assets (including the Acquired Equity Interests) free and clear of all Interests (other

than the Permitted Liens and the Assumed Liabilities) of any kind or nature whatsoever

(including, without limitation, any potential Successor or Other Liabilities). For the avoidance of




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doubt, nothing herein shall prejudice or impair in any way rights of any party in interest,

including, without limitation, the Committee, under Paragraph 26(a) of the DIP Order.

        X.      Not transferring the Acquired Assets free and clear of all Interests (other than the

Permitted Liens and the Assumed Liabilities), including rights or claims based on any successor,

transferee, derivative, or vicarious liability or any similar theory and/or applicable state, federal,

foreign law, or otherwise, would adversely impact the Debtors’ efforts to maximize the value of

their estates, and the transfer of the Acquired Assets other than pursuant to a transfer that is free

and clear of all Interests (other than the Permitted Liens and the Assumed Liabilities) of any kind

or nature whatsoever would be of substantially less benefit to the Debtors’ estates.

        Y.      The Debtors may sell the Acquired Assets (including the Acquired Equity

Interests) free and clear of all Interests (other than the Permitted Liens and, the Assumed

Liabilities, and any Interests in or against the Acquired Recovery Solutions Debtors or their

assets) because, in each case, one or more of the standards set forth in section 363(f)(1)–(5) of

the Bankruptcy Code has been satisfied. Those holders of Interests that did not timely object to

the Sale or the Motion, or withdrew objections to the Sale or the Motion, are deemed to have

consented to the Sale and the Motion pursuant to section 363(f)(2) of the Bankruptcy Code. All

Interests (except to the extent that such encumbrances are Permitted Liens or, Assumed

Liabilities, or Interests in or against the Acquired Recovery Solutions Debtors or their assets) fall

within one or more of the other subsections of section 363(f) of the Bankruptcy Code and,

therefore, all holders of Interests are adequately protected.

XII.    Cure Costs and Adequate Assurance of Future Performance

        Z.      The assumption and assignment of the Assumed Contracts pursuant to the terms

of this Order (i) is integral to the Recovery Solutions Stalking Horse Agreement, (ii) is in the



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Assumed Contracts thereafter, shall constitute adequate assurance of their future performance of

and under the Assumed Contracts, within the meaning of sections 365(b)(1) and 365(f)(2) of the

Bankruptcy Code. The Debtors have satisfied the Seller Cure Cap, and the Buyer shall be

responsible for any Cure Costs in excess of the Seller Cure Cap in accordance with Section

2.5(a)(i) of the Recovery Solutions Stalking Horse Agreement.          Pursuant to the Bidding

Procedures Order, all counterparties to Assumed Contracts that failed to file with this Court and

serve on the Objection Notice Parties a timely objection are forever barred from asserting any

such objection with regard to the assumption or assignment of their Assumed Contract. This

Court finds that, with respect to all such Assumed Contracts, the payment of Cure Costs is

appropriate and is deemed to fully satisfy the Debtors’ obligations under section 365(b) of the

Bankruptcy Code. Accordingly, all of the requirements of sections 365(b) and 365(f) of the

Bankruptcy Code have been satisfied for the assumption and the assignment by the applicable

Debtor to the Buyer of each of the Assumed Contracts. To the extent any Assumed Contract is

not an executory contract or unexpired lease within the meaning of section 365 of the

Bankruptcy Code, it shall be transferred to the Buyer in accordance with the terms of this Order

that are applicable to the Acquired Assets.

XIII. Not a Sub Rosa Plan

        CC.     The Sale does not constitute a sub rosa chapter 11 plan or an element of such plan

for which approval has been sought without the protection that a disclosure statement would

afford. The Sale neither impermissibly restructures the rights of any Debtor’s creditors nor

impermissibly dictates a liquidating plan for any Debtor.




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III.    Transfer of the Acquired Assets

        8.      Pursuant to sections 105(a), 363(b), 363(f), 365(b), and 365(f) of the Bankruptcy

Code, the Debtors shall transfer the Acquired Assets, including, but not limited to, the Acquired

Equity Interests and the Assumed Contracts, to the Buyer in accordance with the terms of the

Recovery Solutions Stalking Horse Agreement; such transfer shall constitute a legal, valid,

binding, and effective transfer of such Acquired Assets; and the Buyer shall take title to and

possession of such Acquired Assets free and clear of all Interests (other than the Permitted Liens

and, the Assumed Liabilities, and any Interests in or against the Acquired Recovery Solutions

Debtors or their assets) in such assets and equity interests that comprise the Acquired Assets

(including the Acquired Equity Interests). Any and all valid and perfected Interests in the

Acquired Assets (including the Acquired Equity Interests) shall attach to the net proceeds (if

any) of the Sale with the same validity, force, and effect, if any, and in the same order of priority,

that they have now as against the assets and equity interests comprising the Acquired Assets

(including the Acquired Equity Interests), subject to any rights, claims, and defenses the Debtors

or their estates, as applicable, may possess with respect thereto.

        9.      The transfer of the Acquired Assets to the Buyer in accordance with the terms of

the Recovery Solutions Stalking Horse Agreement will be a legal, valid, enforceable, and

effective sale and transfer of the Acquired Assets and the Assumed Liabilities and will render the

Buyer fully liable for any and all Assumed Liabilities, and assumption of any Assumed

Liabilities by the Buyer shall constitute a legal, valid, and effective delegation of any Assumed

Liabilities to the Buyer and shall divest the Debtors of all liability with respect to any Assumed

Liabilities.




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interest, right of first refusal, purchase or repurchase right or option, or termination of, any of the

Debtors’ or the Buyer’s interests in the Acquired Assets (including the Acquired Equity

Interests), or any similar rights, if any, or (ii) in respect of taxes, restrictions, rights of first

refusal, charges of interests of any kind or nature, if any, including, without limitation, any

restriction of use, voting, transfer, receipt of income, or other exercise of any attribute of

ownership) (collectively, as defined in this clause (iib), the “Claims” and, together with the Liens

and any other interests of any kind or nature whatsoever, the “Interests”), relating to, accruing, or

arising any time prior to the Closing Date, with the exception of the Permitted Liens and, the

Assumed Liabilities. For the avoidance of doubt, (a) transfer of the Acquired Equity Interests

shall be free and clear of Interests in such Acquired Equity Interests, but not free and clear of

Interests in the assets heldor against the Acquired Recovery Solutions Debtors or their assets,

and (b) anything to the contrary notwithstanding, the Acquired Recovery Solutions Debtors shall

remain liable for any Interests, liabilities, or any other obligations owed by the Acquired

Recovery Solutions Debtors.

        11.     Except as expressly assumed by the Buyer under the Recovery Solutions Stalking

Horse Agreement, the transfer of the Acquired Assets to the Buyer and the assignment to the

Buyer of the Assumed Contracts will not subject the Buyer to any liability whatsoever that may

become due or owing under the Assumed Contracts prior to the Closing Date, or by reason of

such transfer under the laws of the United States, any state, territory, or possession thereof, or the

District of Columbia, or foreign jurisdiction, based, in whole or in part, directly or indirectly, on

any theory of law or equity, including any Successor or Other Liabilities.

        12.     The Recovery Solutions Stalking Horse Agreement (and any ancillary agreements

or instruments delivered pursuant thereto) are valid and binding contracts between the Debtors



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and the Buyer and shall be enforceable pursuant to their terms. The Recovery Solutions Stalking

Horse Agreement (and any ancillary agreements or instruments delivered pursuant thereto), the

Sale, and the consummation thereof shall be specifically enforceable against and binding upon

(without posting any bond) the Debtors and any chapter 7 or chapter 11 trustee appointed in

these chapter 11 cases, or any converted or successor cases, and shall not be subject to rejection

or avoidance by the foregoing parties or any other Person. The Recovery Solutions Stalking

Horse Agreement (and any ancillary agreements or instruments delivered pursuant thereto) was

not entered into for the purpose of hindering, delaying, or defrauding creditors under the

Bankruptcy Code or under the laws of the United States, any state, territory, possession, or the

District of Columbia, or foreign jurisdiction.        As demonstrated by the Declarations, the

consideration provided by the Buyer for the Acquired Assets pursuant to the Recovery Solutions

Stalking Horse Agreement (a) is fair and reasonable, (b) is the highest or otherwise best offer for

the Acquired Assets, (c) will provide a greater recovery for the Debtors’ creditors than would be

provided by any other practical available alternative, and (d) constitutes reasonably equivalent

value and fair consideration under the Bankruptcy Code and under the laws of the United States,

any state, territory, possession, or the District of Columbia, and any foreign jurisdiction

(including the Uniform Fraudulent Conveyance Act, the Uniform Voidable Transactions Act, the

Uniform Fraudulent Transfer Act, and similar laws and acts). Neither the Debtors nor the Buyer

isare entering into the transactions contemplated by the Recovery Solutions Stalking Horse

Agreement with any fraudulent or otherwise improper purpose, including for the purpose of

statutory and common-law fraudulent conveyance and fraudulent transfer.

        13.     Each and every federal, state, local, and other governmental agency, governmental

department, filing agent, filing officer, title agent, recording agency, secretary of state, federal,



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and the DIP Orders shall be automatically released and terminated, and each Acquired Recovery

Solutions Debtor shall be automatically released from its obligations (including, for the

avoidance of doubt, its obligation to guarantee the obligations with respect to the First Lien

Claims, the Second Lien Claims, and the Adequate Protection Claims (as defined in the DIP

Orders)) fromunder each of the First Lien Documents, the Second Lien Documents, and the DIP

Orders, including for the avoidance of doubt, the Adequate Protection Liens (as defined in the

DIP Orders) (the “Prepetition Release”). The First Lien Agent and the Second Lien Agent

and/or the Debtors are hereby authorized to file, record, execute, and/or deliver UCC termination

statements and any further instruments, releases, terminations, and documents evidencing the

Prepetition Release.

        22.     Notwithstanding anything to the contrary herein, effective immediately upon the

Closing of the Sale, all security interests, pledges and liens of any kind, nature or description on

all equity interests in, and assets and property of, each Acquired Recovery Solutions Debtor

granted in favor of the DIP Collateral Agent (as defined in the Final DIP Order) under the DIP

Documents shall be automatically released and terminated, and each Acquired Recovery

Solutions Debtor shall be automatically released from its obligations (including, for the

avoidance of doubt, its obligation to guarantee the obligations with respect to the DIP

Obligations) from the DIP Documents (the “DIP Release”). The DIP Collateral Agent and/or the

Debtors are hereby authorized to file record, execute and/or deliver the UCC termination

statements and any further instruments, releases, terminations and documents evidencing the DIP

Release.




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Solutions Stalking Horse Agreement and the Buyer’s agreement to perform the obligations under

the Assumed Contracts in accordance with the terms of the Recovery Solutions Stalking Horse

Agreement shall constitute adequate assurance of future performance within the meaning of

sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code to the extent that any such

assurance is required and not waived by the Counterparties.

        30.     To the furthest extent permitted by law, any party that may have had the right to

consent to the assumption or assignment of a Assumed Contract is deemed to have consented to

such assumption and assignment or assignment for purposes of section 365(e)(2)(A)(ii) of the

Bankruptcy Code if such party failed to timely object to the assumption or assignment of such

Assumed Contract in accordance with the Bidding Procedures Order, and the Buyer shall be

deemed to have demonstrated adequate assurance of future performance with respect to such

Assumed Contract pursuant to sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code.

Any Counterparty to an applicable Assumed Contract that may be assumed and assigned to the

Buyer who has not timely filed and served an objection shall be barred from objecting, or

asserting monetary or non-monetary defaults, with respect to any such applicable Assumed

Contract, and such applicable Assumed Contract, if designated as aan Assumed Contract in

accordance with the terms of the Recovery Solutions Stalking Horse Agreement, shall be deemed

assumed by the Debtors and assigned to the Buyer on the Closing Date pursuant to this Order.

        31.     To the extent a Counterparty to an Assumed Contract failed to timely object to the

Cure Costs for any applicable Assumed Contract in accordance with the Bidding Procedures

Order, such Cure Costs shall be deemed to be finally determined and any such counterparty shall

be prohibited from challenging, objecting to, or denying the validity and finality of the Cure

Costs at any time.



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        32.     The requirements of Bankruptcy Rule 6006(f)(6) are hereby waived, for cause

shown, with respect to the Motion and the relief requested therein.

        33.     Upon and as of the Closing Date, the Buyer shall be deemed to be substituted for

the applicable Debtor as a party to the applicable Assumed Contracts and the Debtors shall be

relieved, pursuant to section 365(k) of the Bankruptcy Code, from any further liability under the

Assumed Contracts.

        34.     The Counterparties shall cooperate and expeditiously execute and deliver, upon

the reasonable requests of the Buyer, any instruments, applications, consents, or other documents

that may be required or requested by any public authority or other party or entity to effectuate the

applicable transfers in connection with the Sale of the Acquired Assets.

        35.     From the date of the entry of this Order, the Debtors may, with the consent of the

Buyer, settle objections to assumption and assignment of any applicable Assumed Contract or

contracts of the Acquired Companies, including to proposed Cure Costs, without any further

notice to or action by any party or order of this Court (including by paying any agreed Cure

Cost); provided that notice to and consent of the Buyer shall be required to the extent that the

Buyer is liable for such Cure Costs pursuant to the Recovery Solutions Stalking Horse

Agreement or the Buyer’s rights and remedies are otherwise altered in any way by the resolution.

Unless this Court orders otherwise, contemporaneously with the resolution of any such objection,

the executory contract or unexpired lease underlying such objection shall be deemed an Assumed

Contract without the necessity of obtaining any further order of this Court.

        36.     Notwithstanding anything to the contrary herein, no executory contract or

unexpired lease as to which a Counterparty to an Assumed Contract timely files and serves an

objection shall be considered an Assumed Contract under this Order unless and until any timely



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kind against any obligation due any member of the Buyer Group or their respective assets or

properties, including the Acquired Assets; (e) commencing or continuing any action, in any

manner or place, that does not comply or is inconsistent with the provisions of this Order or

other orders of this Court, or the agreements or actions contemplated or taken in respect thereof;

or (f) to the extent prohibited by section 525 of the Bankruptcy Code, revoking, terminating, or

failing or refusing to transfer or renew any license, permit, or authorization to operate any of the

Acquired Assets or conduct any of the businesses operated with the Acquired Assets. For the

avoidance of doubt, (a) each member of the Buyer Group is released under this Order solely in

their capacity as a member of the Buyer Groupconnection with this Sale and not in any other

capacity, and (b) nothing herein shall prejudice or impair in any way rights of any party in

interest, including, without limitation, the Committee, under Paragraph 26(a) of the DIP Order.

        41.     Except with respect to Permitted Liens, Assumed Liabilities, liabilities of the

Acquired Recovery Solutions Debtors, or as provided in the Recovery Solutions Stalking Horse

Agreement, and without limiting other applicable provisions of this Order, the Buyer is not, by

virtue of the consummation of the Sale, assuming, nor shall it be liable or responsible for any

liabilities, debts, commitments, or obligations (whether known or unknown, disclosed or

undisclosed, absolute, contingent, inchoate, fixed, or otherwise) in any way whatsoever relating

to or arising from the Debtors, the Acquired Assets, or the Debtors’ operation of their businesses

or use of the Acquired Assets on or prior to the Closing Date or any such liabilities, debts,

commitments, or obligations that in any way whatsoever relate to periods on or prior to the

Closing Date or are to be observed, paid, discharged, or performed on or prior to the Closing

Date (in each case, including, without limitation, Successor or Other Liabilities and any

liabilities that result from, relate to, or arise out of tort or product liability claims), or any



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liabilities calculable by reference to the Debtors or their assets or operations (including by

reference to the Debtors’ experience or similar ratings), or relating to continuing conditions

existing on or prior to the Closing Date, including with respect to any of the Debtors’

predecessors or Affiliates, which liabilities, debts, commitments, and obligations are hereby

extinguished insofar as they may give rise to Successor or Other Liability.

        42.     None of the Buyer nor any of its affiliates, equityholders, successors, and assigns,

nor any of their professionals shall have, incur any liability to, or be subject to any action by, the

Debtors or any of their predecessors, successors, or assigns, arising out of the negotiation,

investigation, preparation, execution, or delivery of the Recovery Solutions Stalking Horse

Agreement (and any ancillary agreements or instruments delivered pursuant thereto) and the

entry into and consummation of the Sale, except as expressly provided in the Recovery Solutions

Stalking Horse Agreement and this Order. Neither the Debtors nor any of their affiliates,

successors, and assigns, nor any of their professionals shall have, incur any liability to, or be

subject to any action by, the Buyer arising out of the negotiation, investigation, preparation,

execution, or delivery of the Recovery Solutions Stalking Horse Agreement (and any ancillary

agreements or instruments delivered pursuant thereto) and the entry into and consummation of

the Sale, except as expressly provided in the Recovery Solutions Stalking Horse Agreement and

this Order.

        43.     To the fullest extent permissible under applicable law, each of the Debtors and

their Estates, for itself and for its successors and assigns, shall be deemed to fully and forever

release each Acquired Recovery Solutions Debtor, the Buyer Group, and each member of the

Buyer Group from any liability whatsoever on or otherwise in relation to all Interests (including

any and all avoidance, recovery, subordination, or other claims and causes of action that may be



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brought by or on behalf of the Debtors or their Estates or other authorized parties in interest

under the Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies

under sections 510, 542, 544, 545, and 547 through and including 553 of the Bankruptcy Code,

or other similar or related state, federal, or foreign statutes, common law, or other applicable

law) against or in any of the Acquired Recovery Solutions Debtors, the Buyer Group, or any

member of the Buyer Group, or any portion of their assets or properties, that each Debtor has or

is entitled to make or assert, file, or bring against any Acquired Recovery Solutions Debtor, the

Buyer Group, or a member of the Buyer Group that directly or indirectly arises out of, in

connection with, or in any way relating to, the Acquired Recovery Solutions Debtors, the Buyer

Group, or any member of the Buyer Group, their assets or properties, or the operation of the

Acquired Recovery Solutions Debtors’ business prior to the ClosingStalking Horse Purchase

Agreement and the Buyer Group’s act, omission, performance or involvement in the Stalking

Horse Agreement, other than any obligations of any Acquired Recovery Solutions Debtor, the

Buyer Group, or any member of the Buyer Group arising under the Recovery Solutions Stalking

Horse Agreement (and any ancillary agreements or instruments delivered pursuant thereto) or

this Order. All Debtors shall be, and hereby are, forever barred, estopped, and permanently

enjoined from asserting, prosecuting, or otherwise pursuing against any Acquired Recovery

Solutions Debtor, the Buyer Group, or any member of the Buyer Group, or their respective

assets or properties, the Interests of any kind or nature whatsoever such Debtor had, has, or may

have against or in the Acquired Recovery Solutions Debtor, the Buyer Group, or any member of

the Buyer Group, their estates, officers, directors, shareholders, or their assets or properties

solely in connection with the foregoing sentence. For the avoidance of doubt, each member of

the Buyer Group is released under this Order solely in their capacity as a member of the Buyer



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Groupconnection with this Sale and not in any other capacity; provided that nothing in this

Section V shall release any party from any claim arising out of or relating to any act or omission

that constitutes fraud, gross negligence, or willful misconduct, as determined by a Final Order.

VI.     Dismissal of the Chapter 11 Cases of the Acquired Recovery Solutions Debtors

        44.     The chapter 11 cases of the Acquired Recovery Solutions Debtors (Case No.

24-90538 (ARP), Case No. 24-90545 (ARP), Case No. 24-90548 (ARP), and Case No. 24-90565

(ARP)) are hereby dismissed, effective on the Closing Date. In each case, such dismissal is

without prejudice to the Acquired Recovery Solutions Debtors’ rights to file future cases under

any applicable chapter of the Bankruptcy Code.

        45.     The Clerk of this Court shall enter this Order on the dockets of each of the

Acquired Recovery Solutions Debtors and such dockets shall be marked as closed.

        46.     This Order is without prejudice to any parties’ right to seek to reopen any of the

Acquired Recovery Solutions Debtors’ closed chapter 11 cases for good cause shown.

        47.     The Debtors are authorized to take such actions as are necessary to effectuate the

dismissal of the chapter 11 cases of the Acquired Recovery Solutions Debtors. No later than two

business days following the Closing Date, the Acquired Recovery Solutions Debtors shall file a

notice of dismissal of the Acquired Recovery Solutions Debtors’ chapter 11 cases (the

“Dismissal Notice”) on the docket of the above-captioned chapter 11 cases and serve the

Dismissal Notice on (a) the U.S. Trustee, (b) the Committee, (c) any federal, state, or local

governmental agency to the extent required by the Bankruptcy Code, the Bankruptcy Rules, the

Bankruptcy Local Rules, or order of this Court, and(d) any party identified in section E of the

Procedures for Complex Cases in the Southern District of Texas.




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of Executory Contracts or Unexpired Leases and Cure Amount [Docket No. 194], without

compliance with all applicable legal requirements and approvals under police or regulatory law.

Nothing in this Order shall (a) be interpreted to set cure amounts with respect to Governmental

Interests or require any Governmental Unit to novate, approve or otherwise consent to the

assumption, sale, assignment or transfer of any Governmental Interests, (b) relieve any entity

from any obligation to address or comply with information requests or inquiries from any

Governmental Unit, (c) affect any setoff or recoupment rights of any Governmental Unit, (d)

divest any tribunal of any jurisdiction it may have under police or regulatory law to interpret this

Order or to adjudicate any defense asserted under this Order, or (e) expand the scope of section

525 of the Bankruptcy Code.

        54.     For the avoidance of doubt, notwithstanding any other provision of this Order or

any other order of this Court, no sale, transfer, or assignment of any rights and interests of the

Debtors in any federal license or authorization issued by the Federal Communications

Commission (“FCC”) shall take place prior to the issuance of FCC regulatory approval for such

sale, transfer, or assignment pursuant to the Communications Act of 1934, as amended, and the

rules and regulations promulgated under such statutes. The FCC’s rights and powers to take any

action pursuant to its regulatory authority, including, imposing any regulatory conditions on such

sales, transfers, and assignments, and setting any regulatory fines or forfeitures, are fully

preserved, and nothing herein shall proscribe or constrain the FCC’s exercise of such power or

authority to the extent provided by law.

        55.     Cash Cap. No more than $10,000,000.00 of cash or cash equivalents shall be

transferred from the Debtors to the Buyer, the Acquired Recovery Solutions Debtors, or any

account established by the Buyer or the Acquired Recovery Solutions Debtors in connection with



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Section 2.1(c) of the Recovery Solutions Stalking Horse Agreement. The Debtors may not

convey any cash or cash equivalents resulting from revenues generated by the Corrections

Business to the Buyer or the Acquired Recovery Solutions Debtors.

        56.     Return of Estate Assets. To the extent that an asset that primarily relates to the

Corrections Business is discovered to be held by the RS Business after the Closing Date, upon

written notice from the Debtors or the Committee, the Buyer will promptly remit such asset to

the Debtors’ estates for no consideration, subject to the Buyer’s right to seek relief from this

Court to resolve any dispute relating to such notice.

        57.     Stipulations. The Debtors and the Buyer represent, admit, stipulate and agree

that none of the Acquired Assets or assets held by any of the Acquired Recovery Solutions

Debtors that primarily relate, are material to, or are otherwise utilized (other than in an

immaterial respect) by the Corrections Business. The Debtors and the Buyer further represent,

admit, stipulate and agree that since the commencement of these chapter 11 cases, (i) no assets of

any of the Sellers or Affiliates of a Seller (other than any of the Acquired Recovery Solutions

Debtors) that do not solely relate to the RS Business have been transferred, assigned or

contributed to any of the Acquired Recovery Solutions Debtors, and (ii) no liabilities of any of

the Acquired Recovery Solutions Debtors have been assumed by any of the Sellers or any

Affiliates of a Seller (other than the Acquired Recovery Solutions Debtors, to the extent they

represent a liability).

        58.     55. In the event of an inconsistency or conflict between any provision of the

Recovery Solution Stalking Horse Agreement, any other asset purchase agreements, and any

provision of this Order, as to the United States, the provisions of this Order and federal law shall

govern.



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        59.     56. The transactions contemplated by the Recovery Solutions Stalking Horse

Agreement and this Order are undertaken by the Buyer without collusion and in good faith, as

that term is defined in section 363(m) of the Bankruptcy Code, and, accordingly, the reversal or

modification on appeal of the authorization provided herein to consummate the Sale shall not

alter, affect, limit, or otherwise impair the validity of the Sale (including the assumption,

assignment, and/or transfer of the Assumed Contracts), unless such authorization and

consummation of the Sale are duly stayed pending such appeal. The Buyer is a good-faith

purchaser within the meaning of section 363(m) of the Bankruptcy Code and, as such, is entitled

to, and hereby granted, the full rights, benefits, privileges, and protections of section 363(m) of

the Bankruptcy Code. As a good-faith purchaser of the Acquired Assets, the Buyer has not

entered into any agreement with any other potential bidders and has not colluded with any

potential or actual bidders, and therefore, neither the Debtors nor any successor in interest to the

Debtors’ estates shall be entitled to bring an action against the Buyer, and the Sale may not be

avoided, pursuant to section 363(n) of the Bankruptcy Code.

        60.     57. No bulk sales law or any similar law of any state or other jurisdiction shall

apply in any way to the transactions contemplated under the Recovery Solutions Stalking Horse

Agreement.

        61.     58. For cause shown, pursuant to Bankruptcy Rules 6004(h), 6006(d), 7062, and

9014, this Order shall not be stayed after the entry hereof, but shall be effective and enforceable

immediately upon entry, and the stays provided in Bankruptcy Rules 6004(h) and 6004(d) are

hereby expressly waived and shall not apply. Accordingly, the Debtors and Buyer are authorized

and empowered to close the Sale immediately upon entry of this Order.




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        62.     59. The failure to include or specifically reference any particular provision of the

Recovery Solutions Stalking Horse Agreement (and any ancillary agreements or instruments

delivered pursuant thereto) in this Order shall not diminish or impair the effectiveness of such

provision, it being the intent of this Court that the Recovery Solutions Stalking Horse Agreement

(and any ancillary agreements or instruments delivered pursuant thereto) be authorized and

approved in its entirety.

        63.     60. To the extent that this Order is inconsistent with the Motion, the terms of this

Order shall control and govern. To the extent that there are any inconsistencies between the

terms of this Order, on the one hand, and the Recovery Solutions Stalking Horse Agreement (and

any ancillary agreements or instruments delivered pursuant thereto), on the other hand, the terms

of this Order shall control and govern.          To the extent that any plan of reorganization or

liquidation, or any order of any type or kind entered in these chapter 11 cases or any subsequent

chapter 7 case into which these chapter 11 cases may be converted, conflicts with or derogates

from the terms of the Recovery Solutions Stalking Horse Agreement (or any ancillary

agreements or instruments delivered pursuant thereto) or this Order, the terms of the Recovery

Solutions Stalking Horse Agreement (or any ancillary agreements or instruments delivered

pursuant thereto) and this Order shall control and govern to the extent of any such conflict or

derogation. Unless otherwise provided herein, to the extent this Order is inconsistent with the

Bidding Procedures Order or any other prior order or pleading in these chapter 11 cases, or the

terms of the Recovery Solutions Stalking Horse Agreement, this Order shall govern.

        64.     61. The Recovery Solutions Stalking Horse Agreement may be modified,

amended, or supplemented in a writing signed by the parties thereto and in accordance with the

terms thereof, in consultation with the Committee, without further notice to or order of this



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Court, so long as any such modification, amendment, or supplement does not have a material

adverse effect on the Debtors’ estates and does not otherwise conflict with this Order. and

subject to this paragraph. For the avoidance of doubt, the following modifications shall be

subject to the Committee’s prior written consent: (1) any increase of the Seller Cure Cap, (2) any

modification of the Buyer’s responsibility for any Cure Costs in excess of the Seller Cure Cap,

(3) any provision having the effect of increasing to the Cash Cap beyond $10,000,000.00, (4) any

modifications to Schedule 2.1(f)(i) to the Recovery Solutions Stalking Horse Agreement.

        65.     62. The automatic stay pursuant to section 362 of the Bankruptcy Code is hereby

lifted to the extent necessary, without the need for further order of this Court, to allow the Buyer

and the Debtors to deliver any notice provided for in the Recovery Solutions Stalking Horse

Agreement and to allow the Buyer and the Debtors to take any and all actions permitted under

the Recovery Solutions Stalking Horse Agreement (and any ancillary agreements or instruments

delivered pursuant thereto).

        66.     63. From time to time, as and when requested by the other, the Debtors and the

Buyer, as the case may be, shall execute and deliver, or cause to be executed and delivered, all

such documents and instruments and shall take, or cause to be taken, all such further or other

actions as such other party may reasonably deem necessary or desirable to consummate the Sale,

including, such actions as may be necessary to vest, perfect or confirm, record, or otherwise, in

the Buyer its right, title, and interest in and to the Acquired Assets and the Assumed Contracts,

subject to the provisions of the applicable Agreement.

        67.     64. This Court shall retain exclusive jurisdiction to, among other things, interpret,

implement, and enforce the terms and provisions of this Order, the Recovery Solutions Stalking

Horse Agreement (and any ancillary agreements or instruments delivered pursuant thereto), and



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